                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 1 of 106



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             8                                       UNITED STATES DISTRICT COURT
             9                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
           10                                               SAN FRANCISCO DIVISION
           11
           12
                 BMA LLC,                                                         Case No. 3:20-cv-3345
           13
                                                                                  COMPLAINT FOR CONSPIRACY TO
           14                            Plaintiff,                               CONDUCT AND CONDUCTING
                                                                                  ENTERPRISE’S AFFAIRS THROUGH
           15                                                                     A PATTERN OF RACKETEERING
                                                                                  ACTIVITY IN VIOLATION OF 18
           16                    v.                                               U.S.C. §§ 1962(d) AND (c) (RICO),
                                                                                  CRYPTOCURRENCY MARKET
           17                                                                     MANIPULATION IN VIOLATION OF 7
                                                                                  U.S.C. § 9(1) (USE OF DECEPTIVE OR
           18    HDR Global Trading Limited (A.K.A.                               MANIPULATIVE DEVICE), 7 U.S.C. §§
                 BitMEX), ABS Global Trading Limited,                             9(3) AND 13(a)(2) (PRICE
           19    Arthur Hayes, Ben Delo and Samuel Reed,                          MANIPULATION), PRINCIPAL
                                                                                  AGENT LIABILITY, AIDING AND
           20                                                                     ABETTING PRICE MANIPULATION
                                         Defendants.                              IN VIOLATION OF 7 U.S.C. § 25(a)(1),
           21                                                                     NEGLIGENCE, FRAUD, CIVIL
                                                                                  CONSPIRACY, UNFAIR BUSINESS
           22                                                                     PRACTICES IN VIOLATION OF CAL.
                                                                                  BUS. & PROF. CODE § 17200 ET SEQ,
           23                                                                     UNJUST ENRICHMENT
                                                                                  (RESTITUTION), CONSTRUCTIVE
           24                                                                     TRUST AND ACCOUNTING

           25                                                                     DEMAND FOR JURY TRIAL

           26
           27
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS           COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   -1-    BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 2 of 106



             1
                                                                          COMPLAINT
             2
                        Plaintiff, BMA LLC (“Plaintiff”, “BMA”), by and through its undersigned attorneys, for
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                 its Complaint against Defendant HDR Global Trading Limited (“HDR”), Defendant ABS Global
             4
                 Trading Limited (“ABS”), Defendant Arthur Hayes (“Hayes”), Defendant Ben Delo (“Delo”)
             5
                 and Defendant Samuel Reed (“Reed”) (collectively “Defendants”) alleges as follows:
             6
                                                        INTRODUCTION
             7         “It just costs more to bribe them.” Defendant Arthur Hayes (about U.S. authorities).
             8          1.         Plaintiff BMA is informed and believes and thereon alleges that popular
             9   cryptocurrency derivatives exchange platform BitMEX (“BitMEX” or “BitMEX platform”)
           10    owned and operated by Defendants HDR, Hayes, Delo and Reed, and each of them, in a brazenly
           11    lawless manner, was deliberately designed from ground up with the purpose to engage in,
           12    facilitate, aid, abet, counsel, induce and/or procure a myriad of illegal activities including, without
           13    limitation, racketeering in violation of 18 U.S.C. §§ 1962(d) and (c) (RICO), wire fraud in
           14    violation of 18 U.S.C. § 1343; money laundering in violation of 18 U.S.C. § 1956(a); engaging in
           15    monetary transactions in property derived from specified unlawful activity in violation of 18
           16    U.S.C. § 1957(a); conducting, controlling, managing, supervising, directing, or owning all or part
           17    of an unlicensed money transmitting business in violation of 18 U.S.C. § 1960(a), interstate
           18    transportation of stolen property in violation of 18 U.S.C. § 2314 and cryptocurrency market
           19    manipulation in violation of the Commodity Exchange Act (the “CEA”), 7 U.S.C. §§ 1 et seq.
           20    (2012) and Commodity Futures Trading Commission (“CFTC”) Regulations (“Regulations”)
           21    promulgated thereunder, 17 C.F.R. §§ 1 et seq. (2018). Defendants, and each of them,
           22    specifically designed BitMEX to financially benefit from the alleged racketeering activity and
           23    other unlawful conduct, earning Defendants billions of dollars in illicit profits.
           24           2.         The sheer magnitude of Defendants’ unlawful activity is truly staggering.
           25    “Several sources close to the company” have disclosed to media sources that nearly 15 percent of
           26    the BitMEX’s 2019 trading volume—or about $138 billion worth—is attributable to traders
           27    located in the United States. Moreover, Defendants’ high volume business with numerous
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   -2-   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 3 of 106



             1
                 residents of the United States and this District as alleged in detail below is vast and pervasive.
             2
                 Accordingly, Defendants were unquestionably on notice of the need to obtain a money
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                 transmission license in the United States, which Defendants willfully and deliberately failed to
             4
                 do. Therefore, according to Defendants’ own data, Defendants’ unlicensed money transmitting
             5
                 business admittedly processed, on average, $3 billion of illegal and unlicensed money transfers
             6
                 each day, all in violation of United States federal statute 18 U.S.C. § 1960(a), which is the record
             7
                 volume for such unlawful activity in the entire history of the monetary regulation in the United
             8
                 States.
             9
                           3.      A combination of providing traders with extremely high trading leverage (up to
           10
                 100x), using .BXBT index price for highly liquid derivatives calculated based on prices of two or
           11
                 three illiquid spot exchanges, enabling manipulators and money launderers to avoid detection by
           12
                 providing them with the ability to open unlimited number of anonymous document check-free
           13
                 trading accounts without any trading and withdrawal limits, weaponizing deliberate server
           14
                 freezes, using fraudulent “system overload” events to accept some trading orders and reject others
           15
                 during large market moves to exacerbate price fluctuations and cause the most liquidations all
           16
                 make BitMEX an exquisite “designer” tool for unsavory actors to manipulate cryptocurrency
           17
                 markets. Because of the very high derivatives trading volume on BitMEX, the artificial prices
           18
                 caused by the BitMEX manipulations spread, like forest fires, from BitMEX to other exchanges
           19
                 wreaking havoc on the entire cryptocurency ecosystem, costing traders and investors billions of
           20
                 dollars in losses and resulting in a domestic injury in the United States (“Domestic Injury”).
           21
                           4.      Moreover, on April 30, 2018, after repeated denials, Defendants finally admitted
           22
                 that BitMEX operates its own for-profit trading desk controlled an employee of Defendant HDR
           23
                 Nick Andrianov (“Andrianov”). This desk trades against BitMEX’s own customers on their own
           24
                 exchange, using BitMEX’s inside information about its customers’ existing trading positions,
           25
                 stop loss orders, liquidation prices and open orders and enjoys many other unfair advantages not
           26
                 available to other users of the BitMEX platform. While making money trading against BitMEX’s
           27
                 own customers, this operation, which Defendants refer to as “anchor market maker,” receives
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   -3-   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 4 of 106



             1
                 many special trading privileges that are not available to other exchange users. This creates even
             2
                 greater financial incentive for Defendants to manipulate cryptocurrency markets and financially
             3
                 benefit from the manipulations through the aforesaid for-profit trading desk operation.
             4
                           5.      Despite all the claims to the contrary, Defendants HDR, Hayes, Delo and Reed
             5
                 maintain numerous close connections with the United States and this District. Defendant HDR’s
             6
                 own website BitMEX.com lists San Francisco as the location of one of Defendant HDR’s offices,
             7
                 where all the technology behind BitMEX has been and continues to be developed. Defendants
             8
                 use United States – based Amazon, Inc. AWS infrastructure, with offices in northern California,
             9
                 for storing all of its customer and trading data and for executing its order matching system and its
           10
                 liquidation engine. Moreover, Defendants use Redwood City, California – based SendGrid, Inc.
           11
                 for handling all their bulk email communications with its customers. Finally, Defendants’
           12
                 website BitMEX.com is a commercial website, enabling traders to enter into binding derivative
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                 purchase and sale contracts, through which Defendants HDR, Hayes, Delo and Reed conduct
           14
                 high-volume derivatives trading business with numerous individuals and companies residing in
           15
                 the United States, State of California and this District and which by itself is sufficient for
           16
                 subjecting Defendants to the jurisdiction of this Court pursuant Zippo Mfg. Co. v. Zippo Dot Com,
           17
                 Inc., 952 F. Supp. 1119 (W.D. Pa. 1997).
           18
           19                                                      NATURE OF ACTION
                           6.      This is an action for conspiracy to conduct and conducting enterprise’s affairs
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                 through a pattern of racketeering activity, arising under Racketeer Influenced and Corrupt
           21
                 Organizations Act (“RICO”), 18 U.S.C. §§ 1961 et seq. (2012) and for cryptocurrency market
           22
                 manipulation arising under the Commodity Exchange Act (the “CEA”), 7 U.S.C. §§ 1 et seq.
           23
                 (2012).
           24
           25                                                                PARTIES
           26              7.      Plaintiff BMA incorporates the allegations set forth in Paragraphs 1-6 above as if
           27    fully set forth herein.
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   -4-   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 5 of 106



             1
                        8.         Plaintiff BMA is a limited liability company duly formed and existing under the
             2
                 laws of the United States territory of Puerto Rico.
             3
                        9.         Defendant HDR purports to be a Republic of Seychelles limited company (Ltd.),
             4
                 company number 148707, with a registered office at Suite 23, 1st Floor, Eden Plaza, Vistra
             5
                 Corporate Services Centre, Eden Island, Mahe, Seychelles. Defendant HDR was organized by
             6
                 Defendants Hayes, Delo and Reed in or about 2014. When asked about the reasons for
             7
                 incorporating Defendant HDR in the Republic of Seychelles, Defendant HDR’s Chief Executive
             8
                 Officer (CEO) Defendant Hayes has publicly claimed that “Seychelles is cheaper to bribe than
             9
                 [the United States]” and when asked how much he had to pay Seychelles to register BitMEX
           10
                 there, he said “a coconut”.
           11
                        10.        Defendant HDR is controlled by Defendants Hayes, Delo and Reed, who all hold
           12
                 themselves out as co-founders of BitMEX. In fact, name “HDR” is an abbreviation composed of
           13
                 first letters of last names of Defendants Hayes, Delo and Reed. Defendant Hayes serves as the
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                 CEO of Defendant HDR. Defendant Reed serves as the Chief Technology Officer (CTO) of
           22
                 Defendant HDR.
           23
                        11.        According to BitMEX’s website (https://www.BitMEX.com) (“BitMEX
           24
                 website”), its owner HDR Global Trading Limited maintains three offices throughout the world,
           25
                 located in San Francisco, Hong Kong and Singapore. BitMEX’s Terms of Service (“Terms of
           26
                 Service”), posted on the BitMEX website, provide that: “BitMEX (website:
           27
                 https://www.BitMEX.com) is a Bitcoin-based trading platform that is wholly owned by HDR
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   -5-   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 6 of 106



             1
                 Global Trading Limited.”
             2
                        12.        The San Francisco office of Defendant HDR is the largest of all three by both the
             3
                 employee headcount and technical staff headcount. Its addresses are 301 Battery Street, 4th
             4
                 Floor, San Francisco, California 94111, 340 Brannan Street, 2nd Floor, San Francisco, California
             5
                 94107 and/or 2 Embarcadero Center, 8th Floor, San Francisco, California 94111.
             6
                        13.        Hong Kong office of Defendant HDR is located at 45/F, Cheung Kong Centre, 2
             7
                 Queen's Road Central, Hong Kong Central, Hong Kong Island, Hong Kong Special
             8
                 Administrative Region of the People’s Republic of China. The employee headcount in the Hong
             9
                 Kong office of Defendant HDR is about half of the headcount in Defendant HDR’s San Francisco
           10
                 office. Singapore office of Defendant HDR is the smallest of all three.
           11
                        14.        Defendant HDR operates in the United States and this District by and through its
           12
                 California-based wholly owned subsidiary and alter ego, co-Defendant ABS. Defendant ABS
           13
                 purports to be a Delaware corporation, Delaware Secretary of State file number 6393256, with
           14
                 registered office at 3411 Silverside Road Tatnall Building, Ste 104, Wilmington, DE 19810.
           15
                 Defendant ABS was organized by Defendants Hayes, Delo and Reed on or about April 27, 2017.
           16
                 Defendant Hayes asserted that Defendant HDR owns the entire issued share capital of Defendant
           17
                 ABS, and that Defendant ABS has an office in San Francisco, California.
           18
                        15.        Specifically, Defendant ABS, which is a United State-based alter ego of Defendant
           19
                 HDR, has two offices: 301 Battery St., 4th Fl., San Francisco, CA, 94111 and 340 Brannan Street,
           20
                 2nd Floor, San Francisco, California. Defendants Hayes, Delo and Reed continue to control
           21
                 Defendant ABS with Defendant Hayes serving as the President, CEO, Secretary and Chief
           22
                 Financial Officer thereof and Defendant Reed serving as a Chief Technology Officer of
           23
                 Defendant ABS.
           24
                        16.        Plaintiff BMA is informed and believes and thereon alleges that Defendant HDR
           25
                 dominates and controls every aspect of Defendant ABS’ operations and uses its San Francisco
           26
                 offices to manage BitMEX’s engineering, security and back-office operations. In particular,
           27
                 Defendant ABS provides development, software engineering, containerized application
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   -6-   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 7 of 106



             1
                 deployment, site reliability and digital security services, including development of the interface of
             2
                 the BitMEX Platform, through which all trading transactions take place.
             3
                        17.         Plaintiff BMA is informed and believes and thereon alleges that Defendant HDR
             4
                 funds all of Defendant ABS operations, including paying for all of its employees, overhead, and
             5
                 lease and rent obligations, and is Defendant ABS’ sole source of income.
             6
                        18.        Defendants Hayes, Delo and Reed, collectively own a controlling interest in
             7
                 Defendant ABS through their ownership of Defendant HDR, which wholly owns Defendant ABS.
             8
                 Defendant Hayes is the sole director, president, secretary, and treasurer of Defendant ABS, and
             9
                 executes agreements on its behalf. Defendant Hayes runs Defendant ABS’s activities without
           10
                 regard to its corporate form and for the sole benefit of Defendant HDR.
           11
                        19.        Defendants Hayes, Delo and Reed have created Defendant ABS as a false “shell”
           12
                 company as part of a broader United State federal and state law, regulation and tax dodge
           13
                 designed to tell regulators and tax authorities that BitMEX has no California or United States
           14
                 operations or investors. However, in reality, California is where most or all of its technology and
           15
                 services are managed and developed, and where almost all of the key personnel who perform
           16
                 those functions live, work and run BitMEX’s operations.
           17
                        20.        Defendant HDR is the sole and exclusive owner of BitMEX brand, as evidenced,
           18
                 for example, by the Terms of Service and by numerous trademark filings for the protection of this
           19
                 brand made by Defendant HDR in the United States and throughout the world.
           20
                        21.        Defendant Hayes is an individual, who is a United States citizen and who resides
           21
                 in Hong Kong Special Administrative Region of the People’s Republic of China. Defendant
           22
                 Hayes is sued as sui juris.
           23
                        22.        Defendant Delo is an individual, who is a citizen of United Kingdom, and who
           24
                 resides in Hong Kong Special Administrative Region of the People’s Republic of China.
           25
                 Defendant Delo is sued as sui juris.
           26
           27
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CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   -7-   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 8 of 106



             1
                        23.        Defendant Reed is an individual, who is a United States citizen and who lives in
             2
                 Hong Kong Special Administrative Region of the People’s Republic of China. Defendant Reed is
             3
                 sued as sui juris. Despite living in Hong Kong, Defendant Reed subjectively considers himself to
             4
                 be a United States resident, as evidenced by his own professional profile on LinkedIn professional
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                 network, where he continues to list the United States as his country of residence.
           22
                        24.        Plaintiff BMA is informed and believes and thereon alleges that each of the
           23
                 individual Defendants sued herein was the agent and employee of each of the remaining
           24
                 Defendants and was at all times acting within the purpose and scope of such agency.
           25
           26             DEFENDANTS’ EXTENSIVE CONTACTS WITH THE UNITED STATES
                                            AND THIS DISTRICT
           27
                        25.        Plaintiff BMA incorporates the allegations set forth in Paragraphs 1-24 above as if
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   -8-   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 9 of 106



             1
                 fully set forth herein.
             2
                         26.       Defendant ABS is qualified to do business in California and has appointed an
             3
                 agent for service of process in this State. Despite all the claims to the contrary, Defendants HDR,
             4
                 Hayes, Delo and Reed maintain numerous close connections with the United States, State of
             5
                 California and this District.
             6
                         27.       Corporate Defendants HDR and ABS were established by individual Defendants
             7
                 Hayes, Delo and Reed due to seed funding provided by at least two United States-based entities –
             8
                 Ohio-based RGB COIN LTD. and a startup accelerator SOSV with offices in San Francisco and
             9
                 New York.
           10
                         28.       Defendant HDR is managed by Defendants Hayes, Delo and Reed with advice of
           11
                 an advisory board consisting of 12 members, three of which are located in the United States.
           12
                         29.       Due to his role as the President, CEO, Secretary and Chief Financial Officer of
           13
                 Defendant ABS and his CEO position with Defendant HDR, Defendant Hayes manages and
           14
                 directs operations of both Defendants HDR and ABS in the United States and in this District.
           15
                         30.       On the most recent California Secretary of State Statement of Information form
           16
                 filed by Defendant ABS with the State of California on or about August 22, 2019, Defendant
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           21
                 Hayes’s address in the State of California is listed as: 340 Brannan Street, 2nd Floor, San
           22
                 Francisco, California 94107.
           23
                         31.       Due to his role as the CTO of both Defendants HDR and ABS and his supervisory
           24
                 involvement in the software development of the BitMEX platform, Defendant Reed manages and
           25
                 directs operations of both Defendants HDR and ABS in the United States and in this District,
           26
                 where the majority of the software developers and engineers working on the BitMEX platform
           27
                 are located.
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   -9-   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 10 of 106



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                        32.        As evidenced by BitMEX website, on or about April 27, 2018, Defendant Reed
             2
                 stated: “We serve customers all over the world, in five languages, and have become the premier
             3
                 platform for Bitcoin price discovery and liquidity” (emphasis added). This statement constitutes
             4
                 an admission that Defendants knowingly serve customers in the United States and the State of
             5
                 California.
             6
                        33.        BitMEX website www.BitMEX.com/careers/ lists San Francisco as the location of
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           12    one of the Defendant HDR’s offices, where all the technology behind BitMEX is being
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CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 10 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 11 of 106



             1
                 developed. Defendant HDR actively recruited individuals for this office using recruiting websites
             2
                 such as GlassDoor.com, Angel.co and LinkedIn.com. According to professional network
             3
                 LinkedIn, BitMEX’s owner Defendants HDR has at least 74 current and former employees in the
             4
                 United States, most of which are residents of this District.
             5
                        34.        In a publicly released and publicly available video first aired on CNBC news
             6
                 channel, Defendant Hayes can be seen broadcasting from the aforesaid San Francisco office of
             7
                 Defendant HDR located at 2 Embarcadero Center, 8th Floor, San Francisco, California, 94111, on
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           17
                 or about July 19, 2018.
           18
                        35.        United States residents can freely trade on BitMEX platform from the United
           19
                 States because, as Defendant Hayes concedes and journalists and other commentators have
           20
                 explained, and BitMEX’s marketing of itself in the United States demonstrates, accessing
           21
                 BitMEX is trivially easy from the United States using widely available and inexpensive virtual
           22
                 private network (VPN) software that masks trader’s geographical location.
           23
                        36.        Defendant HDR uses United States – based Amazon, Inc.’s Amazon Elastic
           24
                 Kubernetes Service (“Amazon EKS”), which combines Amazon Web Services (“Amazon AWS”)
           25
                 with managed high-availability Kubernetes infrastructure for containerized deployment of all of
           26
                 its order matching and liquidation engines and for storing all of its customer and trading data.
           27
                 Amazon AWS has offices in San Francisco, California. San Francisco office of Defendant HDR
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 11 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 12 of 106



             1
                 employs at least five Kubernetes engineers who interact with Amazon AWS in this District on a
             2
                 daily basis.
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CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 12 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                 Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 13 of 106



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           11           37.       Moreover, the recent email data leak of BitMEX has shown that Defendant HDR
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           20    uses Redwood City, California – based SendGrid, Inc., with offices at 889 Winslow St., Redwood

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CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS           COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 13 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 14 of 106



             1
                 City, California 94063, United States, for handling all of its bulk email communications with its
             2
                 customers.
             3
                        38.        Defendants use ReCAPTCHA service provided by Google, Inc., headquartered in
             4
                 this District to provide human verification for the users of the BitMEX’s platform.
             5
                        39.        Defendants further use YubiKey device and YubiCloud service provided by Palo
             6
                 Alto-based YubiKey, located in this District, to provide 2-factor authentication capability to the
             7
                 users of BitMEX’s platform.
             8
                        40.        Defendants further use service operated by Jumio Netverify, based in Palo Alto,
             9
                 California, through which Jumio collects personal data from BitMEX users directly, including
           10
                 photos of user’s faces and ID documents and performs identity verification of the users for
           11
                 BitMEX platform.
           12
                        41.        Defendants further use Freshdesk service provided by Palo Alto-based
           13
                 FreshWorks, headquartered in this District, for handling all customer support queries, notes and
           14
                 replies associated with the BitMEX platform.
           15
                        42.        Defendants further use segment.io service provided by San-Francisco based
           16
                 Segment.io, Inc., and Google Analytics service provided by Google, Inc., both of which are
           17
                 headquartered in this District, for gathering data collected on BitMEX.com servers and generating
           18
                 visitor statistics for BitMEX platform.
           19
                        43.        Defendants further use services provided by San Francisco-based Functional
           20
                 Software, Inc. (Sentry.io), San Francisco-based Pagerduty and Austin, Texas-based Solarwinds
           21
                 (Papertrail) to monitor all site and service issues associated with the BitMEX platform.
           22
                        44.        Defendants further use services provided by Google Firebase and Amazon SNS
           23
                 platforms, operated by Google, Inc. and Amazon Web Services, Inc., respectively, both of which
           24
                 are headquartered in this District, to deliver mobile push notifications to all user devices.
           25
                        45.        The above-alleged facts clearly show that the vast majority of the vital services
           26
                 used by BitMEX platform are provided by United States vendors located in this District and that
           27
                 without such services of United States and California origin, BitMEX platform would not have
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 14 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 15 of 106



             1
                 existed in its present form. Therefore, BitMEX is able to operate its platform only due to its
             2
                 connections with the service providers located in the United States and this District.
             3
             4              Service Provider to                                                                      Service Provider
                                                                   Services Provided to Bitmex
             5                      BitMEX                                                                                 Location

             6   1.      Amazon Web Services                    Kubernetes infrastructure for                  San Francisco, California
             7                                                  containerized deployment of all
             8                                                  of its order matching and
             9                                                  liquidation engines and for
           10                                                   storing all of its customer and
           11                                                   trading data
           12    2.      SendGrid, Inc.                         Email communications with all                  Redwood City, California
           13                                                   BitMEX users
           14    3.      Google, Inc.                           Human verification for the users,              Mountain View,
           15                                                   and generating visitor statistics              California
           16    4.      YubiKey, Inc.                          2-factor authentication capability             Palo Alto, California
           17    5.      Jumio, Inc.                            Identity verification of the users             San Francisco, California
           18
                 6.      FreshWorks                             Customer support queries, notes                Palo Alto, California
           19
                                                                and replies
           20
                 7.      Segment.io, Inc.                       Generating visitor statistics                  San Francisco, California
           21
                 8.      Functional Software,                   Monitor all site and service issues            San Francisco, California
           22
                         Inc.                                   for BitMEX platform
           23
           24
                        46.        Furthermore, Plaintiff BMA is informed and believes and thereon alleges that San
           25
                 Francisco, California-based quant trading firm Galois Capital freely trades on BitMEX from this
           26
                 District generating millions of dollars of business for Defendant HDR. This trading is done with
           27
                 the knowledge, permission, approval, assistance and encouragement of Defendants.
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 15 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 16 of 106



             1
                          47.      Defendants knowingly and willfully permitted United States citizens and residents
             2
                 of this District as well as United States based companies to freely trade on the BitMEX exchange
             3
                 because of the lucrative business relationships between Defendants and the aforesaid individuals
             4
                 and companies, which financially benefitted Defendants.
             5
                          48.      Moreover, Defendant’s HDR website BitMEX.com is a commercial website, in
             6
                 English language, enabling traders to enter into binding derivative purchase and sale contracts,
             7
                 through which Defendants conduct substantial business with the residents of the United States,
             8
                 the State of California and this District and which by itself is sufficient for subjecting Defendants
             9
                 to the jurisdiction of this Court pursuant Zippo Mfg. Co. v. Zippo Dot Com, Inc., 952 F. Supp.
           10
                 1119 (W.D. Pa. 1997). Instead of performing a proper document check before allowing users to
           11
                 open an account on BitMEX.com, Defendants deliberately and knowingly use utterly ineffective
           12
                 IP address check, which they all well know is uniformly subverted by very simple, inexpensive
           13
                 and widely available software tools. Using the aforesaid commercial website operated by
           14
                 Defendants, residents of the United States, the State of California and this District are able to
           15
                 place binding trading orders of virtually unlimited monetary size, enter into binding derivative
           16
                 purchase and sale contracts, and transfer virtually unlimited amount of funds anywhere in the
           17
                 world.
           18
                          49.      Moreover, Defendants deliberately made their commercial website BitMEX.com
           19
                 accessible from the United States even without using VPN software in violation of BitMEX’s
           20
                 own Terms of Service (“Terms of Service”) in order to entice United States residents to trade on
           21
                 the BitMEX’s platform. Specifically, BitMEX’s Terms of Service provide: ”[y]ou are not
           22
                 allowed to access or use the Services or the Trading Platform if you are located, incorporated or
           23
                 otherwise established in, or a citizen or resident of: (i) the United States of America… ‘Services’
           24
                 means websites, applications and any services provided by any member of the HDR Group,
           25
                 including: a) … the BitMEX Testnet Platform.” However, BitMEX.com website specifically
           26
                 invites United States resident users to try BitMEX Testnet Platform in direct violation of the
           27
                 prohibition contained in its own Terms of Service.
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 16 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 17 of 106



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             8          50.        Therefore, any and all provisions contained in the Terms of Service prohibiting

             9   United States users from using the BitMEX’s platform were in fact sham provisions and lacked

           10    any meaningful enforcement by Defendants. Defendants willfully and deliberately used IP

           11    country blocking, which has been proven utterly ineffective for its intended purpose and easily

           12    subverted, to leave a back door for the United States residents to trade on the BitMEX platform.

           13           51.        Furthermore, Defendants purposefully invoked the benefits and protections of the

           14    United States Federal laws when they filed for and obtained from the United States government

           15    official Notices of Allowance for seven (7) United States trademark applications.

           16           52.        For example, trademark applications serial Nos. 87856272 and 87607952, both for

           17    mark “BITMEX” were filed by Defendants in connection with “[d]ownloadable software for

           18    trading crypto-products and providing crypto-currency information” and “exchanging money,

           19    financial management, futures brokerage, capital investment, electronic funds transfer, providing

           20    financial information via a website, financing services, investment of funds, business liquidation

           21    services, financial services, namely, operation and management of hedge funds, commodity pools

           22    and other collective investment vehicles, and trading for others of cryptocurrency, decentralized

           23    application tokens and protocol tokens, blockchain based assets and other cryptofinance and

           24    digital assets, securities, options, futures, derivatives, debt instruments and commodities,”

           25    respectively, which are BitMEX’s core services. Invoking benefits and protections of the United

           26    States Federal laws clearly made it foreseeable for Defendants that they would end up in a United

           27    States Court.

           28           53.        In the aforesaid trademark filings with the United States Patent and Trademark
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 17 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 18 of 106



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             9
           10
                 Office, Defendant HDR swore, under penalty of perjury, that it “has a continued bona fide
           11
                 intention, and is entitled, to use the mark[s] in commerce [in the United States] on or in
           12
                 connection with all of the goods/services listed in the Notice of Allowance or as subsequently
           13
                 modified for this specific class.”
           14
                        54.        In a recent legal filing, Defendant Hayes swore that: “[i]n my capacity as CEO, I
           15
                 am advised by an advisory body currently comprised of twelve individuals responsible for
           16
                 different departments within the HDR Group. A majority of the HDR Group’s advisory
           17
                 committee has always been located in Hong Kong, and nine of the twelve members currently on
           18
                 the committee are located outside of the United States.” Therefore, three out of 12 members of
           19
                 the advisory committee of Defendant HDR are located in the United States.
           20
                        55.        Professional network LinkedIn provides publicly available evidence of dozens
           21
                 individuals, who reside in the United States and in this District and who identify themselves as
           22
                 cryptocurrency derivative traders on the BitMEX platform. 31 examples of the Unites States
           23
                 resident BitMEX traders, who trade on BitMEX through the aforesaid commercial website
           24
                 BitMEX.com, are provided in the below table:
           25
           26                                 BitMEX Trader Name                                          BitMEX Trader Residence
           27    1.                                   Scrembo Paul                                           Los Angeles, California
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 18 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                 Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 19 of 106



             1                                                                                          Greater San Diego, California,
                 2.                                  Aaron Aloyan
             2                                                                                                            Area

             3   3.                           Christopher Smitherman                                              Atlanta, Georgia
                 4.                                  Daniel Spivak                                            Greater Chicago Area
             4
                 5.                                  Harrison Davis                                      Greater New York City Area
             5
                 6.                                      Vesko P.                                          Greater Los Angeles Area
             6
                 7.                               Matthew Wellman                                              Lexington, Kentucky
             7   8.                                     Uriel Scott                                               Chicago, Illinois
             8   9.                                  Sahand Akbari                                       Sacramento, California Area
             9   10.                                  Malik Crypto                                            Orlando, Florida Area
           10    11.                                    Saif Amer                                             Greater Chicago Area

           11    12.                                  Nelson Riley                                                Aspen, Colorado
                 13.                                  John Roberts                                       Greater New York City Area
           12
                 14.                                Andres Santana                                       Greater New York City Area
           13
                 15.                                  Thomas Chen                                                Evanston, Illinois
           14
                 16.                                 Alex Sherman                                               San Jose, California
           15    17.                                  Phillip James                                        St. Cloud, Minnesota Area
           16    18.                                 David Siddiqui                                             La Jolla, California
           17    19.                                  Zach Brodsky                                                 Talent, Oregon

           18    20.                         Philip Dustin Du Amarell                                       Laguna Beach, California
                 21.                                 Jiale (Etta) Qin                                          Cupertino, California
           19
                 22.                                 Bokmoon Jung                                                    Boise, Idaho
           20
                 23.                                Lionel Girardin                                           Greater Chicago Area
           21
                 24.                                   Arijit Santra                                           Berkeley, California
           22
                 25.                                Sankha Banerjee                                      Greater New York City Area
           23    26.                              Connor Van Dorpe                                             Madison, Wisconsin
           24    27.                                    Ryan Rim                                             San Francisco Bay Area
           25    28.                               Gianny R. Banda                                                 Miami, Florida

           26    29.                               Michael Peterson                                        Syracuse, New York Area
                 30.                                Anthony Agrait                                                Tempe, Arizona
           27
                 31.                                     Dustin G.                                         Burlington, Vermont Area
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 19 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 20 of 106



             1

             2
                        56.         Professional network LinkedIn as well as other Internet resources further provide
             3
                 evidence of at least nine companies, which are incorporated and based in the United States and
             4
                 which trade derivatives using Defendant’s HDR commercial website BitMEX.com:
             5
             6          Name of U.S. Company Trading on
                                                                                                        Company Address
             7                               BitMEX

             8                                                                            156 N Jefferson St., Suite 102, Chicago, IL
                 1.           CMT Capital Markets Trading
                                                                                                                  60661
             9
                               Eastmore Group / Eastmore                                  40 Wall Street, Suite 1700, New York, NY
           10    2.
                                      Management, LLC                                                             10005
           11
                                                                                     90 State Street Ste 700, Office 40, Albany, NY
           12    3.     Clerkenwell Asset Management LLC
                                                                                                                  12207
           13                                                                        150 Post Street, Suite 442, San Francisco, CA
                 4.                      Galois Capital
           14                                                                                                     94108

           15    5.                  Adaptive Fund I, LP                                    16192 Coastal Hwy, Lewes, DE 19958
                 6.                    Swing Trade Pros                                    1600 S. Indiana Ave, Chicago, IL 60616
           16
                 7.                          FalconX                                      66 Bovet Rd #380, San Mateo, CA 94402
           17
                 8.                   Cumberland DRW                                        540 W Madison St Chicago, IL 60661
           18
                                                                                               1395 Brickel Avenue, Suite 913
           19    9.                      Circle Partners
                                                                                                         Miami, FL 33131
           20

           21
                        57.        Adaptive Fund I, LP, which is a Delaware limited partnership, funded primarily by
           22
                 investors who are United States residents, as the result of market manipulation which took place
           23
                 on BitMEX’s platform on or about March 13, 2020, lost 60% of its equity, or roughly
           24
                 $12,000,000. These catastrophic monetary losses were suffered by numerous Unites States
           25
                 residents who invested in that fund. In communications to investors following the losses, fund
           26
                 manager Murad Mahmudov admitted to personally executing trades on BitMEX’s platform with
           27
                 United States investors’ money. Due to the high profile of the fund and fund managers involved,
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 20 -       BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 21 of 106



             1
                 Defendants clearly knew of the United States origin of the money that the Adaptive Fund I, LP
             2
                 was trading on BitMEX platform and Defendants deliberately and willfully allowed such trading
             3
                 to proceed.
             4
                        58.        Internet video portal YouTube is replete with video evidence of traders residing in
             5
                 the United States and in this District freely placing high dollar bets through Defendant’s HDR
             6
                 commercial website BitMEX.com. The following table identifies just 40 examples of such video
             7
                 evidence:
             8
                       BitMEX Trader’s
             9                                            Trader                 Video
                       YouTube Account                                                                         Video Title
           10                                           Residence                Date
                             User Name
           11                                             Florida,                           How Wales Manipulate Bitcoin Using
           12    1.       Jacob Canfield                   United            02/25/2020       Spoofing on Bitmex (Live $400,000
           13                                               States                                             Short Trade)

           14                                              United                                   Bitmex Leveraging Tutorial
                 2.      Edward Ornelas                                      08/21/2018
                                                            States                                    Introduction for Beginner
           15
                                                                                                Bitmex, Deribit, & Bybit Bitcoin
           16                                              United
                 3.       Crypto Gnome                                       06/03/2019     Leverage Trading - Afternoon Trading
           17                                               States
                                                                                                                  Session
           18            Bitcoin Trading                   United                           Copy-Trading with Bitmex Trollbox +
                 4.                                                          05/24/2019
           19                 Challenge                     States                                     New Trading Challenge
           20                                                                                   WATCH ME TURN $350 INTO
                                                           United
           21    5.        Crypto Corny                                      01/14/2019        $35,000! 0.1 to 10 Bitcoin Trading
                                                            States
                                                                                                                 Challenge
           22
                                                           United                           Bitmex Leverage Trading Tutorial For
           23    6.       Scrembo Paul                                       08/27/2018
                                                            States                                         Beginners Bitcoin
           24
                                                                                            Weekly Trading Bot Update - Binance
           25                                              United
                 7.       Crypto Gnome                                       04/03/2020       Futures, Bybit, & Bitmex Bitcoin &
                                                            States
           26                                                                                                      Crypto
           27    8.       Crypto Gnome                     United            05/14/2019         How to Automate Your Trades on

           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 21 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                 Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 22 of 106



             1                                              States                                         Bitmex & Deribit
             2                                             United                               Goat Alerts - TradingView Bot &
                 9.       Crypto Gnome                                       09/25/2019
             3                                              States                            Shadow Trading for Bybit & Bitmex
                                                           United
             4   10.      Crypto Gnome                                       08/12/2018     How to Set a STOP LOSS on BitMEX
                                                            States
             5
                                                           United                          How to use a Trailing Stop on BitMEX -
             6   11.      Crypto Gnome                                       11/29/2018
                                                            States                                         MORE PROFITS!
             7                                             United
                 12.      Crypto Gnome                                       07/25/2018          How to Short Bitcoin on Bitmex
             8                                              States
             9                                             United                           How to Save on Fees When Trading on
                 13.      Crypto Gnome                                       08/11/2018
           10                                               States                                                BitMEX
                                                           United                          How to SHORT/LONG Bitcoin Futures
           11    14.      Crypto Gnome                                       07/25/2018
                                                            States                                       on BITMEX Tutorial
           12
                                                           United                             Free Profit Tracking Spreadsheet for
           13    15.      Crypto Gnome                                       07/30/2018
                                                            States                                        Trading on Bitmex
           14                                              United                             Bitmex & Deribit Pivot Point Robot
                 16.      Crypto Gnome                                       01/04/2019
           15                                               States                                                Trading
           16                                                                                Get rich trading crypto? Secret tips on
                                                           United
           17    17.      Richard Heart                                      08/14/2018         Bitcoin & Ethereum 100x margin
                                                            States
                                                                                                     trading on Bitmex, futures
           18
                                                           United
           19    18.          Lazy MF                                        07/02/2018                  Bitmex LiveTrading
                                                            States
           20
                                                           United
                 19.          Lazy MF                                        03/12/2019          Bitmex Live trading BitcoinMF
           21                                               States
           22                                                                                      Trading BitMEX Bitcoin On
                                                           United
           23    20.    Slingshot Futures                                    02/05/2018                        NinjaTrader;
                                                            States
           24                                                                                       www.SlingshotFutures.com
                                                           United                           BITMEX trading during Crash-Buying
           25    21.       CryptoSailor                                      01/22/2018
                                                            States                                      the Dip with Leverage
           26
                                                           United                            BEST TIME TO SHORT BITCOIN!
           27    22.       CryptoSailor                                      03/07/2018
                                                            States                                               BITMEX
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 22 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                 Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 23 of 106



             1           Bitcoin Trading                   United
                 23.                                                         01/08/2019            Scalping Bitmex Liquidations
             2               Challenge                      States

             3                                                                              BitMEX Tutorial For Beginners - How
                                                           United
                 24.   Digital Millionaire                                   10/31/2019     To LONG AND SHORT Bitcoin With
             4                                              States
                                                                                                              LEVERAGE!
             5
                                                                                              Beginner Method: $100-$1000/Day
             6                                             United
                 25.     Patrick Corsino                                     01/13/2020     Passive Cryptocurrency Trading 2020!
                                                            States
             7                                                                                   Bitcoin Bitmex, Binance, Bybit
             8                                                                                  WATCH ME TURN $350 INTO
                                                           United
             9   26.       Crypto Corny                                      01/14/2019        $35,000! 0.1 to 10 Bitcoin Trading
                                                            States
           10                                                                                                    Challenge
                                                                                             70% DOWN, 9930% TO GO... 0.1 To
           11                                              United
                 27.       Crypto Corny                                      01/31/2019    10 BITCOIN TRADING CHALLENGE
           12                                               States
                                                                                                                 – Bitmex
           13
                                                                                              My Algorithmic Trading BOT trades
                                                           United
           14    28.      MiningTrades                                       01/23/2018     $XBT Bitcoin Futures LIVE! | BitMex
                                                            States
           15                                                                                                 Jan 23rd 2018

           16                                              United                             How to Long and Short Bitcoin and
                 29.      Crypto Minds                                       09/07/2018
                                                            States                                        Altcoins on Bitmex
           17
                                                        California,
           18             Jaydn's Crypto                                                   How to get a Bitmex account in the U.S.
                 30.                                       United            05/06/2018
           19                 Channel                                                       + Bitmex Cryptocurrency Walkthrough
                                                            States
           20                                           Michigan,
                                                                                              Live BitMEX trading!!! 1 to 100 btc
           21    31.       Crypt0W1SE                      United            12/30/2018
                                                                                                                challenge!
           22                                               States

           23                                                                              $100,000 1 DAY PROFIT LEVERAGE
                       ORACLE CRYPTO                       United
                 32.                                                         02/08/2020          TRADING BITSEVEN BYBIT
           24              AVENGER!                         States
                                                                                                                 BITMEX
           25
                       ORACLE CRYPTO                       United                           BITMEX WATCH A SHORT TRADE
           26    33.                                                         10/15/2018
                           AVENGER!                         States                              THE ENDED OVER 103% WIN!
           27    34. ORACLE CRYPTO                         United            01/23/2018      50X BITMEX LIKE A BOSS OVER
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 23 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 24 of 106



             1             AVENGER!                         States                             98% ROI -WHY YOU CAN'T DO
             2                                                                                                     THIS.

             3         ORACLE CRYPTO                       United                            BCH MARKET MANIPULATION -
                 35.                                                         11/07/2018
                           AVENGER!                         States                         MANIPULATE BITMEX TO PROFIT!
             4
                                                       Gainesville,
             5
                 36. Alexander Lorenzo                  FL, United           01/26/2019           Scavenger Bot Bitmex SCAM
             6
                                                            States
             7                                            1600 S.
             8                                            Indiana
                                                                                             Live Bitcoin Trading on Bitmex with
             9   37.    Swing Trade Pros                    Ave.             03/09/2020
                                                                                                   Swing Trade Pros Indicators!
           10                                          Chicago, IL
                                                           60616
           11
                                                        Burlington,
           12                                                                                How to use a TRAILING STOPLOSS
                 38.      Sell The Spike                 Vermont             07/03/2019
           13                                                                                                   on Bitmex
                                                            Area
           14                                           Burlington,                             Bitmex Tutorial - Placing Orders,
           15    39.      Sell The Spike                 Vermont             06/09/2018           Setting Stoplosses and Targets,

           16                                               Area                              Leverage and Margin, Walkthrough
                             Bitcoin for                   United                             How To Use BitMEX Exchange For
           17    40.                                                         12/22/2018
                              Beginners                     States                                Beginners! (BitMEX Tutorial)
           18
           19
           20           59.        “Several sources close to the company” have disclosed to media sources that

           21    nearly 15 percent of the BitMEX’s 2019 trading volume—or about $138 billion worth—is

           22    attributable to traders located in the United States. This number is consistent with the evidence

           23    available on YouTube and LinkedIn.

           24           60.        YouTube is also replete with dozens of videos teaching how to access Defendant’s

           25    HDR commercial website BitMEX.com from the United States using inexpensive and widely

           26    available VPN software to avoid Internet protocol (IP) address blocking. Below are 11 examples

           27    of such videos:

           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 24 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                 Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 25 of 106



             1          BitMEX Trader’s                     Trader               Video
                                                                                                                Video Title
             2         YouTube User Name Residence                               Date

             3                                              United
                 1.        Crypto Gnome                                      08/09/2018      How to Sign Up for BitMEX in the US
                                                             States
             4
                                                            Atlanta
             5
                 2.         Bot Mentality                   United           03/22/2018     How to use Bitmex in the United States
             6
                                                             States
             7                                            California                           How to get a Bitmex account in the
                           Jaydn's Crypto
             8   3.                                         United           05/06/2018            U.S. + Bitmex Cryptocurrency
                                Channel
             9                                               States                                            Walkthrough

           10                                               United
                 4.        CryptoJunkies                                     08/15/2019        How To Trade Bitmex In America!
                                                             States
           11
                                                            United                           How to Trade on Bitmex for USA and
           12    5.          Crypto Guru                                     03/16/2019
                                                             States                           Canada Residents | Bitcoin Generator
           13
                                                                                             How to trade on BITMEX in the USA
           14                                               United                              100X LEVERAGE ‼ Bitcoin BTC
                 6.      Crypto Kam Kam                                      01/08/2020
           15                                                States                             ETH LTC EOS XRP TRX BCH &
           16                                                                                                        ADA

           17                                                                                 Crypto VPN - Do I Need A VPN For
                                                            United
                 7.      Crypto Renegade                                     06/24/2019         Crypto Transactions? | Best Crypto
           18                                                States
                                                                                                   VPN's For Bitcoin Exchanges
           19
                                                            United                          BitMex Bitcoin Trading - How to setup
           20    8.       RChrisFord.com                                     10/31/2017
                                                             States                                           a U.S. account
           21                                               United
                 9.        Casey Watkins                                     08/23/2018         Bitmex - Signing up from the USA
           22                                                States

           23                                                                                          ***MEX Millionaire***
                                                            United
                 10.   Krown's Crypto Cave                                   05/07/2018         EVERYTHING You Must Know!-
           24                                                States
                                                                                                      ***BITMEX Tutorial***
           25
                                                            United                                Como Usar Bitmex desde USA
           26    11.   CRYPTOCASH 305                                        02/01/2019
                                                             States                                 (Bitmex Tutorial). [Spanish]
           27
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 25 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 26 of 106



             1
                        61.        Defendant HDR assigns a six-symbol alphanumeric affiliate codes to all BitMEX
             2
                 account holders and uses these affiliate codes to pay compensation to its users for enticing other
             3
                 users, including United States residents, to open accounts on BitMEX.com commercial website
             4
                 by posting a URL pointing to the BitMEX registration page and incorporating the aforesaid
             5
                 assigned affiliate code. The so assigned affiliate code uniquely identifies the corresponding
             6
                 account holder and its BitMEX account. Thus, presence of the affiliate code indicates that a
             7
                 person who invites others to register with Defendant’s HDR commercial website by way of an
             8
                 affiliate link himself has a BitMEX account. Table below provides 21 examples of BitMEX
             9
                 affiliate codes being assigned to the United States residents for receiving compensation for
           10
                 enticing other United States residents to join the BitMEX platform:
           11
                         BitMEX Trader’s                           Trader                   BitMEX Assigned Affiliate Code
           12
                            Name or Alias                        Residence                (identifies trader’s BitMEX account)
           13
                 1.            Tone Vays                       United States                                 cMvHXg
           14    2.                Flood                       United States                                   ir2Xqa
           15    3.           Crypto Corny                     United States                                   0rsCIx
           16    4.     Krown's Crypto Cave                    United States                                   ou4vcl

           17    5.    Crypto Hippo Trading                    United States                                  gZ0Y10
                 6.         Edward Ornelas                     United States                                   kpdzGl
           18
                 7.           CryptoSailor                     United States                                  AOIyp0
           19
                 8.          MiningTrades                      United States                                   i110zC
           20
                 9.           Crypto Minds                     United States                                   OIv1fe
           21
                 10.          Moonin Papa                      United States                                  GG2kor
           22    11.        Josh Olszewicz                     United States                                   s7sqNI
           23    12.      Digital Millionaire                  United States                                  P2DBFt
           24    13.        Patrick Corsino                    United States                                  TD6yks

           25                                                     Michigan
                 14.          Crypt0W1SE                                                        rLMJ0, DYBmFQ, rLMJ0L
                                                               United States
           26
                 15.        Casey Watkins                      United States                                   lf9P89
           27
                 16.    ORACLE CRYPTO                          United States                                 WXNej9
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 26 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 27 of 106



             1                AVENGER!
             2   17.      Swing Trade Pros                     United States                                  G4cfM4

             3   18.          Moonin Papa                      United States                                  GG2kor
                 19. Bitcoin for Beginners                     United States                                   5i7rOb
             4
                 20.        Crypto Gnome                       United States                                 EOsLBm
             5
                                                                Burlington,
             6   21.         Sell The Spike                                                                  KO33NC
                                                              Vermont Area
             7
             8
                        62.        Professional network LinkedIn provides publicly available evidence of 74
             9
                 individuals, who are United States residents and who identify themselves as present and former
           10
                 employees of Defendant HDR, located in the United States and in this District:
           11
           12
                       LinkedIn Member Name                                Position at BitMEX                             Residence
           13    1.              Max Shapiro                        Associate at BitMEX Ventures                  New York, New York
           14    2.          Kumar Dandapani                           Head of BitMEX Ventures                   San Francisco Bay Area
           15                                                         Senior Software Engineer at
                 3.           Alena Gilevskaya                                                                  San Francisco, California
           16                                                                      BitMEX
                                                                      Senior Frontend Engineer at
           17    4.             Alex Manusu                                                                     San Francisco, California
                                                                                   BitMEX
           18
                                                                         Former Head of Venture
           19    5.           Maxim Wheatley                                                                    San Francisco, California
                                                                        Development at BitMEX
           20                                                         Former CMO Operations at                   Greater New York City
                 6.                Lisa Loud
           21                                                                      BitMEX                                      Area
           22                                                         Senior Software Engineer at
                 7.            Lucky Odisetti                                                                     Menlo Park, California
           23                                                                      BitMEX
                 8.           Niroj Shankhadev                         Web Developer at BitMEX                  San Francisco, California
           24
                                                                         Co-Founder and CTO at
           25    9.              Samuel Reed                                                                             United States
                                                                                   BitMEX
           26
                 10.            Eric Zinnikas                        Security Engineer at BitMEX                San Francisco, California
           27    11.            Molly Lubow                         Talent Acquisition Specialist at            San Francisco Bay Area,
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 27 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                 Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 28 of 106



             1                                                                     BitMEX                                  California
             2                                                        Senior Software Engineer at
                 12.            Evan Ricketts                                                                     Milwaukee, Wisconsin
             3                                                                     BitMEX
                                                                    Security Engineering Manager,
             4   13.          Michael Carlson                                                                   San Francisco, California
                                                                   Application Security at BitMEX
             5
                                                                      Technical Program Manager
             6   14.         Monzer Aldimassi                                                                      Campbell, California
                                                                             (TPM) at BitMEX
             7                                                      Vice President Of Engineering               San Francisco Bay Area,
                 15.           Patrick Fiscina
             8                                                                    at BitMEX                                California
             9                                                                                                  San Francisco Bay Area,
                 16.          Allison Sommers                        Security Engineer at BitMEX
           10                                                                                                              California
                 17.        Conner McNicholas                        Data Engineering at BitMEX                 San Francisco, California
           11
                                                                         Engineering Manager at
           12    18.        Brandon Schlenker                                                                   San Francisco, California
                                                                                   BitMEX
           13
                 19.          Riley Hutchinson                        Director, People at BitMEX                San Francisco, California
           14                                                        Senior IT Support Engineer at
                 20.            Benson Wong                                                                       San Carlos, California
           15                                                                      BitMEX
           16    21.                Peter M.                         Security Engineer at BitMEX                San Francisco, California

           17                                                          Site Reliability Engineer at
                 22.             Jerry Aldrich                                                                      Seattle, Washington
                                                                                   BitMEX
           18
                 23.            Emilio Rivera                       Technical Recruiter at BitMEX               San Francisco, California
           19
                                                                       Senior Product Manager at
           20    24.         Tom Dimopoulos                                                                     San Francisco, California
                                                                                   BitMEX
           21                                                       Head of Security Assurance at
                 25.            Mahmoud Ali                                                                     San Francisco, California
           22                                                                      BitMEX
           23                                                         Head of DevOps at BitMEX

           24                                                        (Powering the world’s largest
                                                                   cryptocurrency trading platform
           25    26.           Quentin Machu                                                                    San Francisco, California
                                                                    with Kubernetes, at the edge of
           26
                                                                       financial and infrastructure
           27
                                                                   technologies. Scaling BitMEX’s
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 28 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                 Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 29 of 106



             1                                                          infrastructure, culture and
             2                                                      practices from 10 employees to

             3                                                        150 employees, from $1B to
                                                                      $11B traded daily, and 150x
             4
                                                                                  more trades.)
             5
                                                                    Security Engineering Manager
             6   27.            Maus Stearns                                                                     San Francisco, California
                                                                                   at BitMEX
             7                                                       Security Engineer - Detection
                 28.       Andrew MacPherson                                                                     San Francisco, California
             8                                                          and Response at BitMEX
             9                                                     Director of Offensive Security at              Washington, DC Metro
                 29.              Chris Gates
           10                                                                       BitMEX                                      Area
                                                                   Software Engineer - Kubernetes
           11
                                                                         at BitMEX (Working on
           12
                                                                            building Kubernetes
           13                                                        Infrastructure that can handle
                 30.        Supriya Premkumar                                                                    San Francisco, California
           14                                                      tens of thousands of low latency
           15                                                      transactions per second at one of

           16                                                           the world's largest crypto
                                                                                   exchanges.)
           17
                 31.             David Vidal                         Security Engineer at BitMEX                 San Francisco, California
           18
                                                                      Site Reliability Engineering
           19    32.                Scott H.                                                                     San Francisco, California
                                                                                 Lead at BitMEX
           20                                                              Vice President, Chief
           21                                                       Information Security Officer at
           22                                                       BitMEX (Leading the Security

           23                                                           & IT organizations at the
                 33.            Chris McCann                             world’s highest volume                     Palo Alto, California
           24
                                                                                 Cryptocurrency
           25
                                                                      exchange. Building a world
           26                                                        class Security team to protect
           27                                                           our customers, assets and
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)    - 29 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                 Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 30 of 106



             1                                                                      brand.)
             2                                                          Staff Security Engineer at
                 34.     Javier Marcos de Prado                                                                 San Francisco, California
             3                                                                     BitMEX
                                                                        Senior Manager Security
             4   35.            Shivali Singh                                                                   San Francisco, California
                                                                          Assurance at BitMEX
             5
                 36.     Felipe Loyola Andrade                      Software Engineer at BitMEX                 San Francisco, California
             6
                                                                      Senior Software Engineer at
             7   37.              Felix Böhm                           BitMEX (Tech lead for the                San Francisco, California
             8                                                       institutional side of BitMEX)
             9                                                      Engineering Leader, Lead Data
                 38.               Neel Patel                                                                     Burlingame, California
           10                                                              Engineer at BitMEX
                                                                      Senior Software Engineer at
           11    39.        Taylor Hesselgrave                                                                  San Francisco, California
                                                                                   BitMEX
           12
                                                                     Product Manager at Bitmex at
           13    40.              Alisa Isovic                                                                  San Francisco, California
                                                                                   BitMEX
           14                                                          Site Reliability Engineer at
           15                                                        BitMEX (Primary on call in a
                 41.           Armando Cerna                                                                    San Francisco, California
           16                                                             high traffic production

           17                                                                    environment.)
                 42.          Miguel Bernadin                      Kubernetes Engineer at BitMEX                San Francisco, California
           18
                                                                   Senior Software Engineer - API
           19    43.                Elliot S.                                                                   San Francisco, California
                                                                       Technical Lead at BitMEX
           20
                                                                   Security Investigations Manager
                 44.               Bernard S.                                                                            United States
           21                                                                     at BitMEX
           22                                                         HR Operations Specialist at
                 45.             Josie Pappas                                                                  San Francisco, California
           23                                                                      BitMEX

           24    46.             Jinny Wong                          Product Designer at BitMEX                San Francisco, California
                                                                         Information Technology
           25    47.                Claire F.                                                                  San Francisco, California
                                                                         Management at BitMEX
           26
                                                                      Senior Software Engineer at
           27    48.              Can Selcik                                                                   San Francisco, California
                                                                                   BitMEX
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 30 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                 Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 31 of 106



             1                                                         Threat Intelligence, Insider
             2   49.           Eoghan McKee                           Threat, Incident Response at             San Francisco, California

             3                                                                     BitMEX
                                                                      Head of User Experience at
             4   50.            Lawson Kight                                                                   San Francisco, California
                                                                                   BitMEX
             5
                 51.             Shawhin M.                           Project Manager at BitMEX                San Francisco, California
             6
                                                                     Platform Security Engineer at
             7   52.                 Ladi D.                                                                   San Francisco, California
                                                                                   BitMEX
             8                                                           Quality Assurance (QA)
                 53.               Neil Eads                                                                   San Francisco, California
             9                                                              Manager at BitMEX

           10                                                      Vice President, Head of Product
                 54.            Michael Curry                                                                  Oakland, California
                                                                                  at BitMEX
           11
                                                                   Principal Visual Designer, User
           12    55.           Joshua Philippe                                                                 San Francisco, California
                                                                          Experience at BitMEX
           13
                                                                      IT Infrastructure Engineer at
                 56.                 Tim L.                                                                    San Francisco, California
           14                                                                      BitMEX
           15                                                        Communication Director and
                 57.             Hunter Shaw                                                                   San Francisco, California
           16                                                                      BitMEX

           17                                                            Senior Security Program
                 58.             Brian Rankin                                                                  San Francisco, California
                                                                            Manager at BitMEX
           18
                                                                       Senior Product Manager at
           19    59.            Bradley Cruce                                                                  San Francisco, California
                                                                                   BitMEX
           20
                                                                      Senior Software Engineer at
                 60.         Simone Bottecchia                                                                 San Francisco, California
           21                                                                      BitMEX
           22    61.                Julia Zhu                      Former Head of Data at BitMEX San Francisco, California
           23    62.                Yifan Gu                       Kubernetes Engineer at BitMEX San Francisco, California

           24                                                        Product Manager at BitMEX
                                                                     (My average week at BitMEX
           25
                 63.            Uday Shankar                           involves product research,              San Francisco, California
           26
                                                                    market research, data analysis,
           27                                                      scouring through support tickets,
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 31 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                 Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 32 of 106



             1                                                        watching social channels for
             2                                                       opportunities in terms of new

             3                                                       features and improvements to
                                                                     existing features collaborating
             4
                                                                   with Engineering, Program, QA,
             5
                                                                   Security, Legal and Compliance
             6
                                                                     teams. I manage expectations
             7                                                      across Design, Engineering and
             8                                                      Management orgs and ensuring

             9                                                      the product ideas and solutions
                                                                    are communicated, wireframed
           10
                                                                    and pitched in the right fidelity
           11
                                                                    to get all stakeholders onboard
           12
                                                                     and scope our short term and
           13                                                         long term roadmaps for each
           14                                                                      projects.)
           15                                                      Principal / Lead senior software

           16                                                      engineer at BitMEX focused on
                 64.          Victor Levasseur                                                                  San Francisco, California
                                                                    a product driven approach and
           17
                                                                             with great business
           18
                                                                          Former Executive Vice
           19                                                            President of Product and
           20                                                       Engineering ( Built and led the
           21                                                          North American arm of an

           22                                                            overseas cryptocurrency
                 65.          Jason Bond Pratt                       derivatives exchange, hiring a             San Francisco, California
           23
                                                                     team of 40 during a period of
           24
                                                                   100x growth. (BitMEX was then
           25
                                                                     and remains the largest crypto
           26                                                         exchange, by volume, in the
           27                                                                       world.)
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 32 -    BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                 Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 33 of 106



             1                                                     • Grew product and engineering
             2                                                         team from 1 to 40 across 5

             3                                                     operational groups, and hired or
                                                                    developed hiring managers for
             4
                                                                                 each of them.
             5
                                                                       • Established a culture that
             6
                                                                        valued diversity, respect,
             7                                                         inclusion and appreciation,
             8                                                            emphasizing team-first

             9                                                     principles and a humble, servant
                                                                    leadership ethic throughout our
           10
                                                                                 organization.
           11
                                                                      • Hired or developed global
           12
                                                                      leads for Security, DevOps,
           13                                                      Recruiting, IT, UX, Mobile, and
           14                                                       API/Web Engineering, and led
           15                                                        the first D&I initiatives at the
                                                                      company. Secured long term
           16
                                                                        Class A space in the FiDi.
           17
                                                                   • Served on the global exec team
           18
                                                                    and coordinated regularly with
           19                                                         peers and founders in Hong
           20                                                           Kong, London, and NYC.
           21                                                       Managed a budget of $15mm.)

           22                                                       Former Project Office Manager
                                                                         – Global Marketing and
           23    66.    Ska Ska Morales-Murray                                                                    New York, New York
                                                                        Business Development at
           24
                                                                                   BitMEX
           25
                                                                      Head of Security at BitMEX
           26    67.              Tim Tickel                            (Securing cryptocurrency                  San Mateo, California
           27                                                            exchange infrastructure)
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 33 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                 Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 34 of 106



             1                                                          Data Science Manager at
                 68.         Chenqi 'Ashley' X.                                                                 San Francisco, California
             2                                                                     BitMEX

             3                                                           Former Senior Software
                 69.              Kev Zettler                                                                       Oakland, California
                                                                           Engineer at BitMEX
             4
                                                                   Former Art Director at BitMEX
             5
                                                                    (Led a cross-functional rebrand
             6
                                                                   project with Marketing, Product,
             7                                                     and Brand collaborators to build
             8                                                            the BitMEX brand for
             9   70.               Cynthia P.                              institutional and retail               New York, New York

           10                                                      audiences. Deliverables included
                                                                       brand and style guidelines,
           11
                                                                     visual assets, content strategy,
           12
                                                                        digital and print editorial
           13                                                                    campaigns.)
           14    71.             Natalie Case                         Technical Writer at BitMEX                Walnut Creek, California
           15                                                         Former Content Manager at
                 72.              Deb Baratz                                                                      New York, New York
           16                                                                      BitMEX
                                                                   Former Operations Supervisor at
           17    73.             Robbin Kyle                                                                     Livingston, New Jersey
                                                                                   BitMEX
           18
                                                                   Former Senior DevOps Engineer
           19
                                                                      at BitMEX (Migrated legacy
           20                                                             services to Kubernetes,
           21                                                      Established effective CI patterns
           22                                                         and provisioning strategies,
                 74.                Jacob H.                                                                       Indianapolis, Indiana
           23                                                        Worked with security team to
                                                                       integrate auth/sso into dev
           24
                                                                    workflows, Created tooling for
           25
                                                                      use by DevOps and Product
           26                                                                       Teams)
           27
                        63.        Based on the publicly available LinkedIn data, while 74 of Defendant HDR
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 34 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 35 of 106



             1
                 employees are located in the United States, only 34 are located in Hong Kong, which is the home
             2
                 for second largest Defendant HDR office. Therefore, more than two thirds of Defendant HDR
             3
                 employees worldwide are residing in the United States and in this District. Moreover, the vast
             4
                 majority of the 74 United States employees of Defendant HDR are engaged in software
             5
                 development and engineering, while in Hong Kong, there are only six software developers and
             6
                 engineers employed by Defendant HDR. Therefore, the United States and, specifically, San
             7
                 Francisco is unquestionably the location where all the technology behind the BitMEX platform
             8
                 has been and continues to be developed.
             9
                         64.       In addition, BitMEX website lists 17 job openings for Defendant HDR San
           10
                 Francisco office. For comparison, the other two offices of Defendant HDR – Hong Kong and
           11
                 Singapore list 14 and two job openings, respectively. Furthermore, out of 17 advertised job
           12
                 openings in Defendant HDR San Francisco office, 15 are openings in engineering and software
           13
                 development. On the other hand, in Hong Kong office, only four job openings are in software
           14
                 development and engineering. This fact further supports the conclusion that the United States
           15
                 and, specifically, San Francisco is the primary location where all the technology behind the
           16
                 BitMEX platform has been and continues to be developed.
           17
                                                            JURISDICTION AND VENUE
           18
                         65.       Plaintiff BMA incorporates the allegations set forth in Paragraphs 1-64 above as if
           19
                 fully set forth herein.
           20
                         66.       This Court has subject matter jurisdiction over this action pursuant to 18 U.S.C. §
           21
                 1964 as well as 28 U.S.C. §§ 1331 and 1332(a). Specifically, this action arises under RICO and
           22
                 CEA, both of which present a federal question.
           23
                         67.       This Court has jurisdiction over the statutory and common law claims of violations
           24
                 under California law pursuant to this Court’s supplemental jurisdiction under 28 U.S.C. §
           25
                 1367(a).
           26
                         68.       This Court has personal jurisdiction over Defendants, and each of them, pursuant
           27
                 to California long arm statute codified in Cal. Code Civ. Proc. § 410.10.
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 35 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 36 of 106



             1
                         69.       Defendant HDR conducts and has conducted a substantial, systematic, and
             2
                 continuous business in the State of California as alleged hereinabove.
             3
                         70.       Defendant ABS conducts and has conducted a substantial, systematic, and
             4
                 continuous business in the State of California as alleged hereinabove.
             5
                         71.       Defendant Hayes conducts and has conducted a substantial, systematic, and
             6
                 continuous business in the State of California as alleged hereinabove.
             7
                         72.       Defendant Delo conducts and has conducted a substantial, systematic, and
             8
                 continuous business in the State of California as alleged hereinabove.
             9
                         73.       Defendant Reed conducts and has conducted a substantial, systematic, and
           10
                 continuous business in the State of California as alleged hereinabove.
           11
                         74.       Venue is proper in this District pursuant to 18 U.S.C. § 1965 and 28 U.S.C. §
           12
                 1391(b)(1). Venue is similarly proper pursuant to 7 U.S.C. § 25(c) in that this is a District
           13
                 wherein a defendant is found, resides, or transacts business, or wherein any act or transaction
           14
                 constituting the violation occurred.
           15
                                                          INTRADISTRICT ASSIGNMENT
           16
                         75.       Pursuant to Civil Local Rule 3-5 of the United States District Court for the
           17
                 Northern District of California, the San Francisco division is the proper venue because substantial
           18
                 part of the events or omissions, which give rise to this action has occurred in San Francisco
           19
                 county, where Defendants’ HDR and ABS principal offices are located.
           20
                                                              BACKGROUND - BITCOIN
           21
                         76.       Plaintiff BMA incorporates the allegations set forth in Paragraphs 1-75 above as if
           22
                 fully set forth herein.
           23
                         77.       Bitcoin is form of cryptocurrency. It is a trustless, decentralized digital currency
           24
                 without a central bank or single centralized administrator that can be sent from user to user on the
           25
                 peer-to-peer bitcoin network without the need for intermediaries or a trusted central authority.
           26
                         78.       Bitcoin was invented in or about 2008 and described in a whitepaper entitled
           27
                 “Bitcoin: A Peer-to-Peer Electronic Cash System” authored by an unknown person or group of
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 36 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 37 of 106



             1
                 people using the name Satoshi Nakamoto and started in 2009 when its source code was released
             2
                 as an open-source software. Bitcoins are created as a reward for a process known as mining.
             3
                 They can be exchanged for other currencies, products, and services.
             4
                          79.      Bitcoin transactions are verified by a network of nodes through cryptography and
             5
                 recorded in a public distributed ledger called a blockchain, which is maintained by multiple
             6
                 bitcoin network nodes through the use of a consensus protocol. Every bitcoin transaction starting
             7
                 from the very first one may be viewed and verified using the blockchain. The blockchain consists
             8
                 of a chronologically ordered sequence of blocks holding records of bitcoin network transactions.
             9
                 A new block is generated by miners every 10 minutes. The integrity of the blockchain is
           10
                 maintained by including a hash of each block in to the subsequent block. This way, if any block
           11
                 is altered (forged) after its creation, all the subsequent blocks would have to be also modified or
           12
                 the hash discrepancy caused by the modification will be immediately detected by all the network
           13
                 nodes.
           14
                          80.      Bitcoins are traded for United States dollars, Euros and other fiat currencies and
           15
                 cryptocurrncies on centralized online marketplaces called exchanges. Usually, transactions
           16
                 taking place inside exchanges, such as executions of buy and sell orders are not recorded on the
           17
                 public blockchain and, therefore, it is hard to independently verify them using the blockchain.
           18
                 Most exchanges do not have internal protections against bitcoin price manipulation as well as
           19
                 other fraudulent behavior, which is rampant due to low trading liquidity of the bitcoin market.
           20
                          81.      Stablecoins are cryptocurrencies designed to minimize the volatility of the price of
           21
                 the stablecoin, relative to some "stable" asset or basket of assets. The value of a stablecoin can be
           22
                 pegged to a cryptocurrency, fiat money, or to exchange-traded commodities (such as precious
           23
                 metals or industrial metals). Most frequently used stablecoins are those pegged to United States
           24
                 dollar, including, without limitation, Tether (USDT), USDC and the like.
           25
                          82.      Since at least 2015, the CFTC has maintained that bitcoin, and other virtual
           26
                 currencies, fit the definition of a commodity primarily through administrative actions. In re
           27
                 Coinflip, Inc., CFTC Docket No. 15-29, 2015 WL 5535736 at *3 (Sept. 17, 2015). CFTC v.
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CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 37 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 38 of 106



             1
                 McDonnell, 287 F. Supp. 3d 213, 228 (E.D.N.Y. 2018) was the first time the CFTC’s position
             2
                 was given judicial approval. The court noted that “[v]irtual currencies can be regulated by the
             3
                 CFTC as a commodity,” because virtual currencies can be exchanged in a market for a uniform
             4
                 quality and value. The Court’s reasoning makes clear that bitcoin and other virtual currencies fall
             5
                 within both the common law definition of commodity and the CEA’s definition of a commodity.
             6
             7                             BITCOIN PRICE MANIPULATION TECHNIQUES
                         83.       Plaintiff BMA incorporates the allegations set forth in Paragraphs 1-82 above as if
             8
                 fully set forth herein.
             9
                         84.       On or about September 9, 2019, Chairman of the United States Security Exchange
           10
                 Commission (“SEC”) Jay Clayton stated: “[i]n the trading area, it troubles me that people look on
           11
                 these venues and think it has got the same level of protection that you’d have on an equity market
           12
                 in the US NASDAQ and MYSZ. Nothing could be further from the truth, we have lengthy
           13
                 rulebooks, all sorts of protections to make sure that prices are not manipulated in the equity
           14
                 markets, I don’t see those in the Crypto asset markets.”
           15
                         85.       Bitcoin futures and especially spot markets remain thinly traded making them
           16
                 particularly susceptible to pumps-and-dumps, Barts, stop loss hunts, liquidation cascades,
           17
                 spoofing, as well as other forms of market manipulation. The primary beneficiaries of such
           18
                 illegal manipulation are the perpetrators, who are able to fill their orders at better than market
           19
                 prices at the expense of other traders, as well as cryptocurrency exchanges, such as BitMEX,
           20
                 which benefit through increased trading volumes as well as trader position liquidations. This
           21
                 provides very strong financial incentive for exchanges to manipulate cryptocurrency markets.
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CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 38 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 39 of 106



             1
                         86.       Pump-and-dump is the fraudulent practice of perpetrators encouraging unwitting
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           11
                 investors to buy an asset, such as bitcoin, to inflate its price artificially, and then selling it when
           12
                 the price reaches a predetermined threshold. Pumps-and-dumps are designed to deceive the
           13
                 inventors as to the state of market supply and demand for the asset by means of artificially
           14
                 increasing the price and trading volume of the asset that is designed to entice unwitting investors
           15
                 to join the hype, and to buy the asset at an artificially inflated price, which they would not have
           16
                 done otherwise. When the perpetrators behind the scheme sell (dump) their bitcoins and stop
           17
                 pumping it, the price plummets, and other investors are left holding the asset that is worth
           18
                 significantly less than they paid for it. As the result, traders who bought the bitcoin on margin,
           19
                 may be subject to execution of stop losses as well as liquidations.
           20

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CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 39 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 40 of 106



             1
                        87.        Bart patterns or simply “Barts” are a variety of pumps-and-dumps involving
             2
                 intense pumps or dumps occurring within a very short time frame causing price action to find a
             3
                 new high or low for a very short period, followed by equally violent return to the previous level.
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           15
                 Perpetrators using this manipulation tactic benefit by having their sell/buy orders filled, and
           16
                 causing the unwitting investors to open positions against the trend.
           17
                        88.        Barts are created by perpetrators using Momentum Ignition Algorithms, which
           18
                 work by creating a sharp spike in buy or sell action within a market with the purpose of deceiving
           19
                 the market participants as to market-based forces of supply and demand for an asset and enticing
           20
                 unsuspecting traders, or other trading algorithms, to follow the trade and place orders that they
           21
                 would not have otherwise placed. Barts are intended to trick other market participants into
           22
                 reacting to an apparent change and imbalance of supply and demand by buying and selling bitcoin
           23
                 futures at times, prices and quantities that they otherwise would likely not have traded.
           24
                 Additionally, unsuspecting traders will place buy orders above significant zones, to catch up
           25
                 trends, and short sellers will place stops losses in similar areas, these are effectively buy orders. In
           26
                 order for the malicious algorithm to be most effective it has to push price into these liquidity
           27
                 zones, triggering buys, and from there it can disengage. Sometimes, several hours later, a floor of
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 40 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 41 of 106



             1
                 buy orders is removed, and a momentum ignition may be activated in the opposite direction
             2
                 causing a dump.
             3
                        89.        Stop loss hunting is a type of market manipulation, when the perpetrators attempt
             4
                 to artificially move the price for an asset to a predetermined price value to force other market
             5
                 participants out of their positions. This type of manipulation is performed by executing one or
             6
                 more buy or sell orders with the purpose to drive the price of an asset to a level where many
             7
                 market players have chosen to set their stop-loss orders. Stop loss orders are orders that get
             8
                 automatically executed at market price should the price of bitcoin reach a predetermined price
             9
                 threshold. The perpetrator buys or sells spot bitcoin or bitcoin derivative until the price threshold
           10
                 is reached. When the stop loss orders are triggered due to a stop loss hunt manipulation, the
           11
                 trader’s asset holdings are sold at prevailing market prices causing the market to be filled with a
           12
                 large number of market orders, which has the ability to move the asset price even further
           13
                 triggering more stop loss orders and can even result in liquidations. The result is a cascading
           14
                 execution of a large number of market orders. The perpetrators place their buy or sell orders such
           15
                 as to have them filled at the bottom or at the top of the resulting stop loss execution cascade at
           16
                 artificially below or artificially above market prices, respectively. After the initial market move,
           17
                 the price of the asset sometimes recovers and perpetrators generate a profit due to their illicit
           18
                 actions.
           19
                        90.        Liquidation cascade is an extreme case of the stop loss hunt, when the perpetrator
           20
                 pushes the price of the asset or derivative to reach position liquidations levels for multiple traders
           21
                 and the resulting multiple market liquidations take place in a very short time interval moving the
           22
                 price even further. This triggers additional liquidations causing a cascading execution of a large
           23
                 number of liquidation orders. Similarly to the stop loss hunt, the perpetrators place their buy or
           24
                 sell orders such as to have them filled at the bottom or at the top of the resulting liquidations
           25
                 cascade, at artificially below or artificially above market prices, respectively.
           26
                        91.        The manipulative price actions alleged hereinabove perpetrated by culprits on one
           27
                 cryptocurrency spot or derivatives exchange quickly propagate to all other exchanges due to the
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 41 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 42 of 106



             1
                 widespread use of arbitrage bots, which are algorithms coded in software that take advantage of
             2
                 the price discrepancy between exchanges by buying or selling an asset in one market and
             3
                 simultaneously selling or buying it in another market at a more favorable price. Thus, a
             4
                 manipulative price action on one cryptocurrency exchange results in a substantially similar price
             5
                 action on all other exchanges.
             6
                        92.        Because cryptocurrency futures exchanges contracts are based heavily on bitcoin
             7
                 spot index price on a handful of relatively illiquid spot exchanges, a large bitcoin spot price move
             8
                 may be accomplished by executing relatively small market orders on the illiquid spot exchanges.
             9
                 For example, .BXBT index price used by Defendants for BitMEX’s XBT perpetual futures
           10
                 contract is based substantially on Bitstamp, Coinbase and Kraken exchanges, which are much less
           11
                 liquid then BitMEX itself.
           12
                        93.        Once initiated on Bitstamp, Coinbase and/or Kraken, the aforesaid price move
           13
                 spreads, through the aforesaid index, to order books of very liquid derivatives exchanges, such as
           14
                 BitMEX and causes massive, multimillion dollar instant liquidations of derivatives positions.
           15
                 Such liquidations provide a financial windfall to derivatives exchanges such as BitMEX due to
           16
                 the increased trading volume as well as confiscation by the exchanges of the residual collateral of
           17
                 the liquidated traders, if the exchange is able to close the traders’ positions at prices better than
           18
                 bankruptcy price. In BitMEX, the amount of funds so confiscated from liquidated traders
           19
                 exceeds 35,404.7394 bitcoins valued at $344,700,542.80.
           20
                        94.        Pumps-and-dumps, Barts, stop loss hunts and liquidation cascades may be utilized
           21
                 by perpetrators for purposes of money laundering, especially when exchanges do not require any
           22
                 documents to open an account. For example, in case of a liquidation cascade, a first person or
           23
                 entity may execute a relatively small market order to trigger the liquidation cascade and a second,
           24
                 separate, person or entity, acting from a separate exchange account, opened on the same or
           25
                 different exchange, may place large buy or sell orders, respectively, to have them filled at the
           26
                 artificially low or high (below or above market) prices caused by the liquidation cascade triggered
           27
                 by the actions of the first person or entity. The first entity generally would book a loss, while the
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 42 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 43 of 106



             1
                 second entity would book a profit. The first entity may be officially located in a high tax
             2
                 jurisdiction, such as California, while the second entity may be incorporated in a tax-heaven
             3
                 jurisdiction, such as British Virgin Islands. Furthermore, the first entity may execute the order on
             4
                 an illiquid spot exchange, such as Bitstamp, to amplify the effect of the initiating market order
             5
                 while the second entity may operate on a high liquidity derivatives exchange such as BitMEX,
             6
                 which uses the price of the spot exchange in calculating its index.
             7
                        95.        In a criminal commodity futures market manipulation case USA v. Smith et al.
             8
                 (N.D. IL 2019), the United States Department of Justice (DOJ) took a position that placing orders
             9
                 for commodity futures contracts in a manner that was intended to deliberately trigger or
           10
                 deliberately avoid triggering a specific price-based event, such an option execution, is unlawful.
           11
                 Consistent with that position, the all above alleged price manipulation actions are also unlawful.
           12
                        96.        In SEC v. Shuang Chen et. al. Civil Action: 1:19-cv-12127-WGY (D. MA 2019)
           13
                 “[t]he Defendants generally used at least two brokerage accounts when manipulating the price of
           14
                 a particular publicly traded stock. The Defendants first typically used at least one account to place
           15
                 multiple small purchase or sale orders to create upward or downward pressure on the stock price
           16
                 (hereinafter referred to as a “helper” account). Then, the Defendants typically used at least one
           17
                 other account (hereinafter referred to as a “winner” account) to purchase or sell larger quantities
           18
                 of stock at prices that had been affected by the manipulative orders placed by the helper
           19
                 account(s). The Defendants often held the winner and helper accounts at different brokerage firms
           20
                 to conceal from each brokerage firm the coordination between the two types of accounts.” The
           21
                 illegal stock price manipulation technique alleged by SEC is identical to the techniques alleged
           22
                 hereinabove and used as well as aided and abetted by Defendants on a daily basis during the time
           23
                 period starting on January 1, 2017 and until now (“Relevant Period”) to manipulate the prices of
           24
                 cryptocurrencies. According to SEC, all those techniques are illegal.
           25
                        97.        Spoofing is an unlawful practice of making buy or sell orders, called deceptive
           26
                 orders, with an intent to cancel them before execution. The deceptive orders are used by
           27
                 perpetrators to inject false and misleading information about genuine supply and demand for
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 43 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 44 of 106



             1
                 bitcoin or bitcoin derivatives into the markets and to deceive other participants in the market into
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                 believing something untrue, namely that the visible order book accurately reflected market-based
             3
                 forces of supply and demand. This false and misleading information was intended to trick other
             4
                 market participants into reacting to an apparent change and imbalance of supply and demand by
             5
                 buying and selling bitcoin futures at times, prices and quantities that they otherwise would likely
             6
                 not have traded.
             7
                         98.       Bitcoin price manipulation such as pumps-and-dumps, Barts, stop hunts,
             8
                 liquidation cascades, and spoofing, as well as numerous other forms of illicit market manipulation
             9
                 are generally believed to be the abuses that prevent SEC from approving numerous bitcoin
           10
                 Exchange Traded Fund (ETF) applications that have been filed throughout the years by various
           11
                 cryptocurrency industry players.
           12
           13                              BITMEX WAS DESIGNED FROM GROUND UP TO
                                                   BENEFIT FROM MANIPULATION
           14                               “Regulatory agencies can be bought.” Defendant Arthur Hayes
           15            99.       Plaintiff BMA incorporates the allegations set forth in Paragraphs 1-98 above as if
           16    fully set forth herein.
           17            100.      BitMEX was launched in 2014 by Defendants Hayes, Delo and Reed. BitMEX
           18    was one of the first cyptocurrency exchanges that offered derivative products based on the price
           19    of bitcoin. At its inception, as Defendant Hayes described it, BitMEX was to serve Wall Street
           20    institutional investors “who were going to want the same type of products” they were used to
           21    trading at sophisticated multinational banks. Yet for the first six months after BitMEX went live
           22    in late 2014, “no one came” to the trading platform, including traders from Wall Street.
           23    Therefore, BitMEX changed its business model to “focus[] on degenerate gamblers; [also known
           24    as] retail investors” by offering “100X leverage” trades. Since then, its first-mover advantage has
           25    paid off: it is consistently among the largest cryptocurrency futures traders by volume and has
           26    been for years. It now frequently trades over $3 billion worth of transaction in a single day.
           27            101.      In allowing retail customers to leverage their bets at the extraordinary ratio of
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 44 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 45 of 106



             1
                 100:1—about twenty times higher than the common ratio in derivatives trading — BitMEX
             2
                 positioned itself to benefit consistently, significantly, and predictably from the combination of
             3
                 attracting overly hopeful investors and small price fluctuations on other exchanges. This structure
             4
                 creates substantial incentives for Defendants to surreptitiously cause such fluctuations.
             5
                        102.       Implementing its business approach, Defendants deliberately based the index price
             6
                 of its futures on spot-market exchanges that have limited liquidity and are thus relatively easy to
             7
                 manipulate. BitMEX would then engage in manipulative trading on those exchanges to change
             8
                 the price of bitcoin or ether. Even if only temporary, these price changes would then affect the
             9
                 prices of the futures offered on BitMEX in a way that benefitted BitMEX by allowing it to make
           10
                 margin calls and liquidate its highly leveraged traders.
           11
                        103.       Automatically liquidating contracts that were out of the money, BitMEX would
           12
                 cover the trader’s losses but would also take all of the trader’s collateral. By setting the
           13
                 liquidation point higher than necessary to protect against the risk of a loss greater than the trader’s
           14
                 collateral, BitMEX consistently profited from these liquidations. BitMEX would place these
           15
                 profits in its insurance fund (“Insurance Fund”), marketed as a way to ensure that BitMEX has
           16
                 cash on hand for the rare occasions where the losses exceeded the collateral. Despite its name, the
           17
                 Insurance Fund is almost never drawn upon and instead has grown consistently such that it now
           18
                 contains assets worth hundreds of millions of dollars.
           19
                        104.       BitMEX also acted on similar financial incentives by trading against its customers,
           20
                 a secret BitMEX kept as long as it could. BitMEX employed an undisclosed trading desk with
           21
                 special privileges and insights that allowed BitMEX to take favorable positions opposite its own
           22
                 customers. BitMEX only revealed the existence of the desk in 2018, under pressure from an
           23
                 independent analyst armed with trade data reflecting its existence. As a desk with access to
           24
                 otherwise-hidden information, it was in a perfect position to enhance BitMEX’s manipulation.
           25
                        105.       BitMEX has compounded the effect of these manipulative schemes by routinely
           26
                 freezing its servers—which BitMEX blames on technical glitches and limitations—to profit
           27
                 during moments of high volatility. During these freezes, customers are unable to change their
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 45 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 46 of 106



             1
                 positions, but the market continues to operate and BitMEX trades. BitMEX would thus prevent its
             2
             3
             4
             5
             6   customers from escaping positions until they fell to a level at which BitMEX could liquidate
             7   those positions at a profit to itself.
             8           106.      BitMEX’s operations on March 13, 2020, are a recent and good example. During a
             9   period in the day with high market volatility and crashing bitcoin prices (from nearly $8,000 to
           10
           11
           12
           13
           14
           15
           16
           17
           18    $4,000 per bitcoin), resulting in a substantial sell-off, BitMEX’s trading platform went offline for

           19    twenty-five minutes. As a result of the outage, BitMEX did not dip into its Insurance Fund, but

           20    rather liquated $800 million of its customers’ highly leveraged positions for its own profit. This

           21    server outage, in short, effectively protected BitMEX and the Insurance Fund from the cascading

           22    effects of sell-offs of BitMEX’s highly leveraged and volatile products. It should be noted that

           23    BitMEX’ three Site Reliability Engineers are all located in this District and, therefore, the

           24    deliberated and fraudulent outage on March 13, 2020 was perpetrated from this District. To cover

           25    up their fraud, Defendants first concocted a story of a hardware failure that allegedly caused the

           26    BitMEX platform outage.

           27
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 46 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 47 of 106



             1
                        107.       However, Defendants soon realized that all hardware used by BitMEX platform
             2
                 was managed by Amazon EKS and not Defendants themselves and that such a fake excuse would
             3
                 clearly not hold up if Amazon is asked to investigate the alleged hardware issue. Therefore,
             4
                 Defendants quickly changed their story and invented a fake distributed denial-of-service attack
             5
             6
             7
             8
             9
           10
           11
           12    (DDoS attack) as an excuse for deliberately shutting down their own trading platform to avoid

           13    severe financial losses to themselves.

           14           108.       Defendants and each of them have thus manipulated the price of bitcoin and ether,

           15    harming Plaintiff and other traders who had their positions liquidated, in violation of the

           16    Commodity Exchanges Act, 7 U.S.C. §§ 9, 25 (2012).

           17           109.       BitMEX’s founder and CEO, Defendant Hayes, is cryptocurrency’s P.T. Barnum.

           18    Describing trading on cryptocurrency as “the entertainment business,” he has embraced a role as

           19    showman and promoter for the “degenerate gamblers” he solicits, and encourages speculative

           20    trading by flaunting his lavish lifestyle and making bold predictions designed to elicit responses

           21    and move the market in a way that is profitable for BitMEX.

           22           110.       Defendant Hayes repeatedly flaunts his wealth like this to followers of the

           23    BitMEX platform, while also sharing his positions and profits he makes by betting on the price of

           24    bitcoin and other cryptocurrencies. The implication of these types of promotion is clear: you too

           25    could live like this, if you trade on my platform.

           26           111.       For example, when promoting BitMEX at a large conference in New York, Hayes

           27    flaunted his arrival in an exotic Lamborghini car.

           28           112.       The BitMEX platform also has casino features built in. It promotes “winners” with
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 47 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 48 of 106



             1
                 a leaderboard of successful traders, just like casinos showcase their successful players. All these
             2
                 features are designed to serve only one purpose - entice more gamblers to place even riskier bets.
             3
                        113.       BitMEX also runs promotions for its products to promote gambling, providing
             4
                 prizes to “[t]he trader who continuously quotes the largest two-sided volume within a 0.5 percent
             5
                 spread” or “[t]he trader who has the largest profit (in XBT) from trading the NEO (NEOG18)
             6
                 contract gets the third prize.”
             7
                        114.       These promotions attract numerous retail investors and distract them from the fact
             8
                 that BitMEX created an exchange that facilitates its own manipulative and fraudulent behavior.
             9
                        115.       Since its inception, BitMEX has flouted financial regulators worldwide for
           10
                 operating as an unregistered exchange, hiding behind its offshore status.
           11
                        116.       In 2018, the financial regulator for the province of Quebec, Canada, ordered
           12
                 BitMEX to close accounts linked to customers in Quebec because it was operating as an
           13
                 unregistered exchange.
           14
                        117.       In July 2019, according to reports, the CFTC opened an investigation to determine
           15
                 whether the exchange is targeting and allowing United States traders to use the platform, after
           16
                 numerous press reports detailed the lack of any “know your customer” practices at BitMEX and
           17
                 the ease with which users can access the site from the United States - indeed one New York
           18
                 journalist has detailed his use of BitMEX.
           19
                        118.       Most recently, on March 3, 2020, the United Kingdom’s Financial Conduct
           20
                 Authority (FCA) issued a notice that BitMEX “is not authorised by us and is targeting people in
           21
                 the UK. Based upon information we hold, we believe it is carrying on regulated activities which
           22
                 require authorisation.”
           23
                        119.       BitMEX’s flouting of financial regulators is consistent with the attitude of its
           24
                 founders, as Defendant Hayes has freely admitted to falsifying banking documentation in China
           25
                 in order to take advantage of arbitrage opportunities in the price of bitcoin.
           26
                        120.       BitMEX is not the only entity that offers swaps and futures products on bitcoin.
           27
                 BitMEX, however, structures its products and operations with features more akin to a casino,
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 48 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 49 of 106



             1
                 focusing on products that expose customers to greater volatility and an increased risk of loss.
             2
                        121.       One of BitMEX’s earliest and still most popular products is the XBTUSD
             3
                 Perpetual Contract. This product, with features that resemble both a future and swap, allows
             4
                 traders to buy or sell a contract that tracks the price of the exchange rate between bitcoin and the
             5
                 U.S. Dollar. If you buy the contract, you will make a profit if the price of bitcoin goes up in U.S.
             6
                 Dollars. Conversely, if you sell the contract, you will make a profit if the price of bitcoin goes
             7
                 down in U.S. Dollars—effectively a short sale on the price of bitcoin.
             8
                        122.       Unlike a typical futures contract, XBTUSD has no set expiry date. Further, unlike
             9
                 a traditional futures product, the XBTUSD Perpetual Contract price closely tracks the price of the
           10
                 underlying asset, bitcoin. Put differently, in a traditional futures market, there are separate prices
           11
                 for the futures product and for the underlying asset. If ACME Corp. is trading at $100 a share
           12
                 today, the contract to buy one share of ACME Corp. at $120 in three months might trade for $5.
           13
                 Instead, XBTUSD tracks the price of bitcoin by exchanging among contract holders that are long
           14
                 (or short) a “funding rate” every eight hours if the price of bitcoin is higher (or lower) than what
           15
                 the contract is trading for on BitMEX. These mechanics incentivize buying the contract when the
           16
                 price of the contract is lower than the price of bitcoin, thus raising the contract’s price, and vice-
           17
                 versa. The “funding rate” amount depends on the spread between the XBTUSD contract price and
           18
                 the referenced exchange rate. The funding rate is exchanged directly peer-to-peer among contract
           19
                 holders. BitMEX does not charge a fee for it.
           20
                        123.       Because BitMEX does not list bitcoin itself, it must look to other exchanges that
           21
                 do trade bitcoin to determine the price of bitcoin for products like XBTUSD. For BitMEX to
           22
                 function properly, the data from the other exchanges must be trustworthy. If the spot market for
           23
                 the underlying cryptocurrencies listed on those exchanges is thinly traded and illiquid, then the
           24
                 price of the cryptocurrency becomes susceptible to price manipulation, which in turn could affect
           25
                 the price of the products on BitMEX. BitMEX knows this. BitMEX’s products are particularly
           26
                 sensitive to price manipulation because BitMEX allows traders to operate on substantial amounts
           27
                 of leverage. BitMEX allows traders to leverage their position up to 100 times the amount of
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 49 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 50 of 106



             1
                 collateral, or “margin,” they post. Put differently, traders can buy or sell 100 bitcoin worth of
             2
                 XBTUSD contracts for only 1 bitcoin of collateral. This leverage magnifies both gains and losses:
             3
                 if the price of the XBTUSD goes up, a buyer who is 100x leveraged will experience 100 times the
             4
                 profit, but if the price declines even 1 percent, the buyer will have lost all his collateral. In this
             5
                 way, BitMEX structures its products to offer the allure of large, lottery-ticket payoffs for very
             6
                 limited money.
             7
                         124.      BitMEX’s fees, however, are calculated based on the leveraged position, not on
             8
                 the underlying collateral. Thus, where BitMEX advertises a fee of 0.075 percent for bitcoin future
             9
                 perpetual contracts, that percentage refers to the amount of the unleveraged position. For a 100x
           10
                 leveraged future, BitMEX is effectively charging a fee of 7.5 percent.
           11
                         125.      In a leveraged trade, BitMEX limits a trader’s loss to solely the posted margin. In
           12
                 contrast, major derivatives exchanges, such as the Chicago Mercantile Exchange, expose traders
           13
                 to unlimited risk. When the unrealized loss of their position exceeds the posted margins, those
           14
                 exchanges will ask traders to post additional collateral to supplement their margin. This is known
           15
                 as a margin call. For example, if you had a $10,000 position supported by $100 of margin, and
           16
                 the position fell 1 percent to $9,900, it would trigger a margin call.
           17
                         126.      To limit traders’ losses to the posted margin, BitMEX uses a liquidation engine to
           18
                 close positions with unrealized losses close to the amount of the posted collateral and prevent
           19
                 losses greater than the collateral posted by the trader while ensuring that the winner receives their
           20
                 full profits. While the promise that a trader can only lose the minimal margin put up for a highly
           21
                 leveraged bet may be alluring to retail investors, in reality BitMEX uses this promise to lure them
           22
                 into a false sense of security. BitMEX’s system encourages traders to place highly leveraged bets
           23
                 under this pseudo-protection but takes their money in liquidations. Put differently, when BitMEX
           24
                 liquidates a position, there is going to be a winning trader and a losing trader, but even beyond
           25
                 receiving the transaction fees, BitMEX almost always takes a large part of one trader’s collateral,
           26
                 allowing it to profit from the liquidation.
           27
                         127.      BitMEX’s model of encouraging its users to experience volatility disproportionate
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 50 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 51 of 106



             1
                 to their collateral through substantial leveraging requires a mechanism that prevents those users
             2
                 from experiencing losses greater than they can handle—there is, after all, someone on the other
             3
                 end of the transaction that expects to get paid. BitMEX achieves this through the use of an
             4
                 automatic liquidation system. This system, however, does more than liquidate positions with
             5
                 insufficient collateral—it also creates substantial profits for BitMEX at the expense of its
             6
                 customers.
             7
                         128.      Because BitMEX allows traders to make purchases with large amounts of
             8
                 leverage, there is a risk that that a trader may not be able to pay the winner for his position. In
             9
                 order to prevent winners from being adversely affected by the lack of a counterparty’s collateral,
           10
                 BitMEX agrees to cover their winnings. In exchange, it automatically takes the loser’s collateral.
           11
                 It then seeks to sell the position on the market at the best price available, with the purchaser
           12
                 stepping into the shoes of the liquidated party with responsibility for covering the counterparty’s
           13
                 profits after sale.4 This process of taking the loser’s collateral in exchange for covering the
           14
                 winner’s profits until a counterparty is found is the automatic-liquidation system. BitMEX,
           15
                 however, does not wait to liquidate until the collateral can no longer cover the losses. Instead, it
           16
                 liquidates when the collateral is worth approximately twice the losses incurred, even though the
           17
                 trader has half of the initial collateral remaining. Even if the system is able to find a price for the
           18
                 position after the liquidation that would have allowed the trader to recoup some his losses,
           19
                 however, the trader receives nothing. Instead, BitMEX keeps that recovery for itself and puts it
           20
                 into the Insurance Fund.
           21
                         129.      To use an example from BitMEX’s own website, consider a trader who has taken a
           22
                 long position on 100 ether using only 1 bitcoin as collateral while bitcoin and ether are each
           23
                 trading at $4,000. This trader is 100x leveraged, such that a rise in the price of ether by $10 will
           24
                 cause the trader to gain $1,000. Because of this level of leverage, the trader runs a substantial risk
           25
                 of not being able to pay off an unsuccessful contract; his collateral can absorb only a $40 decrease
           26
                 in the price of ether. The price at which the trader’s collateral can no longer cover the losses on
           27
                 the position is the “bankruptcy price.” In this example, the bankruptcy price is slightly over
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 51 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 52 of 106



             1
                 $3,960, as ether falling to that price would mean that the 1 bitcoin used as collateral would
             2
                 exactly cover the losses. Rather than using this bankruptcy price as the liquidation point, BitMEX
             3
                 imposes a 0.5 percent “maintenance margin,” such that the position will automatically be
             4
                 liquidated if the price of ether falls to $3,980. This maintenance margin is remarkable relative to
             5
                 the amount of leverage in the position, as a change of less than 1 percent in the price of bitcoin
             6
                 can result in an automatic liquidation. If the price hits $3,980 and this liquidation occurs, BitMEX
             7
                 will seize the collateral and then seek to sell the 100-bitcoin position to another customer, while
             8
                 covering the gains of and without terminating the contract of the original counterparty. If this sale
             9
                 occurs at a price of $3,978, reflecting a $2 bid-ask spread, the purchase as a whole will have
           10
                 incurred a loss of $2,200 against the initial $4,000 wagered—a $22 loss multiplied by the 100x
           11
                 leverage. BitMEX, which takes the full collateral, has accordingly profited $1,800 from the
           12
                 liquidation of its customers’ position and places this profit in the Insurance Fund. The trader,
           13
                 meanwhile, loses the full $4,000.
           14
                        130.       It is possible for BitMEX to lose money in a liquidation if the market lacks
           15
                 sufficient liquidity to allow BitMEX to sell the liquidated position at the bankruptcy price. If, for
           16
                 example, the price of ether hits $3,980 but BitMEX is not able to find a purchaser to take over
           17
                 future at a price above $3,920, the 1 bitcoin used as collateral will not cover BitMEX’s losses.
           18
                 Hypothetically, the Insurance Fund would be used to cover BitMEX’s losses in this scenario.
           19
                        131.       The profitability of the Insurance Fund is thus tied to the liquidity of the market—
           20
                 as BitMEX itself has stated, the Insurance Fund will profit from each liquidation as long as the
           21
                 bid-ask is smaller than the maintenance margin.
           22
                        132.       Despite being described as a mechanism intended “to help ensure winners receive
           23
                 their expected profits, while still limiting the downside liability for losing traders” by making sure
           24
                 that BitMEX always has cash on hand to pay off losing trades, BitMEX’s Insurance Fund shows
           25
                 substantial overall profit from these liquidations. As their own data shows, the Insurance Fund
           26
                 has grown every year, as BitMEX takes in far more from liquidating its customers’ positions than
           27
                 it pays out to cover contracts it cannot close quickly enough. Despite its role as an insurance
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 52 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 53 of 106



             1
                 backstop, it grows in value nearly every day: over the last 100 (volatile) days, it has begun only
             2
                 five of them with a balance less than it began with the day before. Its largest posted one-day loss
             3
                 in the last 100 days has been around 20 bitcoin. In fact, at the end of 2019, the Insurance Fund
             4
                 contained 33,491 bitcoin, representing 0.19 percent of the total bitcoin in circulation. Moreover,
             5
                 BitMEX partitions the fund by contract type, and, when no more contracts of a given type remain
             6
                 (because, for example, the contract was tied to a time period that expired) the portion of the
             7
                 Insurance Fund for that contract type is given to BitMEX as profit.
             8
                           133.    BitMEX has thus profited from the vast majority of the automatic liquidations it
             9
                 conducts on behalf of its customers. Even independent of how these automatic liquidations can be
           10
                 used with market manipulation, the structure of BitMEX’s automatic liquidations creates an
           11
                 incentive for BitMEX to induce liquidations as long as there is sufficient liquidity in the market
           12
                 that the bid-ask spread is smaller than the maintenance margin. As long as this liquidity is
           13
                 present, BitMEX profits when it causes its customers’ positions to automatically liquidate.
           14
                 Defendants’ ability to manipulate the prices on BitMEX for their own profit and at the expense of
           15
                 Plaintiff and other cryptocurrency traders was protected and enhanced by persistent issues
           16
                 BitMEX maintained in its server that locked out users at crucial times that enabled BitMEX to
           17
                 profit.
           18
                           134.    BitMEX’s risk-management process, which performs the system’s automatic
           19
                 liquidations, must check the entire system whenever the price of a future changes. This process,
           20
                 although sometimes completed quickly, supposedly causes BitMEX’s servers to freeze on
           21
                 average between two and three times a day. During these server freezes, customers lose the ability
           22
                 to trade until the servers unfreeze.
           23
                           135.    These server issues are not present in other exchanges that regularly handle far
           24
                 more transactions per second. While BitMEX has purposefully not made all of the data about its
           25
                 server capacity public, it has indicated that, as of May 2019, it was processing around
           26
                 200,000,000 trades a week, purportedly taxing its system and leading to server shutdowns. This
           27
                 works out to an average load of around 330 trades a second. BitMEX has indicated that its peak
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 53 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 54 of 106



             1
                 transactions can reach 30 times the average, for a peak of just under 10,000 trades a second.
             2
                 ByBit, which also transacts primarily in futures and derivatives, can process 100,000 transactions
             3
                 a second. Binance, another large exchange, can process 1.4 million transactions a second, more
             4
                 than 100 times the peaks that purportedly cause BitMEX’s servers to freeze.
             5
                        136.       When BitMEX’s servers are frozen, preventing customers from executing any
             6
                 trades, the prices of the futures contracts are not frozen. Instead, they continue to move,
             7
                 processing some transactions while refusing to accept transactions from others. This means that a
             8
                 BitMEX trader can be prevented from executing a trade by a server freeze only to find, once the
             9
                 server reopens, that the price at which they wished to transact is no longer available. They can
           10
                 also find that an offer they had made before the freeze but wished to retract during it has since
           11
                 been accepted. 103. Any trader with the ability to have its transactions prioritized over others
           12
                 during this period could reap substantial profits. The digital assets on which the BitMEX futures
           13
                 are based, such as bitcoin or the Tokens, continued to trade on other exchanges with functioning
           14
                 servers while BitMEX’s remained frozen to most users. A privileged trader—such as those that
           15
                 operate BitMEX’s internal trading desk—could see that the price of bitcoin had risen during a
           16
                 freeze and arbitrage on that information before the regular traders had the ability to react.
           17
                 Additionally, because most traders are unable to operate during these freezes, a trader who is able
           18
                 to act could survey all of the items on offer during the freeze and cherry-pick whichever seemed
           19
                 most appealing in light of the market’s movements.
           20
                        137.       The limitations of BitMEX’s server also helps enable profitable automatic
           21
                 liquidations, because these liquidations continue to occur during the freeze. A customer who has a
           22
                 100x leveraged position on one bitcoin that will liquidate if the price of bitcoin falls from $4,000
           23
                 to $3,980, for example, would be heavily incentivized to sell when the price hits $3,985,
           24
                 accepting a loss of $1,500 but retaining the capital. If the frozen servers prevent this sale from
           25
                 transpiring, however, the customer will lose all of their capital when the price hits $3,980. Such a
           26
                 scenario profits BitMEX, which collects the capital.
           27
                        138.       The timing of these freezes is not random. The most important and profitable time
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 54 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 55 of 106



             1
                 for BitMEX to freeze is during a period of high volatility. BitMEX’s automatic liquidations
             2
                 exacerbate the volatility of the derivatives that BitMEX markets, particularly in periods of high
             3
                 volatility. Specifically, by automatically executing sell orders in response to a market decline,
             4
                 BitMEX pushes prices even lower. This response could result in catastrophically cascading sell
             5
                 orders during a period of a rapid decline—that is, a “flash crash.” BitMEX does not disclose those
             6
                 risks to retail investors and, instead, uses server freezes to protect its Insurance Fund and its
             7
                 derivatives market as a form of undisclosed “circuit breaker.”6
             8
                         139.      Moreover, high volatility and rapidly changing prices allow more customers to be
             9
                 liquidated. Indeed, an expert statistical analysis conducted of freeze periods reported on
           10
                 BitMEX’s website has revealed that these server freezes occur 80 percent more often during
           11
                 periods of high volatility in bitcoin prices. This result is statistically significant at a 95 percent
           12
                 confidence level. Moreover, the statistical analysis reveals that compared to periods without a
           13
                 server incident, the volatility is 130 percent higher when there is a server incident. This result is
           14
                 also statistically significant at 95 percent confidence level.
           15
                         140.      BitMEX server freezes most often occurred during the highest periods of volatility
           16
                 when BitMEX could effectively liquidate traders’ positions.
           17
                         141.      These server freezes are not justifiably caused by transaction volume, which would
           18
                 approximate server load. For example, on May 12, 2019, BitMEX announced a new record of
           19
                 over $10 billion in transaction volume, with no server incidents reported that day.
           20
                         142.      The interaction between BitMEX’s server problems and its liquidation policy was
           21
                 recently demonstrated on March 13, 2020, when the price of bitcoin fell from $7,200 to a 10-
           22
                 month low of $5,678 in just 15 minutes. This sort of event is precisely why BitMEX claims to
           23
                 maintain the Insurance Fund—a series of cascading liquidations in the face of such a rapid fall
           24
                 could prevent BitMEX from selling the liquidated positions above their bankruptcy price, causing
           25
                 losses that are designed to be covered by the Insurance Fund. Yet BitMEX’s servers shut down in
           26
                 the middle of the crash. BitMEX first blamed the server shut down on “a hardware issue with our
           27
                 cloud service provider,” before later claiming, without any support, that the server failure was the
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 55 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 56 of 106



             1
                 result of an attack by a “botnet.”
             2
                         143.      When the servers were restored, bitcoin’s price had stabilized, preventing the need
             3
                 for BitMEX to dip into its Insurance Fund. The traders who had hit their margins during the
             4
                 crash, however, were liquidated nonetheless. In short, a conveniently timed server outage turned a
             5
                 potentially catastrophic loss for BitMEX’s Insurance Fund into a profit-item.
             6
                         144.      BitMEX could remove the potential for these manipulative actions and prevent
             7
                 users from suffering from periods of denied access to a moving market by prohibiting its system
             8
                 from accepting any transactions during these freezes. Instead, BitMEX profits from the system it
             9
                 employs, either by having its for-profit trading desk manipulate the markets in such freezes, by
           10
                 selling the right to do so, or by profiting from liquidations that occur while customers are unable
           11
                 to escape increasingly unfavorable positions.
           12
                                              BITMEX TRADES AGAINST ITS CUSTOMERS
           13
                         145.      Plaintiff BMA incorporates the allegations set forth in Paragraphs 1-144 above as
           14
                 if fully set forth herein.
           15
                         146.      On April 28, 2018, an independent researcher requested comment from BitMEX
           16
                 regarding “information on record about insider accounts (possibly friends / acquittances of
           17
                 Bitmex staff) having special advantages over other Bitmex users.” BitMEX responded the same
           18
                 day, denying that it gave “preferential treatment” to any “customers.” This proved to be false, and
           19
                 that its prior statements had been materially misleading.
           20
                         147.      On April 30, 2018, BitMEX updated its terms of service and for the first time
           21
                 revealed that “BitMEX has a for-profit trading business that, among other things, transacts in
           22
                 products traded on the BitMEX platform.” BitMEX also revealed that its trading desk had the
           23
                 monopoly on making a market in its bitcoin options product. BitMEX hid the role of its trading
           24
                 desk by labeling the employee in charge of the desk as part of “Risk Management.” Prior to April
           25
                 30, 2018, BitMEX had never disclosed that it played a role on its exchange that extended beyond
           26
                 the management and administration of the exchange itself.
           27
                         148.      BitMEX had never indicated that it took direct positions on the assets it was
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 56 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 57 of 106



             1
                 trading. Traders, when traded on the BitMEX platform, had done so on the belief that the other
             2
                 participants were on similar footing to them. If traders knew that its counterparty could be
             3
                 BitMEX itself, equipped with proprietary knowledge, they would have recognized the possibility
             4
                 that they were participating in an unfair game.
             5
                        149.       As an inside entity trading against its own customers, the BitMEX trading desk
             6
                 enjoys a number of advantages. First, an internal BitMEX desk could have a higher trade priority
             7
                 than other traders, allowing its trades to be processed first when the total number of trades
             8
                 exceeds BitMEX’s server capacity. Second, an internal BitMEX trading desk could potentially
             9
                 view the leverage amounts for previously created positions and the price at which its liquidation
           10
                 will be triggered. This information would make it easy to profitably manipulate the market. If, for
           11
                 example, the trading desk sees that a number of short bitcoin futures are near their liquidation
           12
                 point, it could enter a large buy order. This order would cause the price of bitcoin on the BitMEX
           13
                 exchange to rise, triggering the liquidation of these futures. The liquidation would create a buy
           14
                 order for the liquidated contract, further increasing the price. Once this chain of liquidations had
           15
                 caused the price to rise far beyond the price at which the internal desk made its initial purchase, it
           16
                 could sell bitcoin at this higher price to fulfill the forced buy orders. Because these trades are
           17
                 automatic, an inside desk could execute this trade very quickly and with a high confidence of
           18
                 success.
           19
                        150.       Even without placing trades that cause cascading liquidations, however, the
           20
                 BitMEX desk helps create the liquidity that keeps the forced liquidations profitable, including
           21
                 those that occur during server freezes. As BitMEX has admitted, it profits from each liquidation
           22
                 as long as the bid-ask is smaller than the maintenance margin. By creating liquidity through
           23
                 market-making, and freed from the possibility of being liquidated itself, BitMEX’s desk helps
           24
                 maintain an environment that keeps the liquidations profitable.
           25
                        151.       The interaction between the Insurance Fund and the trading desk creates a
           26
                 pernicious result when the desk serves as the purchaser of a liquidated position. When a customer
           27
                 stakes $4,000 on a position only to have BitMEX liquidate it, sell it to its own desk at a price that
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 57 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 58 of 106



             1
                 recovers $3,500 of that $4,000, and then keep the $3,500, the customer has essentially been
             2
                 robbed. BitMEX has walked away with both the position and the initial capital, leaving the
             3
                 customer with nothing.
             4
                        152.       Nor is the trading desk the only inside entity trading on BitMEX. Defendant Hayes
             5
                 has admitted that he himself trades on the platform, against BitMEX’s customers. The customers
             6
                 on the other side of Hayes’s contracts have no way of knowing that they are trading against an
             7
                 insider with access to non-public information about their trades, including their liquidation limits.
             8
                 Hayes has even gloated about the possibility of such misconduct, stating that “[t]he digital token
             9
                 trading markets like traditional forex markets are not regulated, and will struggle to be. Therefore,
           10
                 if you can’t stomach insider trading, then don’t take on short-term positions.”
           11
                        153.       On information and belief, BitMEX has manipulated the price of the assets
           12
                 underlying the derivatives on the exchange in order to force liquidations of traders for the benefit
           13
                 of its Insurance Fund.
           14
                        154.       Through 2019, BitMEX looked to a relatively limited number of exchanges to
           15
                 price bitcoin and ether for its derivative products. This made the exchange susceptible to price
           16
                 manipulation. In part of mid-2019, for example, BitMEX determined the price of ether by
           17
                 referring to just three exchanges: BitStamp, Coinbase, and Kraken.
           18
                        155.       Any futures trader would have an incentive to manipulate the price of bitcoin or
           19
                 ether on those exchanges to cash in on their leverage trade. For example, a trader who was short
           20
                 bitcoin on BitMEX would be incentivized to go to BitStamp and suddenly drive down the price of
           21
                 bitcoin by selling it, making the future position more valuable. The trader’s profitability would
           22
                 depend on the liquidity available at BitStamp for bitcoin and the details of the future positions on
           23
                 BitMEX. Lower liquidity in bitcoin trading would make it easy for the trader to move the price on
           24
                 BitStamp quickly and cheaply. A large, highly leveraged position at BitMEX would justify a
           25
                 large selloff of bitcoin below prevailing market prices. Moreover, this could be an ongoing
           26
                 process: as the price of bitcoin falls and the future positions become profitable, the trader could
           27
                 cash out some existing futures positions for more bitcoin and then continue to sell that new
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 58 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 59 of 106



             1
                 bitcoin on Bitstamp while opening additional futures short positions.
             2
                        156.       Structurally, however, this kind of manipulation is more likely to succeed on short
             3
                 positions rather than long, because BitMEX settles all of its futures in bitcoin. If the trader
             4
                 attempts to manipulate the price of bitcoin up because of outstanding long positions, she would be
             5
                 unable to continue the process after the initial “pump” because her futures contracts are all paid
             6
                 out in bitcoin. She would have no way to buy additional bitcoin with those proceeds without
             7
                 selling the proceeds—thus defeating the purpose of the pump. Thus, to pull off a manipulation
             8
                 scheme when long on bitcoin, the trader would need a large reservoir of traditional currency with
             9
                 which to buy bitcoin, and could not use any proceeds from the manipulation itself to continue
           10
                 driving up the price of bitcoin. Nonetheless, throughout 2019, BitStamp was subject to numerous
           11
                 pumps and dumps of bitcoin and ether including on days when Kraken was down for maintenance
           12
                 and unavailable for pricing derivatives on BitMEX. For example, on April 2, 2019, there was a
           13
                 massive pump on BitStamp’s bitcoin price by nearly 20 percent. Then on May 17, 2019, bitcoin
           14
                 lost 20 percent of its value on Bitstamp for about thirty minutes before recovering. Later, on July
           15
                 14, 2019 when Kraken was down for maintenance—thus increasing the weight of Bitstamp on
           16
                 BitMEX’s futures’ products—the price of ether dropped dramatically due to the sell order on
           17
                 Bitstamp by a single user that accounted for over 15 percent of Bitstamp’s entire volume for the
           18
                 day, causing $164 million worth of liquidations on BitMEX.
           19
                        157.       Of the possible manipulators, BitMEX is the best-positioned to take advantage of
           20
                 the consequences of these schemes. First, BitMEX operates its own proprietary trading desk that
           21
                 can take long and short positions and engage in a pump and dump scheme, like the hypothetical
           22
                 trader described above. Second, beyond profiting from any positions it takes, BitMEX alone
           23
                 profits greatly from liquidations, even during severe price movements. Third, BitMEX alone
           24
                 knows the trading positions of its users and can precisely tailor its manipulation to generate mass
           25
                 liquidations with minimal effort and risk. Fourth, as a large institution, BitMEX would be one of
           26
                 the entities with sufficient resources to engage in pump schemes that require a lot of capital in
           27
                 traditional currency to buy the underlying commodity.
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 59 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 60 of 106



             1
                        158.       Unsurprisingly, for these reasons numerous commentators, including a tenured
             2
                 professor at NYU’s Stern Business School, point to BitMEX as the culprit behind these price
             3
                 movements.
             4
                        159.       On or about 11:00PM EDT on May 16, 2019, one or more perpetrators launched a
             5
                 trading software algorithm configured to sell about 3600 bitcoin, valued at the time at about $28
             6
                 million on a Luxembourg-based bitcoin spot exchange Bitstamp. The trading algorithm wiped
             7
                 the buy order book of Bitstamp from $7,838 all the way down to $6,178, sitting on the ask side of
             8
                 the aforesaid order book the entire time. The artificial price move that resulted from the
             9
                 execution of the aforesaid malicious trading software algorithm brought bitcoin price on Bitstamp
           10
                 from $7,838 all the way down to $6,178.
           11
                        160.       The hereinabove alleged artificial bitcoin price decline on Bitstamp, in turn, led to
           12
                 a liquidation of $250 million (about 10x times the size of the Bitstamp sell order) long positions
           13
                 on the BitMEX derivatives exchange, which further resulted in significant price declines on all
           14
                 other crypto exchanges throughout the world, including multiple exchanges in the United States,
           15
                 costing bitcoin traders and investors hundreds of millions of dollars.
           16
                        161.       The above-alleged manipulation was repeated, almost perfectly, on Sunday, July
           17
                 15, 2019, when a perpetrator or group of perpetrators collectively acted to crash the market by
           18
                 putting in a massive sell order of 15,000 ETH, valued a $4 million, on Bitstamp. This made up
           19
                 15% of its entire trading volume of Bitstamp on that Sunday – all in one trade. This giant sell
           20
                 order immediately plunged the price of ETH on Bitstamp from $270 to $190, which is otherwise
           21
                 known as a “flash crash”.
           22
                        162.       Like a disease, the alleged flash crash spread to ETH futures contracts traded on
           23
                 BitMEX, which bases the futures contracts’ price 33% on the Bitstmap’s price. As the result of
           24
                 the crash, $164 million of long futures contracts were liquidated on BitMEX in the blink of an
           25
                 eye and spread to bitcoin futures traded on BitMEX, again causing significant price declines on
           26
                 all other crypto exchanges throughout the world, including multiple exchanges in the United
           27
                 States, costing bitcoin traders and investors hundreds of millions of dollars.
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 60 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 61 of 106



             1
                        163.       Plaintiff BMA is informed and believes and thereon alleges that the alleged
             2
                 devastating manipulations were deliberately enabled by BitMEX. Specifically, the aforesaid
             3
                 artificial price action were made possible by the fact that BitMEX deliberately designed its
             4
                 indexes based on price data for cryptocurrencies from just three exchanges – Bitstamp, Kraken
             5
                 and Coinbase Pro, all three of which have way lower liquidity than BitMEX. This design was
             6
                 specifically intended to amplify any large price moves to increase the amount of liquidated
             7
                 traders on BitMEX.
             8
                        164.       Plaintiff BMA is informed and believes and thereon alleges that the reason why
             9
                 BitMEX, the most liquid exchange, calculates its contracts index price based on other exchanges
           10
                 with way less liquidity is because BitMEX is the major financial benefactor of the catastrophic
           11
                 market manipulation events, such as May 16, 2019 and July 15, 2019 events alleged hereinabove.
           12
                        165.       Plaintiff BMA is informed and believes and thereon alleges that, at times, trader
           13
                 liquidations account for up to half of BitMEX entire revenue. When Defendants liquidate a
           14
                 trader, they take the remainder of funds left after paying the trade counterparty and deposit it into
           15
                 the Insurance Fund. The Insurance Fund has been steadily growing throughout the years.
           16
                        166.       Plaintiff BMA is informed and believes and thereon alleges that this trading desk
           17
                 is headed by Andrianov and it is the second major financial benefactor of the catastrophic market
           18
                 manipulation events, such as May 16, 2019 and July 15, 2019 events alleged hereinabove, which
           19
                 were in fact perpetrated by Andrianov in order to financially benefit Defendants.
           20
                        167.       BitMEX enables the perpetrators of the alleged market manipulations to avoid
           21
                 detection by authorities by providing the perpetrators with the ability to open an unlimited
           22
                 number of anonymous document check-free trading accounts on BitMEX without any trading and
           23
                 withdrawal limits.
           24
                        168.       Plaintiff BMA is informed and believes and thereon alleges that BitMEX further
           25
                 facilitates the market manipulation by using fraudulent “system overloads” excuse to accept some
           26
                 trading orders and reject others during large market moves in order to exacerbate the artificial
           27
                 prices and increase the number of liquidations with the purpose to financially benefit therefrom.
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 61 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 62 of 106



             1
                         169.      Plaintiff BMA is informed and believes and thereon alleges that the various
             2
                 specific acts perpetrated by Defendants to manipulate the prices of cryptocurrencies or to aid and
             3
                 abet such manipulation by other perpetrators, with the purpose to financially benefit from it,
             4
                 violate a number of United States federal criminal statutes, including, without limitation, 18
             5
                 U.S.C. § 1343 (wire fraud); 18 U.S.C. § 1956(a) (money laundering); 18 U.S.C. § 1957(a)
             6
                 (engaging in monetary transactions in property derived from specified unlawful activity); 18
             7
                 U.S.C. § 1960(a) (conducting, controlling, managing, supervising, directing, or owning all or part
             8
                 of an unlicensed money transmitting business) and 18 U.S.C. § 2314 (interstate transportation of
             9
                 stolen property). These specific criminal acts alleged hereinbelow constitute predicate acts for
           10
                 purposes of RICO and were perpetrated by Defendants in course of conducting or conspiring to
           11
                 conduct affairs of an enterprise through a pattern of racketeering activity in violation of 18 U.S.C.
           12
                 §§ 1962(d) and (c).
           13
                         170.      As a direct result of Defendants’ manipulation of the market for their derivative
           14
                 products, including through the use of the server freezes and a (formerly concealed) internal
           15
                 trading desk to create profitable liquidations, Plaintiff have suffered significant damages in an
           16
                 amount to be proven at trial.
           17
                         171.      While the precise measurement of the harm caused to Plaintiff by Defendants’
           18
                 actions is not calculable at this stage, an approximation can be found in the value of the Insurance
           19
                 Fund, which is filled with the profits of Defendants’ liquidations. As of April 8, 2020, the
           20
                 Insurance Fund contained 35,292 bitcoins valued at $257,631,600.
           21
           22                                          THE RAKETEERING ENTERPRISE
                         172.      Plaintiff BMA incorporates the allegations set forth in Paragraphs 1-169 above as
           23
                 if fully set forth herein.
           24
                         173.      Each of the Defendants HDR, ABS, Hayes, Delo and Reed are respective persons
           25
                 or entities capable of holding a legal or beneficial interest in property.
           26
                         174.      Defendants HDR, ABS, Hayes, Delo and Reed are a union or group of entities and
           27
                 individuals associated in fact collectively constituting a continuing “enterprise” (“Enterprise”)
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 62 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 63 of 106



             1
                 within the meaning of RICO as defined in 18 U.S.C. § 1961.
             2
                         175.      The activity of the Enterprise and the predicate acts of racketeering alleged
             3
                 hereinbelow affect interstate or foreign commerce.
             4
                         176.      At various times during the Relevant Period each of the Defendants HDR, ABS,
             5
                 Hayes, Delo and Reed was employed in or associated with the Enterprise as alleged hereinabove.
             6
                         177.      Plaintiff BMA is informed and believes and thereon alleges that individual
             7
                 Defendants Hayes, Delo and Reed are the masterminds behind the alleged Enterprise and the
             8
                 predicate criminal acts alleged hereinbelow.
             9
           10            THE RAKETEERING CONSPIRACY AND RACKETEERING ACTIVITY
                         178.      Plaintiff BMA incorporates the allegations set forth in Paragraphs 1-177 above as
           11
                 if fully set forth herein.
           12
                         179.      Pursuant to 18 U.S.C. § 1961, “racketeering activity” for purposes of RICO means
           13
                 “any act which is indictable under any of the following provisions of title 18, United States
           14
                 Code: … section 1343 (relating to wire fraud) … section 1956 (relating to the laundering of
           15
                 monetary instruments), section 1957 (relating to engaging in monetary transactions in property
           16
                 derived from specified unlawful activity), … section 1960 (relating to illegal money
           17
                 transmitters), … sections 2314 and 2315 (relating to interstate transportation of stolen property).”
           18
                         180.      During the Relevant Period, the Defendants, and each of them, solely or together
           19
                 with other individuals, being persons employed by and associated with Enterprise they engaged in,
           20
                 and the activities of which affected interstate and foreign commerce, knowingly and intentionally,
           21
                 conspired to conduct and participate, directly and indirectly, and actually participated in conduct
           22
                 of the Enterprise’s affairs through a pattern of racketeering activity, as that terms is defined in 18
           23
                 U.S.C. § 1961, consisting of multiple acts, which are indictable under 18 U.S.C. § 1343, 18 U.S.C.
           24
                 § 1956, 18 U.S.C. § 1957, 18 U.S.C. § 1960 and 18 U.S.C. § 2314.
           25
                         181.      It was a part of the conspiracy that each Defendant agreed that a conspirator would
           26
                 commit at least two acts of racketeering activity in the conduct of the affairs of the Enterprise.
           27
                         182.      The purposes of the alleged racketeering conspiracy of the Defendants, and each of
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 63 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 64 of 106



             1
                 them, included the following, among others: (1) maximizing profits and minimizing trading for
             2
                 the Defendants, and each of them, and their co-conspirators, through unlawful trading practices;
             3
                 (2) concealing trading gains obtained through unlawful practices from tax authorities; (3)
             4
                 generating illicit income from unlicensed money transmissions; (4) promoting and enhancing the
             5
                 racketeering conspiracy and the activities of the Defendants, and each of them, and their co-
             6
                 conspirators: and (5) concealing the unlawful activities of the Defendants, and each of them, and
             7
                 their co-conspirators from scrutiny by cryptocurrency exchanges and law enforcement.
             8
             9             OVERT ACTS IN FURTHERANCE OF RAKETEERING CONSPIRACY
                         183.      Plaintiff BMA incorporates the allegations set forth in Paragraphs 1-182 above as
           10
                 if fully set forth herein.
           11
                         184.      In furtherance of the racketeering conspiracy, and to achieve its purposes, the
           12
                 Defendants committed and caused to be committed the following acts, among others, alleged in
           13
                 this Complaint, in this District and elsewhere: 1) providing traders with extremely high trading
           14
                 leverage (up to 100x); 2) deliberately using .BXBT index price for highly liquid derivatives
           15
                 calculated based on prices of two or three illiquid spot exchanges; 3) enabling manipulators and
           16
                 money launderers to avoid detection by providing them with the ability to open unlimited number
           17
                 of anonymous document check-free trading accounts without any trading and withdrawal limits;
           18
                 4) weaponizing deliberate server freezes, using fraudulent “system overload” events to accept
           19
                 some trading orders and reject others during large market moves to exacerbate price fluctuations
           20
                 and cause the most liquidations; and 5) regularly manipulating price of cryptocurrencies
           21
                 including, without limitation, bitcoin, by executing large market orders on illiquid spot exchanges
           22
                 in order to cause massive liquidations in traders’ derivatives positions on BitMEX.
           23
                         185.      In addition, in furtherance of the racketeering conspiracy, and to achieve its
           24
                 purposes, the Defendants committed and caused to be committed, in this District and elsewhere,
           25
                 the acts, among others, as alleged in Paragraphs 236-249 of this Complaint.
           26
                         186.      Plaintiff BMA was injured in its property by one or more of the foregoing and
           27
                 other overt acts in furtherance of the alleged racketeering conspiracy.
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 64 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 65 of 106



             1       DEFENDANTS OPERATED AND CONTINUE TO OPERATE AN UNLICENSED
                       MONEY TRANSMITTING BUSINESS IN VIOLATION OF 18 U.S.C. § 1960
             2
                         187.      Plaintiff BMA incorporates the allegations set forth in Paragraphs 1-186 above as
             3
                 if fully set forth herein.
             4
                         188.      Bitcoins and other cryptocurrencies are funds. United States v. Murgio, No. 15-cr-
             5
                 769, 2016 WL 5107128, at *4 (S.D.N.Y. Sep. 19, 2016); United States v. Budovsky, No. 15-cr-
             6
                 368, 2015 WL 5602853 (S.D.N.Y. Sep. 23, 2015); United States v. Faiella, 39 F. Supp. 3d 544
             7
                 (S.D.N.Y. 2014). Therefore, bitcoins are subject to all laws and regulations applicable to
             8
                 traditional currency (“fiat currency” or “fiat”) monetary transactions.
             9
                         189.      Plaintiff BMA is informed and believes and thereon alleges that during the
           10
                 Relevant Period, Defendants, and each of them, engaged in conducting, controlling, managing,
           11
                 supervising, directing, or owning all or part of an unlicensed money transmitting business in
           12
                 violation of 18 U.S.C. § 1960(a).
           13
                         190.      To use Defendant HDR’s unlicensed money transmitting services, one creates an
           14
                 account by accessing the Defendant HDR’s website BitMEX.com. A user does not need to
           15
                 provide even the most basic identifying information such as date of birth, address, or other
           16
           17
           18
           19
           20

           21
           22
           23
           24
           25
           26    identifiers. All that Defendant HDR requires is a name, password, and an email address.
           27            191.      Unlike legitimate payment processors or digital currency exchangers, Defendant
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 65 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 66 of 106



             1
                 HDR does not require its users to validate their identity information by providing official
             2
                 identification documents, given that Defendant HDR does not require an identity at all to open an
             3
                 account and start trading with up to 100x leverage. For comparison, a legitimate U.S.
             4
                 cryptocurrency exchange Kraken requires email address, full name, date of birth, phone number,
             5
                 and physical address to open the most basic level account.
             6
                           192.       Thus, a user can create and fund an HDR account with nothing more than an email
             7
                 address, which often has no relationship to the identity of the actual user. Accounts are therefore
             8
                 easily opened anonymously, including by customers in the United States within the Northern
             9
                 District of California. Using such anonymous account, the user is able to make unlimited
           10
                 deposits, unlimited trades with up to 100x leverage, as well as unlimited withdrawals. Instead of
           11
                 performing a proper document check before allowing users to open an account on BitMEX,
           12
                 Defendants deliberately and knowingly use utterly ineffective IP address check, which they all
           13
                 well know is uniformly subverted by very simple, inexpensive and widely available software
           14
                 tools.
           15
                           193.       Moreover, high leverage provided by Defendant HDR to all users enables users to
           16
                 launder unlimited funds from one account to another using market manipulation as alleged
           17
                 hereinabove. For example, one helper account may dump a large amount of cryptocurrency on
           18
                 the market using margin, triggering a liquidation cascade and booking a loss, when a separate,
           19
                 second winner account may buy the cryptocurrency at an artificial below market price caused by
           20
                 the liquation cascade. This way, unlimited amount of funds may be laundered from the first
           21
                 account to the second account virtually anonymously. Defendant HDR enables uses to launder
           22
                 funds in the alleged manner by providing high levels of leverage up to 100x.
           23
                           194.       At all times relevant to this complaint Defendant HDR had no anti-money
           24
                 laundering (“AML”) and/or "Know-Your-Customer” (“KYC”) processes and policies in place or
           25
                 the existing policies lacked any meaningful enforcement, as evidenced, for example, by apparent
           26
                 accepting the United States - based companies, including CMT Capital Markets Trading,
           27
                 Eastmore Group / Eastmore Management, LLC, Clerkenwell Asset Management LLC, Adaptive
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS               COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 66 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 67 of 106



             1
                 Fund I, LP and Galois Capital as clients, despite claiming that BitMEX is closed to United States
             2
                 persons. As alleged hereinabove, Defendant HDR collected and continues to collect virtually no
             3
                 customer data at all. Nor did Defendant HDR ever register with FinCEN or perform the required
             4
                 AML and KYC functions.
             5
                        195.       A user can fund a Defendant HDR account in numerous different ways. One way
             6
                 involves funding a Defendant HDR account with a user's existing digital currency. A user with
             7
                 existing digital currency, such as bitcoin, could fund an HDR account directly via bitcoin
             8
                 deposits. Defendant HDR users could also use market manipulation to launder funds from one
             9
                 account to another. Plaintiff BMA is informed and believes and thereon alleges that this served
           10
                 as another conduit for money laundering as it allowed Defendant HDR’s customers to withdraw
           11
                 funds from their HDR account and transfer them to other HDR users anonymously.
           12
                        196.       18 U.S.C. § 1960(a) provides: “(a) Whoever knowingly conducts, controls,
           13
                 manages, supervises, directs, or owns all or part of an unlicensed money transmitting business,
           14
                 shall be fined in accordance with this title or imprisoned not more than 5 years, or both.”
           15
                        197.        Pursuant to 18 U.S.C. § 1960(b)(1), “the term “unlicensed money transmitting
           16
                 business” means a money transmitting business which affects interstate or foreign commerce in
           17
                 any manner or degree” and (A) is operated without an appropriate money transmitting license in a
           18
                 State where such operation is punishable as a misdemeanor or a felony under State law, whether
           19
                 or not the defendant knew that the operation was required to be licensed or that the operation was
           20
                 so punishable; (B) fails to comply with the money transmitting business registration requirements
           21
                 under section 5330 of title 31, United States Code, or regulations prescribed under such section;
           22
                 or (C) otherwise involves the transportation or transmission of funds that are known to the
           23
                 defendant to have been derived from a criminal offense or are intended to be used to promote or
           24
                 support unlawful activity.
           25
                        198.       18 U.S.C. § 1960 makes it a crime to operate an unlicensed money transmitting
           26
                 business. The term money transmitting includes "transferring funds on behalf of the public by any
           27
                 and all means including but not limited to transfers within this country or to locations abroad by
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 67 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 68 of 106



             1
                 wire, check, draft, facsimile, or courier." This statute makes it a violation to conduct a "money
             2
                 transmitting business" if the business is not registered as a money transmitting business with the
             3
                 U.S. Secretary of the Treasury as required by a separate statute, 31 U.S.C. § 5330 and federal
             4
                 regulations pursuant to that statute. Moreover, FinCEN Ruling, FIN-2014-R002, at p. 4 provides:
             5
                         199.       In addition, should the Company begin to engage as a business in the exchange of
             6
                 virtual currency against currency of legal tender (or even against other convertible virtual
             7
                 currency), the Company would become a money transmitter under FinCEN's regulations. Under
             8
                 such circumstances, the Company would have to register with FinCEN, implement an effective,
             9
                 risk-based anti-money laundering program, and comply with the recordkeeping, reporting, and
           10
                 transaction monitoring requirements applicable to money transmitters.
           11
                         200.       FinCEN Ruling, FIN-2014-R002, at p. 4. United States Federal District Court
           12
                 decision in U.S. v. Stetkiw, No. 18-20579 (E.D. Mich. Feb. 1, 2019) relied on this Ruling as a
           13
                 basis for denying defendant’s motion to dismiss and holding that defendant’s alleged conduct of
           14
                 converting fiat money into virtual currency constituted money transmitting under 18 U.S.C.
           15
                 § 1960. Thus, Defendant HDR is money transmitter under FinCEN's regulations and California
           16
                 law.
           17
                         201.       The regulations specifically apply to foreign-based money transmitting businesses
           18
                 doing substantial business in the United States. “Several sources close to the company” have
           19
                 disclosed to media sources that nearly 15 percent of the BitMEX’s 2019 trading volume—or
           20
                 about $138 billion worth—is attributable to traders located in the United States. In addition, San
           21
                 Francisco based Galois Capital also acts as liquidity provider on BitMEX generating millions of
           22
                 dollars of business for Defendants. Therefore, Defendant HDR is subject to the aforesaid federal
           23
                 and state money transmitter regulations due to its very substantial business in the United States.
           24
                 See 31 C.F.R. §§ 1010.100(ff)(5), 1022380(a)(2).
           25
                         202.       Defendant HDR falls under the statutory definition of the “unlicensed money
           26
                 transmitting business” under all of 18 U.S.C. § 1960(b)(1)(A), (B) and (C). Defendants’
           27
                 unlicensed money transmitting operation clearly affects interstate and foreign commerce, based at
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS             COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 68 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 69 of 106



             1
                 least on the high amounts (tens and even hundreds of millions of United States dollars) of funds
             2
                 involved in the money transmissions by Defendants.
             3
                        203.       With respect to 18 U.S.C. § 1960(b)(1)(A), Defendant HDR’s operates without an
             4
                 appropriate money transmitting license issued by the State of California and by any other State of
             5
                 the United States. Cal. Fin. Code § 2003(q)(3) defines “money transmission” as “receiving
             6
                 money for transmission.” Defendant HDR clearly meets this definition. Defendant HDR
             7
                 receives funds in a form of a cryptocurrency from its customers and then transmit cryptocurrency
             8
                 to a wallet address. Cal. Fin. Code § 2030(a) requires persons engaged in money transmission to
             9
                 be licensed. Finally, Cal. Fin. Code § 2152(b) provides that a “person that knowingly engages in
           10
                 an activity for which a license is required under this division without being licensed or exempt
           11
                 from licensure under this division is guilty of a felony.” Thus, Defendant HDR meets the
           12
                 definition set out in 18 U.S.C. § 1960(b)(1)(A).
           13
                        204.       With respect to 18 U.S.C. § 1960(b)(1)(B), Defendant HDR failed to register with
           14
                 the U.S. Secretary of the Treasury as required by a separate statute, 31 U.S.C. § 5330 and federal
           15
                 regulations pursuant to that statute.
           16
                        205.       With respect to 18 U.S.C. § 1960(b)(1)(C), Defendant HDR facilitated and
           17
                 continues to facilitate the transfer of funds involved in cryptocurrency market manipulation and
           18
                 money laundering. By way of example and not by way of limitation, Defendants, and each of
           19
                 them, during the Relevant Period, transferred proceeds from illegal price manipulation from
           20
                 BitMEX to other cryptocurrency exchanges, including, without limitation, Coinbase, Kraken and
           21
                 Bitstamp. Such transfers were performed by Defendants, and each of them on a daily basis
           22
                 during the Relevant Period. Those proceeds were used by Defendants, and each of them, as well
           23
                 as third party perpetrators to perpetrate further market manipulations as alleged hereinabove. In
           24
                 addition, Defendants transmitted funds between different exchange accounts by way of market
           25
                 manipulation as alleged hereinabove.
           26
                        206.       Thus, Defendant HDR is clearly “unlicensed money transmitting business[es]”
           27
                 under 18 U.S.C. § 1960(b)(1) and, therefore, Defendants, and each of them, while being
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 69 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 70 of 106



             1
                 employed in or associated with the continuing Enterprise as alleged above, knowingly conducted,
             2
                 controlled, managed, supervised, directed, and owned all and part of an unlicensed money
             3
                 transmitting business affecting interstate and foreign commerce in violation of 18 U.S.C.
             4
                 § 1960(a), which constitute the predicate acts of the Defendants’, and each of them, racketeering
             5
                 activity under RICO.
             6
                         207.      It should be noted that the sheer magnitude of Defendants’ unlicensed money
             7
                 transmitter operation is truly staggering. According to Defendants’ own data, Defendant HDR
             8
                 turnover averages over $2 billion per day. Thus, Defendants illegally transmitted over $2 billion
             9
                 per day without the required state money transmitter license and the required registration with
           10
                 FinCEN in violation of 18 U.S.C. § 1960(a).
           11
                         208.      Plaintiff BMA is informed and believes and thereon alleges that Defendants, and
           12
                 each of them, charged their customers substantial fees for the unlicensed money transmissions
           13
                 generating substantial illegal income for Defendants.
           14
                         209.      Plaintiff BMA is informed and believes and thereon alleges that predicate acts
           15
                 alleged herein, namely operation of an unlicensed money transmitting business in violation of 18
           16
                 U.S.C. § 1960, are related by having the same or similar purposes of manipulating cryptocurrency
           17
                 markets, generating illicit income and concealing illegal activities from authorities, results,
           18
                 Defendants – participants, victims, methods of commission or are otherwise interrelated by
           19
                 distinguishing characteristics.
           20
                         210.      Plaintiff BMA is informed and believes and thereon alleges that predicate acts
           21
                 alleged herein, namely operation of an unlicensed money transmitting business in violation of 18
           22
                 U.S.C. § 1960, are continuous as they constitute an open-ended scheme, which poses a threat of
           23
                 continuity through the long duration of the alleged misconduct, namely over two years, and the
           24
                 threat of continuing criminal conduct, as the alleged criminal conduct perpetrated by Defendants
           25
                 is still ongoing.
           26
                         211.      Plaintiff BMA is informed and believes and thereon alleges that Defendants, and
           27
                 each of them, used at least a portion of the income derived from their unlicensed money
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 70 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 71 of 106



             1
                 transmission operations in violation of 18 U.S.C. § 1960 to manipulate spot and derivative
             2
                 markets of cryptocurrencies, as alleged herein, which directly and proximately resulted in the
             3
                 substantial monetary cryptocurrency trading losses to Plaintiff BMA as alleged hereinbelow.
             4
                         212.      Plaintiff BMA is informed and believes and thereon alleges that Defendants’, and
             5
                 each of them, alleged price manipulation schemes, including, without limitation, pumps and
             6
                 dumps, Barts, stop loss hunts and liquidation cascades perpetrated by Defendants, and each of
             7
                 them, to transmit money in violation of 18 U.S.C. § 1960 directly and proximately resulted in
             8
                 substantial monetary cryptocurrency trading losses to Plaintiff BMA as alleged hereinbelow.
             9
                       DEFENDANTS CONSPIRED TO LAUNDER, LAUNDERED AND CONTINUE
           10                TO LAUNDER FUNDS IN VIOLATION OF 18 U.S.C. § 1956
           11            213.      Plaintiff BMA incorporates the allegations set forth in Paragraphs 1-212 above as
           12    if fully set forth herein.
           13            214.      18 U.S.C. § 1956 provides that “whoever, knowing that the property involved in a
           14    financial transaction represents the proceeds of some form of unlawful activity, conducts or
           15    attempts to conduct such a financial transaction which in fact involves the proceeds of specified
           16    unlawful activity (A)(i) with the intent to promote the carrying on of specified unlawful activity;
           17    or (ii) with intent to engage in conduct constituting a violation of section 7201 or 7206 of the
           18    Internal Revenue Code of 1986; or (B) knowing that the transaction is designed in whole or in
           19    part (i) to conceal or disguise the nature, the location, the source, the ownership, or the control of
           20    the proceeds of specified unlawful activity; or (ii) to avoid a transaction reporting requirement
           21    under State or Federal law, shall be sentenced to a fine of not more than $500,000 or twice the
           22    value of the property involved in the transaction, whichever is greater, or imprisonment for not
           23    more than twenty years, or both.”
           24            215.      Plaintiff BMA is informed and believes and thereon alleges that, during the
           25    Relevant Period, Defendants, and each of them, willfully and knowingly did combine, conspire,
           26    confederate, and agree together and with each other to knowingly conduct and attempt to conduct
           27    financial transactions affecting interstate commerce and foreign commerce, which transactions
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 71 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 72 of 106



             1
                 involved the proceeds of specified unlawful activity, that in, operation of an unlicensed money
             2
                 transmitting business in violation of 18 U.S.C. § 1960(a), as alleged hereinabove, as well as
             3
                 proceeds of unlawful cryptocurrency market manipulation, as alleged hereinbelow.
             4
                        216.       Defendants, and each of them, willfully and knowingly did conduct and continue
             5
                 to conduct financial transactions affecting interstate commerce and foreign commerce, which
             6
                 transactions involved the proceeds of specified unlawful activity, that in, operation of an
             7
                 unlicensed money transmitting business in violation of 18 U.S.C. § 1960(a) as well as proceeds of
             8
                 unlawful cryptocurrency market manipulation.
             9
                        217.       For example, Defendants, and each of them, transferred, on multiple occasions,
           10
                 proceeds from operating of the unlicensed Defendant HDR money transmission business as well
           11
                 as proceeds from illegal bitcoin futures contracts price manipulation from BitMEX to other
           12
                 cryptocurrency exchanges, including, without limitation, Coinbase, Bitstamp and Kraken, with
           13
                 intent to employ those transferred proceeds in further unlawful activity. Those proceeds were in
           14
                 fact subsequently used by Defendants, and each of them, as well as third party perpetrators to
           15
                 perpetrate further market manipulation in violation of applicable laws. Moreover, Defendants,
           16
                 and each of them, used the hereinabove alleged price manipulation schemes, including, without
           17
                 limitation, pumps and dumps, Barts, stop loss hunts and liquidation cascades to launder funds
           18
                 between different exchange accounts controlled by Defendants or third persons.
           19
                        218.       Therefore, Defendants, and each of them, while being employed in or associated
           20
                 with the continuing Enterprise as alleged above, committed multiple acts that violated 18 U.S.C.
           21
                 § 1956, which further constitute the predicate acts of the Defendants’, and each of them,
           22
                 racketeering activity.
           23
                        219.       Plaintiff BMA is informed and believes and thereon alleges that predicate acts
           24
                 alleged herein, namely money laundering in violation of 18 U.S.C. § 1956, are related by having
           25
                 the same or similar purposes of manipulating cryptocurrency markets, generating illicit income,
           26
                 and concealing illegal activities from authorities, results, Defendants – participants, victims,
           27
                 methods of commission or are otherwise interrelated by distinguishing characteristics.
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 72 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 73 of 106



             1
                         220.      Plaintiff BMA is informed and believes and thereon alleges that predicate acts
             2
                 alleged herein, namely money laundering in violation of 18 U.S.C. § 1956, are continuous as they
             3
                 constitute an open-ended scheme, which poses a threat of continuity through the long duration of
             4
                 the alleged misconduct, namely two years, and the threat of continuing criminal conduct, as the
             5
                 alleged criminal conduct perpetrated by Defendants is still ongoing.
             6
                         221.      Plaintiff BMA is informed and believes and thereon alleges that Defendants’, and
             7
                 each of them, alleged price manipulation schemes, including, without limitation, pumps and
             8
                 dumps, Barts, stop loss hunts and liquidation cascades perpetrated by Defendants, and each of
             9
                 them, to launder funds between different exchange accounts controlled by Defendants or third
           10
                 persons in violation of 18 U.S.C. § 1956, directly and proximately resulted in substantial
           11
                 monetary cryptocurrency trading losses to Plaintiff BMA as alleged hereinbelow.
           12
                         222.      Plaintiff BMA is informed and believes and thereon alleges that Defendants, and
           13
                 each of them, used at least a portion of the proceeds derived from their money laundering
           14
                 operation in violation of 18 U.S.C. § 1956 to manipulate spot and derivative markets of
           15
                 cryptocurrencies, as alleged herein, which directly and proximately resulted in the substantial
           16
                 monetary cryptocurrency trading losses to Plaintiff BMA as alleged hereinbelow.
           17
                                DEFENDANTS ENGAGED IN MONETARY TRANSACTIONS IN
           18                      PROPERTY DERIVED FROM SPECIFIED UNLAWFUL
           19                         ACTIVITY IN VIOLATION OF 18 U.S.C. § 1957
                         223.      Plaintiff BMA incorporates the allegations set forth in Paragraphs 1-222 above as
           20
                 if fully set forth herein.
           21
                         224.      18 U.S.C. § 1957 provides that “(a) Whoever, in any of the circumstances set forth
           22
                 in subsection (d), knowingly engages or attempts to engage in a monetary transaction in
           23
                 criminally derived property of a value greater than $10,000 and is derived from specified
           24
                 unlawful activity, shall be punished as provided in subsection (b).”
           25
                         225.      Pursuant to 18 USC § 1957(f)(3), the terms “specified unlawful activity” and
           26
                 “proceeds” shall have the meaning given those terms in 18 U.S.C. § 1956.
           27
                         226.      Plaintiff BMA is informed and believes and thereon alleges that, during the
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 73 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 74 of 106



             1
                 Relevant Period, Defendants, and each of them, willfully and knowingly attempted to engage and
             2
                 engaged in monetary transactions affecting interstate commerce and foreign commerce, which
             3
                 transactions involved the proceeds of specified unlawful activity, that in, operation of an
             4
                 unlicensed money transmitting business in violation of 18 U.S.C. § 1960(a), money laundering in
             5
                 violation of 18 U.S.C. § 1956, wire fraud in violation of 18 U.S.C. § 1343, as well as proceeds of
             6
                 unlawful cryptocurrency market manipulation, as alleged hereinbelow.
             7
                        227.       Defendants, and each of them, willfully and knowingly did conduct and continue
             8
                 to conduct financial transactions affecting interstate commerce and foreign commerce, which
             9
                 transactions involved the proceeds of specified unlawful activity, that in, operation of an
           10
                 unlicensed money transmitting business in violation of 18 U.S.C. § 1960(a), money laundering in
           11
                 violation of 18 U.S.C. § 1956, wire fraud in violation of 18 U.S.C. § 1343, as well as proceeds of
           12
                 unlawful cryptocurrency market manipulation, as alleged hereinbelow.
           13
                        228.       For example, Defendants, and each of them, transferred, on a regular basis,
           14
                 proceeds from operating of the unlicensed Defendant HDR money transmission business as well
           15
                 as illegal bitcoin futures contracts price manipulation from BitMEX cryptocurrency exchange to
           16
                 other cryptocurrency exchanges, including, without limitation, Coinbase, Bitstamp and Kraken,
           17
                 with intent to employ those transferred proceeds in further unlawful activity. Those proceeds
           18
                 were in fact subsequently used by Defendants, and each of them, as well as third party
           19
                 perpetrators, to perpetrate further market manipulation in violation of applicable laws. Moreover,
           20
                 Defendants, and each of them, used the hereinabove alleged price manipulation schemes,
           21
                 including, without limitation, pumps and dumps, Barts, stop loss hunts and liquidation cascades
           22
                 to launder funds between different exchange accounts controlled by Defendants or third persons.
           23
                        229.        Therefore, Defendants, and each of them, while being employed in or associated
           24
                 with the continuing Enterprise as alleged above, committed multiple acts that violated 18 U.S.C.
           25
                 § 1957, which further constitute the predicate acts of the Defendants’, and each of them,
           26
                 racketeering activity.
           27
                        230.       Plaintiff BMA is informed and believes and thereon alleges that predicate acts
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 74 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 75 of 106



             1
                 alleged herein, namely engaging in monetary transactions in property derived from specified
             2
                 unlawful activity in violation of 18 U.S.C. § 1957, are related by having the same or similar
             3
                 purposes of manipulating cryptocurrency markets, generating illicit income, and concealing
             4
                 illegal activities from authorities, results, Defendants – participants, victims, methods of
             5
                 commission or are otherwise interrelated by distinguishing characteristics.
             6
                         231.      Plaintiff BMA is informed and believes and thereon alleges that predicate acts
             7
                 alleged herein, namely engaging in monetary transactions in property derived from specified
             8
                 unlawful activity in violation of 18 U.S.C. § 1957, are continuous as they constitute an open-
             9
                 ended scheme, which poses a threat of continuity through the long duration of the alleged
           10
                 misconduct, namely two years, and the threat of continuing criminal conduct, as the alleged
           11
                 criminal conduct perpetrated by Defendants, and each of them, is still ongoing.
           12
                         232.      Plaintiff BMA is informed and believes and thereon alleges that Defendants’, and
           13
                 each of them, alleged price manipulation schemes, including, without limitation, pumps and
           14
                 dumps, Barts, stop loss hunts and liquidation cascades perpetrated by Defendants, and each of
           15
                 them, to transfer funds derived from specified unlawful activity between different exchange
           16
                 accounts controlled by Defendants or third persons in violation of 18 U.S.C. § 1957, directly and
           17
                 proximately resulted in substantial monetary cryptocurrency trading losses to Plaintiff BMA as
           18
                 alleged hereinbelow.
           19
                         233.      Plaintiff BMA is informed and believes and thereon alleges that Defendants, and
           20
                 each of them, used at least a portion of the proceeds from their transactions in property derived
           21
                 from specified unlawful activity in violation of 18 U.S.C. § 1957 to manipulate spot and
           22
                 derivative markets of cryptocurrencies, as alleged herein, which directly and proximately resulted
           23
                 in the substantial monetary cryptocurrency trading losses to Plaintiff BMA as alleged
           24
                 hereinbelow.
           25
                                                DEFENDANTS ENGAGED IN WIRE FRAUD
           26                                      IN VIOLATION OF 18 U.S.C. § 1343
           27            234.      Plaintiff BMA incorporates the allegations set forth in Paragraphs 1-233 above as

           28    if fully set forth herein.
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 75 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 76 of 106



             1
                        235.       18 U.S.C. § 1343 provides that “[w]hoever, having devised or intending to devise
             2
                 any scheme or artifice to defraud, or for obtaining money or property by means of false or
             3
                 fraudulent pretenses, representations, or promises, transmits or causes to be transmitted by means
             4
                 of wire, radio, or television communication in interstate or foreign commerce, any writings, signs,
             5
                 signals, pictures, or sounds for the purpose of executing such scheme or artifice, shall be fined
             6
                 under this title or imprisoned not more than 20 years, or both...”
             7
                        236.       Plaintiff BMA is informed and believes and thereon alleges that during the
             8
                 Relevant Period, Defendants, and each of them, devised a scheme or artifice to defraud, namely a
             9
                 manipulative, fraudulent and deceptive scheme to manipulate the prices of certain cryptocurrency
           10
                 derivatives, including, without limitation, bitcoin future contracts, bitcoin swaps, as well as the
           11
                 cash prices of cryptocurrencies, including, without limitation, cash bitcoin and to obtain money of
           12
                 other traders by way of injecting false information into markets in order to induce other traders to
           13
                 open highly leveraged positions on BitMEX and then cause their artificial liquidation in violation
           14
                 of 7 U.S.C. §§ 9(1), (3) and 13(a)(2). This scheme was devised and intended to fraudulently
           15
                 benefit Defendants at the expense of retail traders by inducing artificial market price moves and
           16
                 using such price moves to force liquidations of traders’ positions on the BitMEX platform, while
           17
                 simultaneously deliberately freezing BitMEX’s platform to impede retail traders’ efforts to
           18
                 salvage their funds. The funds forcibly confiscated from traders as the result of the liquidations
           19
                 were deposited into the Insurance Fund maintained by Defendants.
           20
                        237.       Plaintiff BMA is informed and believes and thereon alleges that, during the
           21
                 Relevant Period, Defendants, and each of them, used wire signals to transmit various electronic
           22
                 orders to multiple cryptocurrency exchanges for the specific purpose of misleading traders and
           23
                 investors as to the cryptocurrency market’s natural forces of supply and demand and for
           24
                 manipulating prices of spot cryptocurrencies and cryptocurrency derivatives. Those actions
           25
                 further constitute wire fraud in violation of 18 U.S.C. § 1343.
           26
                        238.       Plaintiff BMA is informed and believes and thereon alleges that the alleged
           27
                 fraudulent electronic wire transmissions were performed by Defendants on a daily basis during
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 76 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 77 of 106



             1
                 the Relevant Period and were carried out from Defendants’ offices located in San Francisco,
             2
                 California and Hong Kong Special Administrative Region of the People’s Republic of China and
             3
                 to respective computer servers of Amazon EKS as well as computer serves of multiple other
             4
                 cryptocurrency exchanges that Defendants used to perpetrate their manipulative and fraudulent
             5
                 scheme alleged hereinabove. Plaintiff BMA is informed and believes and thereon alleges that
             6
                 each of Defendants HDR, ABS, Hayes, Delo and Reed issued the alleged fraudulent electronic
             7
                 wire transmissions on a daily basis during the Relevant Period, including May 17, 2019, June 26,
             8
                 2019 and March 13, 2020.
             9
                        239.       Plaintiff BMA is informed and believes and thereon alleges that the alleged wire
           10
                 transmissions contained, without limitation, electronic orders designed to inject false and
           11
                 misleading information about genuine supply and demand for bitcoin or bitcoin derivatives into
           12
                 the markets and to deceive other participants in the market into believing something untrue,
           13
                 namely that the visible order book accurately reflected market-based forces of supply and
           14
                 demand. These alleged wire transmissions were an illegitimate part of the supply-demand
           15
                 equation, prevented true price discovery, and caused artificial pricing in the cryptocurrency
           16
                 market. The false and misleading information injected by Defendants into the markets was
           17
                 intended to trick other market participants into reacting to an apparent change and imbalance of
           18
                 supply and demand by buying and selling bitcoin futures or spot bitcoin at times, prices and
           19
                 quantities that they otherwise would likely not have traded. Moreover, the alleged wire
           20
                 transmissions further contained, without limitation, electronic orders designed to induce artificial
           21
                 price moves in the cryptocurrency markets in order to force liquidations of traders’ positions on
           22
                 the BitMEX exchange for the benefit of Defendants’ Insurance Fund. In addition, the electronic
           23
                 wire transmissions included Defendants’ electronic commands to deliberately freeze servers of
           24
                 the BitMEX platform and Defendants’ electronic commands to generate the fraudulent system
           25
                 overload messages alleged hereinabove. Finally, the electronic wire transmissions included
           26
                 Defendants’ fraudulent transmissions regarding the fake hardware failure in BitMEX’s servers as
           27
                 well as the fake denial-of-service attack (DoS attack), which took place on or about March 13 and
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 77 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 78 of 106



             1
                 13, 2020.
             2
                          240.       Plaintiff BMA is informed and believes and thereon alleges that pumps and
             3
                 dumps, Barts, liquidation cascades and spoofing alleged hereinabove are specific examples of the
             4
                 conduct that was specifically designed by Defendants, and each of them, to mislead Plaintiff
             5
                 BMA as well as other traders on the cryptocurrencies market.
             6
                          241.       Plaintiff BMA as well as other traders were in fact mislead by Defendants’, and
             7
                 each of them, manipulative and fraudulent acts intended to mislead and defraud, including,
             8
                 without limitation, by pumps and dumps, Barts and spoofing perpetrated by Defendants, and each
             9
                 of them, and placed orders that they would not have otherwise placed.
           10
                          242.       Plaintiff BMA, at the time of the alleged manipulative and fraudulent acts intended
           11
                 to mislead and defraud, which were perpetrated by Defendants, and each of them, and at the time
           12
                 Plaintiff BMA took the trades herein alleged, was ignorant of the manipulative and fraudulent
           13
                 nature of conduct of the Defendants, and each of them, and believed that the apparent market
           14
                 conditions were in fact dictated by market forces of supply and demand and not the result of false
           15
                 information being injected into the markets by Defendants.
           16
                          243.       Plaintiff BMA, at the time the alleged manipulative and fraudulent acts intended to
           17
                 mislead and defraud were made by Defendants, and each of them, and at the time Plaintiff BMA
           18
                 took the actions herein alleged, was ignorant of secret intentions of Defendants, and each of them,
           19
                 to mislead and defraud Plaintiff BMA and other traders and Plaintiff BMA could not, in the
           20
                 exercise of reasonable diligence, have discovered the secret intentions of Defendants, and each of
           21
                 them.
           22
                          244.       Had Plaintiff BMA known the actual facts, Plaintiff BMA would not have taken
           23
                 such alleged actions.
           24
                          245.       If Plaintiff BMA had known of the actual intention of Defendants, and each of
           25
                 them, Plaintiff BMA would not have taken the alleged trades. Plaintiff’s BMA reliance on
           26
                 fraudulent and manipulative conduct of Defendants, and each of them, was justified because
           27
                 Plaintiff BMA rightfully assumed that the market conditions of spot bitcoin and bitcoin
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS              COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 78 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 79 of 106



             1
                 derivatives markets were due to the actual market forces of supply and demand.
             2
                         246.      Plaintiff BMA is informed and believes and thereon alleges that predicate acts
             3
                 alleged herein, namely engaging in wire fraud in violation of 18 U.S.C. § 1343, are related by
             4
                 having the same or similar purposes of manipulating cryptocurrency markets, generating illicit
             5
                 income, and concealing illegal activities from authorities, results, Defendants – participants,
             6
                 victims, methods of commission or are otherwise interrelated by distinguishing characteristics.
             7
                         247.      Plaintiff BMA is informed and believes and thereon alleges that predicate acts
             8
                 alleged herein, namely engaging in wire fraud in violation of 18 U.S.C. § 1343, are continuous as
             9
                 they constitute an open-ended scheme, which poses a threat of continuity through the long
           10
                 duration of the alleged misconduct, namely two years, and the threat of continuing criminal
           11
                 conduct, as the alleged criminal conduct perpetrated by Defendants is still ongoing.
           12
                         248.      Plaintiff BMA is informed and believes and thereon alleges that Defendants’
           13
                 hereinabove alleged use of the electronic wire signals to defraud Plaintiff BMA as well as other
           14
                 market participants in violation of 18 U.S.C. § 1343 directly and proximately resulted in the
           15
                 substantial monetary cryptocurrency trading losses to Plaintiff BMA as alleged hereinbelow.
           16
                         249.      Plaintiff BMA is informed and believes and thereon alleges that Defendants, and
           17
                 each of them, used at least a portion of the proceeds derived from wire fraud in violation of 18
           18
                 U.S.C. § 1343 to manipulate spot and derivative markets of cryptocurrencies, as alleged herein,
           19
                 which directly and proximately resulted in the substantial monetary cryptocurrency trading losses
           20
                 to Plaintiff BMA as alleged hereinbelow.
           21
                     DEFENDANTS ENGAGED IN INTERSTATE TRANSPORTATION OF STOLEN
           22          FUNDS IN VIOLATION OF THE NATIONAL STOLEN PROPERTY ACT
           23                                  18 U.S.C. § 2314
                         250.      Plaintiff BMA incorporates the allegations set forth in Paragraphs 1-249 above as
           24
                 if fully set forth herein.
           25
                         251.      18 U.S.C. § 2314 provides that “[w]hoever transports, transmits, or transfers in
           26
                 interstate or foreign commerce any goods, wares, merchandise, securities or money, of the value
           27
                 of $5,000 or more, knowing the same to have been stolen, converted or taken by fraud … [s]hall
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 79 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 80 of 106



             1
                 be fined under this title or imprisoned not more than ten years, or both.”
             2
                        252.       Plaintiff BMA is informed and believes and thereon alleges that, during the
             3
                 Relevant Period, Defendants, and each of them, willfully and knowingly transmitted and
             4
                 transferred in interstate or foreign commerce cryptocurrency, including, without limitation,
             5
                 bitcoin and stablecoins, knowing that the transferred cryptocurrency was converted or taken by
             6
                 fraud from Plaintiff BMA as well as other cryptocurrency traders as the result of fraudulent
             7
                 market manipulation as alleged hereinabove.
             8
                        253.       Plaintiff BMA is informed and believes and thereon alleges that Defendants, and
             9
                 each of them, transferred, during the Relevant Period, on a daily basis, proceeds of the alleged
           10
                 illegal bitcoin futures contracts price manipulation from BitMEX cryptocurrency exchange to
           11
                 other cryptocurrency exchanges, including, without limitation, Coinbase, Bitstamp and Kraken.
           12
                 Coinbase and Kraken are located in California, while Bitstamp is located in European Union.
           13
                 The transferred proceeds were converted or taken by fraud by Defendants from Plaintiff BMA as
           14
                 well as other cryptocurrency traders as the result of the fraudulent market manipulation as alleged
           15
                 hereinabove.
           16
                        254.       Therefore, Defendants, and each of them, while being employed in or associated
           17
                 with the continuing Enterprise as alleged above, committed multiple acts that violated 18 U.S.C.
           18
                 § 2314, which further constitute the predicate acts of the Defendants’, and each of them,
           19
                 racketeering activity.
           20
                        255.       Plaintiff BMA is informed and believes and thereon alleges that predicate acts
           21
                 alleged herein, namely engaging in interstate transportation of stolen funds in violation of 18
           22
                 U.S.C. § 2314, are related by having the same or similar purposes of manipulating cryptocurrency
           23
                 markets, generating illicit income and concealing illegal activities from authorities, results,
           24
                 Defendants – participants, victims, methods of commission or are otherwise interrelated by
           25
                 distinguishing characteristics.
           26
                        256.       Plaintiff BMA is informed and believes and thereon alleges that predicate acts
           27
                 alleged herein, namely engaging in interstate transportation of stolen funds in violation of 18
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 80 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 81 of 106



             1
                 U.S.C. § 2314, are continuous as they constitute an open-ended scheme, which poses a threat of
             2
                 continuity through the long duration of the alleged misconduct, namely two years, and the threat
             3
                 of continuing criminal conduct, as the alleged criminal conduct perpetrated by Defendants is still
             4
                 ongoing.
             5
                         257.      Plaintiff BMA is informed and believes and thereon alleges that Defendants’, and
             6
                 each of them, alleged transfer of proceeds of the alleged illegal bitcoin futures contracts price
             7
                 manipulation from BitMEX cryptocurrency exchange to other cryptocurrency exchanges,
             8
                 including, without limitation, Coinbase, Bitstamp and Kraken, in violation of 18 U.S.C. § 2314,
             9
                 enabling Defendants, and each of them, to engage in further market manipulation, directly and
           10
                 proximately resulted in substantial monetary cryptocurrency trading losses to Plaintiff BMA as
           11
                 alleged hereinbelow.
           12
                         258.      Plaintiff BMA is informed and believes and thereon alleges that Defendants, and
           13
                 each of them, used at least a portion of the proceeds derived from the interstate transportation of
           14
                 stolen funds in violation of 18 U.S.C. § 2314 to manipulate spot and derivative markets of
           15
                 cryptocurrencies, as alleged herein, which directly and proximately resulted in the substantial
           16
                 monetary cryptocurrency trading losses to Plaintiff BMA as alleged hereinbelow.
           17
                                                        COUNT I
           18     (Conduct Of Or Participation In The Conduct Of Enterprise’s Affairs Through A Pattern
           19                  Of Racketeering Activity In Violation Of 18 U.S.C. § 1962(c))
                         259.      Plaintiff BMA incorporates the allegations set forth in Paragraphs 1-258 above as
           20
                 if fully set forth herein.
           21
                         260.      This Count is against Defendants HDR, ABS, Hayes, Delo and Reed (the “Count I
           22
                 Defendants”).
           23
                         261.      During Relevant Period, Enterprise engaged in activities that affect interstate
           24
                 commerce. The Count I Defendants are employed by or associated with the Enterprise.
           25
                         262.      The Count I Defendants agreed to and did conduct and participate in the conduct
           26
                 of the Enterprise’s affairs through a pattern of racketeering activity and for the unlawful purpose
           27
                 of intentionally defrauding Plaintiff as well as other cryptocurrency traders. Specifically, Count I
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 81 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 82 of 106



             1
                 Defendants engages in continuous pattern of racketeering activity involving, among other
             2
                 unlawful acts, operating an unlicensed money transmitting business in violation of 18 U.S.C. §
             3
                 1960(a), money laundering in violation of 18 U.S.C. § 1956(a), engaging in monetary
             4
                 transactions in property derived from specified unlawful activity in violation of 18 U.S.C. §
             5
                 1957(a), wire fraud in violation 18 U.S.C. § 1343 and interstate transportation of stolen property
             6
                 in violation 18 U.S.C. § 2314. The alleged acts were perpetrated by Count I Defendants during
             7
                 Relevant Period on a daily basis and continue to take place.
             8
                        263.       Pursuant to and in furtherance of their fraudulent scheme, Count I Defendants
             9
                 committed multiple related acts of operating an unlicensed money transmitting business in
           10
                 violation of 18 U.S.C. § 1960(a), money laundering in violation of 18 U.S.C. § 1956(a), engaging
           11
                 in monetary transactions in property derived from specified unlawful activity in violation of 18
           12
                 U.S.C. § 1957(a), wire fraud in violation 18 U.S.C. § 1343 and interstate transportation of stolen
           13
                 property in violation 18 U.S.C. § 2314.
           14
                        264.       The acts of operating an unlicensed money transmitting business in violation of 18
           15
                 U.S.C. § 1960(a), money laundering in violation of 18 U.S.C. § 1956(a), engaging in monetary
           16
                 transactions in property derived from specified unlawful activity in violation of 18 U.S.C. §
           17
                 1957(a), wire fraud in violation 18 U.S.C. § 1343 and interstate transportation of stolen property
           18
                 in violation 18 U.S.C. § 2314 set forth above constitute a pattern of racketeering activity pursuant
           19
                 to 18 U.S.C. § 1961(5).
           20
                        265.       Plaintiff BMA is informed and believes and thereon alleges that Defendants, and
           21
                 each of them, took part in directing the affairs of the alleged Enterprise by engaging in a
           22
                 continuing pattern of racketeering activity involving, among other unlawful acts, operating an
           23
                 unlicensed money transmitting business in violation of 18 U.S.C. § 1960(a), money laundering in
           24
                 violation of 18 U.S.C. § 1956(a), engaging in monetary transactions in property derived from
           25
                 specified unlawful activity in violation of 18 U.S.C. § 1957(a), wire fraud in violation 18 U.S.C.
           26
                 § 1343 and interstate transportation of stolen property in violation 18 U.S.C. § 2314.
           27
                        266.       The Count I Defendants have directly and indirectly conducted and participated in
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 82 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 83 of 106



             1
                 the conduct of the enterprise’s affairs through the pattern of racketeering and activity described
             2
                 above, in violation of 18 U.S.C. § 1962(c).
             3
                        267.       Plaintiff BMA is informed and believes and thereon alleges that Count I
             4
                 Defendants, and each of them, (1) gave or took directions; (2) occupied a position in the "chain of
             5
                 command" through which the affairs of the Enterprise are conducted; (3) knowingly implemented
             6
                 decisions of upper management; and (4) was indispensable to the achievement of the alleged
             7
                 Enterprise’s goals.
             8
                        268.       Plaintiff BMA is informed and believes and thereon alleges that Count I
             9
                 Defendants, and each of them, conducted or participated in the conduct of the affairs of the
           10
                 alleged Enterprise engaging in a continuing pattern of racketeering activity involving, among
           11
                 other unlawful acts, operating an unlicensed money transmitting business in violation of 18 U.S.C.
           12
                 § 1960(a), money laundering in violation of 18 U.S.C. § 1956(a), engaging in monetary
           13
                 transactions in property derived from specified unlawful activity in violation of 18 U.S.C. §
           14
                 1957(a), wire fraud in violation 18 U.S.C. § 1343 and interstate transportation of stolen property
           15
                 in violation 18 U.S.C. § 2314.
           16
                        269.       Plaintiff BMA is informed and believes and thereon alleges that Defendants, and
           17
                 each of them, participated in a pattern of racketeering activity, which included at least two acts of
           18
                 racketeering activity including, without limitation, at least two acts of operating an unlicensed
           19
                 money transmitting business in violation of 18 U.S.C. § 1960(a), at least two acts of money
           20
                 laundering in violation of 18 U.S.C. § 1956, at least two acts of engaging in monetary transactions
           21
                 in property derived from specified unlawful activity in violation of 18 U.S.C. § 1957, at least two
           22
                 acts of wire fraud in violation of 18 U.S.C. § 1343 and at least two acts of interstate transportation
           23
                 of stolen property in violation 18 U.S.C. § 2314. Count I Defendants, and each of them,
           24
                 committed the alleged predicate offenses as a part of conducting or participating in the Enterprise,
           25
                 and, therefore, is liable for the violation of the RICO, 18 U.S.C. § 1964(c).
           26
                        270.       As a direct and proximate result of the Count I Defendants’, and each of them,
           27
                 conduct of or participation in the long-running Enterprise, within the meaning of 18 U.S.C. §
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 83 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 84 of 106



             1
                 1961(4), engaging in the continuing pattern of racketeering activity involving, among other
             2
                 unlawful acts, operating an unlicensed money transmitting business in violation of 18 U.S.C. §
             3
                 1960(a), money laundering in violation of 18 U.S.C. § 1956(a), engaging in monetary
             4
                 transactions in property derived from specified unlawful activity in violation of 18 U.S.C. §
             5
                 1957(a), wire fraud in violation 18 U.S.C. § 1343 and interstate transportation of stolen property
             6
                 in violation 18 U.S.C. § 2314, Plaintiff BMA have been domestically injured in its business and
             7
                 property in the amount to be proven at trial.
             8
                         271.      The aforesaid amount constitutes a concrete financial loss of the Plaintiff BMA.
             9
                         272.      Therefore, Count I Defendants’, and each of them, are liable, jointly and severally,
           10
                 to Plaintiff BMA under 18 U.S.C. §1964(c) for the violation of the RICO, 18 U.S.C. §1962(c) in
           11
                 the amount of triple of Plaintiff BMA’s losses to be proven at trial.
           12
                                                       COUNT II
           13     (Conspiracy To Conduct Or Participate In The Conduct Of Enterprise’s Affairs Through
           14             A Pattern Of Racketeering Activity In Violation Of 18 U.S.C. § 1962(d))
                         273.      Plaintiff BMA incorporates the allegations set forth in Paragraphs 1-272 above as
           15
                 if fully set forth herein.
           16
                         274.      This Count is against Defendants HDR, ABS, Hayes, Delo and Reed (the “Count
           17
                 II Defendants”).
           18
                         275.      As set forth above, the Count II Defendants agreed and conspired to violate 18
           19
                 U.S.C. § 1962(a) (b) and (c). Specifically, Count II Defendants conspired to: (1) use or invest
           20
                 income that is derived from a pattern of racketeering activity alleged hereinabove in the interstate
           21
                 Enterprise (18 U.S.C. § 1962(a)); (2) acquire or maintain interests in the Enterprise through a
           22
                 pattern of racketeering activity alleged hereinabove (18 U.S.C. § 1962(b)); and (3) conduct and
           23
                 participate in the conduct of the affairs of the Enterprise through a pattern of racketeering activity
           24
                 alleged hereinabove (18 U.S.C. § 1962(c)).
           25
                         276.      The Count II Defendants have intentionally conspired and agreed to directly and
           26
                 indirectly use or invest income that is derived from a pattern of racketeering activity in an
           27
                 interstate enterprise, acquire or maintain interests in the enterprise through a pattern of
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 84 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 85 of 106



             1
                 racketeering activity alleged hereinabove, and conduct and participate in the conduct of the affairs
             2
                 of the enterprise through a pattern of racketeering activity alleged hereinabove. The Count II
             3
                 Defendants knew that their predicate acts were part of a pattern of racketeering activity alleged
             4
                 hereinabove and agreed to the commission of those acts to further the schemes described above.
             5
                 That conduct constitutes a conspiracy to violate 18 U.S.C.A. § 1962(a), (b) and (c), in violation of
             6
                 18 U.S.C. § 1962(d).
             7
                        277.       Plaintiff BMA is informed and believes and thereon alleges that Count II
             8
                 Defendants, and each of them, intended to further the operation of an unlicensed money
             9
                 transmitting business in violation of 18 U.S.C. § 1960(a).
           10
                        278.       Plaintiff BMA is informed and believes and thereon alleges that Count II
           11
                 Defendants, and each of them, intended to further the money laundering endeavor in violation of
           12
                 18 U.S.C. § 1956.
           13
                        279.       Plaintiff BMA is informed and believes and thereon alleges that Count II
           14
                 Defendants, and each of them, intended to further the transactions in property derived from
           15
                 specified unlawful activity in violation of 18 U.S.C. § 1957.
           16
                        280.       Plaintiff BMA is informed and believes and thereon alleges that Count II
           17
                 Defendants, and each of them, intended to further the wire fraud in violation of 18 U.S.C. § 1343.
           18
                        281.       Plaintiff BMA is informed and believes and thereon alleges that Count II
           19
                 Defendants, and each of them, intended to further the interstate transportation of stolen property
           20
                 in violation of 18 U.S.C. § 2314.
           21
                        282.       Plaintiff BMA is informed and believes and thereon alleges that Count II
           22
                 Defendants, and each of them, have been aware of the essential nature and scope of the alleged
           23
                 Enterprise and intended to participate in it.
           24
                        283.       Plaintiff BMA is informed and believes and thereon alleges that Count II
           25
                 Defendants, and each of them, agreed to commit, or participate in, the violation of two predicate
           26
                 offenses, namely at least two acts of operating an unlicensed money transmitting business in
           27
                 violation of 18 U.S.C. § 1960(a), at least two acts of money laundering in violation of 18 U.S.C.
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 85 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 86 of 106



             1
                 § 1956, at least two acts of engaging in monetary transactions in property derived from specified
             2
                 unlawful activity in violation of 18 U.S.C. § 1957, at least two acts of wire fraud in violation of
             3
                 18 U.S.C. § 1343 and at least two acts of interstate transportation of stolen property in violation
             4
                 18 U.S.C. § 2314.
             5
                        284.       In addition, in furtherance of the alleged conspiracy, and to achieve its purposes,
             6
                 the Defendants committed and caused to be committed the following acts, among others, alleged
             7
                 in this Complaint, in this District and elsewhere: 1) providing traders with extremely high trading
             8
                 leverage (up to 100x); 2) deliberately using .BXBT index price for highly liquid derivatives
             9
                 calculated based on prices of two or three illiquid spot exchanges; 3) enabling manipulators and
           10
                 money launderers to avoid detection by providing them with the ability to open unlimited number
           11
                 of anonymous document check-free trading accounts without any trading and withdrawal limits;
           12
                 4) weaponizing deliberate server freezes, using fraudulent “system overload” events to accept
           13
                 some trading orders and reject others during large market moves to exacerbate price fluctuations
           14
                 and cause the most liquidations; and 5) regularly manipulating price of cryptocurrencies
           15
                 including, without limitation, bitcoin, by executing large market orders on illiquid spot exchanges
           16
                 in order to cause massive liquidations in traders’ derivatives positions on BitMEX.
           17
                        285.       As direct and proximate result of the Count II Defendants’ conspiracy, the overt
           18
                 acts taken in furtherance of that conspiracy, and violations of 18 U.S.C. § 1962(d), Plaintiff BMA
           19
                 has been injured in their business and property in the amount to be proven at trial.
           20
                        286.       As a proximate result of the Count II Defendants’, and each of them, conspiracy to
           21
                 conduct or participate in the long-running Enterprise, within the meaning of 18 U.S.C. § 1961(4),
           22
                 engaging in the continuing pattern of racketeering activity involving, among other unlawful acts,
           23
                 at least two acts of operating an unlicensed money transmitting business in violation of 18 U.S.C.
           24
                 § 1960(a), at least two acts of money laundering in violation of 18 U.S.C. § 1956, at least two acts
           25
                 of engaging in monetary transactions in property derived from specified unlawful activity in
           26
                 violation of 18 U.S.C. § 1957, at least two acts of wire fraud in violation of 18 U.S.C. § 1343, at
           27
                 least two acts of interstate transportation of stolen property in violation 18 U.S.C. § 2314 and at
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 86 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 87 of 106



             1
                 least two acts as alleged in paragraph 218, Plaintiff BMA sustained concrete and certain monetary
             2
                 cryptocurrency trading losses in the amount to be proven at trial.
             3
                         287.      The aforesaid amount constitutes a concrete financial loss of Plaintiff BMA.
             4
                         288.      Therefore, Count II Defendants, and each of them, are liable, jointly and severally,
             5
                 to Plaintiff BMA under 18 U.S.C. §1964(c) for the violation of the RICO, 18 U.S.C. §1962(d) in
             6
                 the amount of triple of Plaintiff BMA’s losses to be proven at trial.
             7
                                                      COUNT III
             8     (Use Of A Manipulative Or Deceptive Device Or Contrivance In Violation Of 7 U.S.C. §
             9                                           9(1))
                         289.      Plaintiff BMA incorporates the allegations set forth in Paragraphs 1-288 above as
           10
                 if fully set forth herein.
           11
                         290.      This Count is against Defendants HDR, ABS, Hayes, Delo and Reed (the “Count
           12
                 III Defendants”).
           13
                         291.      Section 6(c)(1) of the CEA, 7 U.S.C. § 9(1), makes it unlawful for “any person,
           14
                 directly or indirectly, to use or employ or attempt to use or employ, in connection with ...a
           15
                 contract of sale of any commodity in interstate commerce, or for future delivery on or subject to
           16
                 the rules of any registered entity, any manipulative or deceptive device or contrivance, in
           17
                 contravention of such rules and regulations as the Commission shall promulgate.” Regulation
           18
                 180.1 makes it unlawful for “any person, directly or indirectly, in connections with any contract
           19
                 for future delivery on or subject to the rules of any registered entity, to intentionally or recklessly:
           20
                 (1) use or employ or attempt to use or employ, any manipulative device, scheme, or artifice to
           21
                 defraud;... (3) engage, or attempt to engage, in any act practice or course of business, which
           22
                 operates or would operate as a fraud or deceit upon any person....”
           23
                         292.      Count III Defendants, and each of them, intended to affect or acted recklessly with
           24
                 regards to affecting the prices of the bitcoin futures contracts and cash bitcoin and engaged in
           25
                 overt acts in furtherance of their intent.
           26
                         293.      By the foregoing conduct, Count III Defendants, and each of them, intentionally or
           27
                 recklessly used or employed or attempted to use or employ a manipulative device or artifice to
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 87 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 88 of 106



             1
                 defraud and engaged in or attempted to engage in any act, practice or course of business which
             2
                 operated or would operate as a fraud or deceit upon any person, in violation of Section 6(c)(1) of
             3
                 the CEA and Regulation 180.1. Allegations of specific acts constituting fraud set forth in
             4
                 Paragraphs 236-249 above are incorporated as if fully set forth herein.
             5
                        294.       Because the actions of Count III Defendants, and each of them, occurred within
             6
                 the scope of their employment, office, or agency with Defendant HDR, this Defendant is liable as
             7
                 a principal for their violations of Section 6(c)(1) and Regulation 180.1 pursuant to Section
             8
                 2(a)(1)(B) of the CEA, 7 U.S.C. § 2(a)(1)(B), and Regulation 1.2, 17 C.F.R. § 1.2 (2018).
             9
                        295.       Each and every overt action in furtherance of the attempt to manipulate prices, and
           10
                 each act of manipulation is alleged herein as a separate and distinct violation of Section 6(c)(1) of
           11
                 the CEA and Regulation 180.1.
           12
                        296.       As direct and proximate result of the Count III Defendants, and each of them, use
           13
                 of a manipulative device or artifice to defraud as alleged herein, in violation of Section 6(c)(1) of
           14
                 the CEA and Regulation 180.1, including, without limitation, pumps and dumps, Barts,
           15
                 liquidation cascades and spoofing perpetrated by Count III Defendants, Plaintiff BMA has been
           16
                 domestically injured in its business and property in the amount to be proven at trial. These acts
           17
                 were an illegitimate part of the supply-demand equation, prevented true price discovery, and
           18
                 caused artificial pricing in the cryptocurrency market.
           19
                        297.       Plaintiff BMA traded (directly or indirectly) the spot bitcoin and/or bitcoin
           20
                 derivatives at the time the alleged artificial price existed due to the wrongful conduct of Count III
           21
                 Defendants and each of them.
           22
                        298.       For example, Plaintiff BMA sustained a domestic loss of at least 10 bitcoins on or
           23
                 about May 17, 2019, when artificial price existed due to a liquidation cascade, which, on
           24
                 information and belief of Plaintiff BMA, was caused by Count III Defendants’ market
           25
                 manipulation on that day, as alleged in Paragraphs 236-249 above.
           26
                        299.       As a further example, Plaintiff BMA sustained a domestic loss of at least 10
           27
                 bitcoins on or about June 26, 2019, when artificial price existed due to a liquidation cascade,
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 88 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 89 of 106



             1
                 which, on information and belief of Plaintiff BMA, was caused by Count III Defendants’ market
             2
                 manipulation on that day as alleged in Paragraphs 236-249 above.
             3
                         300.      As a further example, Plaintiff BMA sustained a domestic loss of at least 10
             4
                 bitcoins on or about March 13, 2020, when artificial price existed due to a liquidation cascade,
             5
                 which, on information and belief of Plaintiff BMA, was caused by Count III Defendants’ market
             6
                 manipulation on that day as alleged in Paragraphs 236-249 above.
             7
                         301.      The aforesaid amounts constitute a concrete financial loss of Plaintiff BMA.
             8
                         302.      Therefore, Count III Defendants, and each of them, are liable, jointly and
             9
                 severally, to Plaintiff BMA under 7 U.S.C. § 25(a) in the amount to be proven at trial.
           10
                                                        COUNT IV
           11        (Manipulation And Attempted Manipulation Of Bitcoin Futures And Cash Bitcoin In
           12                       Violation Of 7 U.S.C. § 9(3) and 7 U.S.C. § 13(a)(2))
                         303.      Plaintiff BMA incorporates the allegations set forth in Paragraphs 1-302 above as
           13
                 if fully set forth herein.
           14
                         304.      This Count is against Defendants HDR, ABS, Hayes, Delo and Reed (the “Count
           15
                 IV Defendants”).
           16
                         305.      Section 6(c)(3) of the CEA, 7 U.S.C. § 9(3), makes it unlawful for “any person,
           17
                 directly or indirectly, to manipulate or attempt to manipulate the price of any swap or of any
           18
                 commodity in interstate commerce, or for future delivery on or subject to the rules of any
           19
                 registered entity.”
           20
                         306.      Section 9(a)(2) of the CEA, 7 U.S.C. § 13(a)(2), makes it unlawful for “[a]ny
           21
                 person to manipulate or attempt to manipulate the price of any commodity in interstate
           22
                 commerce, or for future delivery on or subject to the rules of any registered entity.”
           23
                         307.      Regulation 180.2 makes it “unlawful for any person, directly or indirectly, to
           24
                 manipulate or attempt to manipulate the price of any swap, or of any commodity in interstate
           25
                 commerce, or for future delivery on or subject to the rules of any registered entity.”
           26
                         308.      Count IV Defendants, and each of them, possessed an ability to influence market
           27
                 prices of spot bitcoin and bitcoin derivatives. Specifically, as Count IV Defendants, and each of
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 89 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 90 of 106



             1
                 them, accumulated hundreds of millions of dollars in bitcoin. With such a large amount of
             2
                 bitcoin available for trading, Count IV Defendants have had and continue to have the ability to
             3
                 move bitcoin market price very substantially.
             4
                        309.       Plaintiff BMA is informed and believes and thereon alleges that Count IV
             5
                 Defendants, and each of them, acting in furtherance of the manipulative, fraudulent and deceptive
             6
                 scheme to manipulate the prices of certain cryptocurrency derivatives, including, without
             7
                 limitation, bitcoin future contracts, bitcoin swaps, as well as the cash prices of cryptocurrencies,
             8
                 including, without limitation, cash bitcoin caused an artificial price of spot bitcoin and bitcoin
             9
                 derivatives. The artificial price was further caused by diminished investor confidence resulting
           10
                 from the abusive market conduct of Count IV Defendants.
           11
                        310.       Allegations of specific acts constituting fraud set forth in Paragraphs 236-249
           12
                 above are incorporated as if fully set forth herein. These acts were an illegitimate part of the
           13
                 supply-demand equation, prevented true price discovery, and caused artificial pricing in the
           14
                 cryptocurrency market.
           15
                        311.       Plaintiff BMA is informed and believes and thereon alleges that Count IV
           16
                 Defendants, and each of them, caused an artificial price of spot bitcoin and bitcoin derivatives in
           17
                 order to trigger a specific price-based market event, such as a liquidation cascade or execution of
           18
                 stop loss orders of other traders.
           19
                        312.       Plaintiff BMA is informed and believes and thereon alleges that Count IV
           20
                 Defendants, and each of them, specifically intended to cause the alleged artificial price of spot
           21
                 bitcoin and bitcoin derivatives in order to trigger a specific price-based market event, such as a
           22
                 liquidation cascade or execution of stop loss orders of other traders.
           23
                        313.       By the foregoing conduct, Count IV Defendants, and each of them, manipulated or
           24
                 attempted to manipulate the price of a commodity in interstate commerce or for future delivery on
           25
                 or subject to the rules of any registered entity, in violation of Sections 6(c)(3) and 9(a)(2) of the
           26
                 CEA and Regulation 180.2.
           27
                        314.       Because the actions of Count IV Defendants, and each of them, occurred within
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 90 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 91 of 106



             1
                 the scope of their employment, office, or agency with Defendant HDR, and Defendants HDR is
             2
                 liable as a principal for their violations of Sections 6(c)(3) and 9(a)(2) of the CEA and Regulation
             3
                 180.2 pursuant to Section 2(a)(1)(B) of the CEA, 7 U.S.C. § 2(a)(1)(B), and Regulation 1.2, 17
             4
                 C.F.R. § 1.2 (2018).
             5
                        315.       Each and every overt action in furtherance of the attempt to manipulate prices, and
             6
                 each act of manipulation is alleged herein as a separate and distinct violation of Section 6(c)(3)
             7
                 and 9(a)(2) of the CEA and Regulation 180.2.
             8
                        316.       Plaintiff BMA traded (directly or indirectly) the spot bitcoin and/or bitcoin
             9
                 derivatives at the time the alleged artificial price existed due to the wrongful conduct of Count IV
           10
                 Defendants and each of them.
           11
                        317.       For example, Plaintiff BMA sustained a domestic loss of at least 10 bitcoins on or
           12
                 about May 17, 2019, when artificial price existed due to a liquidation cascade, which, on
           13
                 information and belief of Plaintiff BMA, was caused by Count III Defendants’ market
           14
                 manipulation on that day, as alleged in Paragraphs 236-249 above.
           15
                        318.       As a further example, Plaintiff BMA sustained a domestic loss of at least 10
           16
                 bitcoins on or about June 26, 2019, when artificial price existed due to a liquidation cascade,
           17
                 which, on information and belief of Plaintiff BMA, was caused by Count III Defendants’ market
           18
                 manipulation on that day as alleged in Paragraphs 236-249 above.
           19
                        319.       As a further example, Plaintiff BMA sustained a domestic loss of at least 10
           20
                 bitcoins on or about March 13, 2020, when artificial price existed due to a liquidation cascade,
           21
                 which, on information and belief of Plaintiff BMA, was caused by Count III Defendants’ market
           22
                 manipulation on that day as alleged in Paragraphs 236-249 above.
           23
                        320.       As a proximate result of the Count IV Defendants’, and each of them,
           24
                 manipulation or attempted to manipulation of the price of certain cryptocurrency derivatives,
           25
                 including, without limitation, bitcoin future contracts, bitcoin swaps, as well as the cash prices of
           26
                 cryptocurrencies, including, without limitation, cash bitcoin, which caused an artificial price of
           27
                 spot bitcoin and bitcoin derivatives, Plaintiff sustained concrete monetary cryptocurrency
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 91 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 92 of 106



             1
                 domestic injury in the amount to be proven at trial..
             2
                         321.      The aforesaid amounts constitute a concrete financial loss of Plaintiff BMA.
             3
                         322.      Therefore, Count IV Defendants, and each of them, are liable, jointly and
             4
                 severally, to Plaintiff BMA under 7 U.S.C. § 25(a) in the amount to be proven at trial.
             5
                                                                     COUNT V
             6                                         (Principal Agent Liability Under CEA)
             7           323.      Plaintiff BMA incorporates the allegations set forth in Paragraphs 1-322 above as
             8   if fully set forth herein.
             9           324.      This Count is against Defendants HDR, ABS, Hayes, Delo and Reed (the “Count
           10    V Defendants”).
           11            325.      Each Count V Defendant is liable under Section 2(a)(1)(B) of the CEA, 7 U.S.C. §
           12    2(a)(1)(B), for the manipulative acts of their agents, representatives, and/or other persons acting
           13    for them in the scope of their employment.
           14            326.      Plaintiff BMA sustained and is entitled to actual damages for the violations of the
           15    CEA alleged herein.
           16
                                                      COUNT VI
           17    (Aiding and Abetting Manipulation Of Bitcoin Futures And Cash Bitcoin In Violation Of 7
                                                   U.S.C. § 25(a)(1))
           18
                         327.      Plaintiff BMA incorporates the allegations set forth in Paragraphs 1-326 above as
           19
                 if fully set forth herein.
           20
                         328.      This Count is against Defendants HDR, ABS, Hayes, Delo and Reed (the “Count
           21
                 VI Defendants”).
           22
                         329.      Count VI Defendants, and each of them, knowingly aided, abetted, counseled,
           23
                 induced and/or procured the violations of the CEA by Andrianov and unknown third persons as
           24
                 alleged herein. In addition, Defendant ABS knowingly aided, abetted, counseled, induced and/or
           25
                 procured the violations of the CEA by Defendants HDR, Hayes, Delo and Reed. Each Count VI
           26
                 Defendant did so with knowledge of other Defendants’ and unknown third persons’ manipulation
           27
                 of cryptocurrency prices through manipulative trades, and substantially and willfully intended to
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 92 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 93 of 106



             1
                 assist these manipulations to cause artificial prices, during the Relevant Period, in violation of
             2
                 Sections 13 and 22(a)(1) of the CEA, 7 U.S.C. §§ 13c(a) and 25(a)(1). For example, Defendant
             3
                 HDR knowingly aided and abetted Andrianov and unknown third persons in violation of the CEA
             4
                 by enabling the price manipulators to open unlimited number of anonymous trading accounts on
             5
                 HDR exchange and thereby hindering detection of said manipulation. Each of the Count VI
             6
                 Defendants HDR, Hayes, Delo, Reed was responsible for implementing this policy on the
             7
                 BitMEX exchange. Moreover, Defendant HDR knowingly aided and abetted Andrianov and
             8
                 unknown third persons in violation of the CEA by providing high leverage, by deliberately
             9
                 designing BitMEX indexes based on price data for cryptocurrencies from just three exchanges –
           10
                 Bitstamp, Kraken and Coinbase Pro, all three of which have way lower liquidity than BitMEX
           11
                 and by using deliberate server freezes and fraudulent “system overloads” events to accept some
           12
                 trading orders and reject others during large market moves in order to exacerbate the artificial
           13
                 prices and increase the number of liquidations to benefit Defendants. Moreover, Defendant ABS
           14
                 knowingly aided, abetted, counseled, induced and/or procured the violations of the CEA by
           15
                 Defendants HDR, Hayes, Delo and Reed by furnishing to said Defendants software tools
           16
                 designed to cause deliberate server freezes alleged hereinabove using services of at least three
           17
                 Site Reliability Engineers: Jerry Aldrich, Scott H. and Armando Cerna.
           18
                          330.      As a proximate result of the Count VI Defendants’ actions as alleged herein,
           19
                 Plaintiff sustained concrete monetary cryptocurrency domestic injury in the amount to be proven
           20
                 at trial..
           21
                          331.      Therefore, Count VI Defendants, and each of them, are liable, jointly and
           22
                 severally, to Plaintiff BMA under 7 U.S.C. § 25(a) in the amount to be proven at trial.
           23
                                                                            COUNT VII
           24                                                               (Negligence)
           25             332.      Plaintiff BMA incorporates the allegations set forth in Paragraphs 1-331 above as
           26    if fully set forth herein.
           27             333.      This Count is against Defendants HDR, ABS, Hayes, Delo and Reed (the “Count
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS             COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 93 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 94 of 106



             1
                 VII Defendants”).
             2
                        334.       California law imposes a duty to prevent purely economic loss to third parties in
             3
                 financial transactions. The foundational case on this subject outlines six factors for establishing a
             4
                 duty to protect against economic loss: “[1] the extent to which the transaction was intended to
             5
                 affect the plaintiff, [2] the foreseeability of harm to him, [3] the degree of certainty that the
             6
                 plaintiff suffered injury, [4] the closeness of the connection between the defendant’s conduct and
             7
                 the injury suffered, [5] the moral blame attached to the defendant’s conduct, and [6] the policy of
             8
                 preventing future harm.” Biakanja v. Irving, 49 Cal. 2d 647, 650 (1958).
             9
                        335.       Count VII Defendants owed a duty to Plaintiff BMA to maintain a functional
           10
                 cryptocurrency derivatives marketplace. In re Facebook, Inc., IPO Securities and Derivative
           11
                 Litigation, 986 F. Supp. 2d 428 (S.D.N.Y. 2013) (NASDAQ owed investors a duty to properly
           12
                 process orders). Berk v. Coinbase, Case No. 18-cv-01364-VC, Dkt. 75 (Judge Chhabria held that
           13
                 Coinbase owed duty to its traders to maintain a functional cryptocurrency trading marketplace).
           14
                        336.       Moreover, Plaintiff BMA is informed and believes and thereon alleges that Count
           15
                 VII Defendants, and each of them, specifically intended to affect the prices of the bitcoin futures
           16
                 contracts and cash bitcoin in order to trigger specific market events as alleged above. For
           17
                 example, Count VII Defendants, and each of them, intended to cause the price of bitcoin futures
           18
                 contracts or cash bitcoin to reach levels that would trigger liquidation cascades and execution of
           19
                 other traders’ stop loss orders, as specifically alleged above. Thus, Count VII Defendants, and
           20
                 each of them, specifically intended to affect traders like Plaintiff BMA, by causing their financial
           21
                 ruin by triggering liquidation of their positions or by causing triggering of execution of their stop
           22
                 loss orders. Moreover, Count VII Defendants, and each of them, specifically intended to
           23
                 financially benefit from the financial ruin of other traders by buying spot bitcoin and bitcoin
           24
                 derivatives at artificially below market prices or by selling spot bitcoin and bitcoin derivatives at
           25
                 artificially above market prices. In addition, Count VII Defendants, and each of them,
           26
                 specifically intended to financially benefit from the financial ruin of other traders by liquidating
           27
                 trading positions of such trades by way of inducing artificial price moves and forcibly
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 94 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 95 of 106



             1
                 confiscating their collateral for the benefit of the Insurance Fund.
             2
                             337.   Because of Count VII Defendants’, and each of them, specific intent to trigger the
             3
                 alleged market events, financial harm and even ruin to traders like Plaintiff was completely and
             4
                 entirely foreseeable to Defendants, and each of them. In fact, it was Defendants’, and each of
             5
                 them, specific intent to become unjustly enriched by reason of financially harming or ruining
             6
                 traders like Plaintiff.
             7
                             338.   By reason of Count VII Defendants’, and each of them, breach of the legal duty to
             8
                 prevent economic harm to traders like Plaintiff, imposed by California law, Plaintiff BMA
             9
                 sustained ascertainable, concrete and certain monetary trading losses in the amount to be proven
           10
                 at trial.
           11
                             339.   Count VII Defendants’, and each of them, conduct, namely unlawful market
           12
                 manipulation alleged above, was specifically intended to cause injury to traders like Plaintiff
           13
                 BMA.
           14
                             340.   Count VII Defendants’, and each of them, conduct was clearly fraudulent,
           15
                 unlawful and was motivated purely by personal greed. Thus, a high degree of moral blame is
           16
                 attached to the Count VII Defendants’, and each of them, intentional spot bitcoin as well as
           17
                 bitcoin derivatives market manipulation activities.
           18
                             341.   The State of California has a strong policy of preventing future harm to traders like
           19
                 Plaintiff BMA from unlawful and fraudulent conduct by Count VII Defendants, and each of them.
           20
                             342.   Accordingly, under California law, Count VII Defendants, and each of them, owed
           21
                 a legal duty to prevent economic harm to Plaintiff BMA.
           22
                             343.   Count VII Defendants, and each of them, breached the alleged legal duty to
           23
                 prevent economic harm to Plaintiff by recklessly or negligently taking offline the BitMEX
           24
                 platform on or about March 13, 2020 and by recklessly or negligently manipulating the prices of
           25
                 spot bitcoin and bitcoin derivatives and thereby causing an economic injury to Plaintiff BMA.
           26
                             344.   As a factual (but for) and proximate (legal) result of the Count VII Defendants’,
           27
                 and each of them, negligent market manipulation activities, Plaintiff BMA sustained certain and
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS             COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 95 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 96 of 106



             1
                 concrete monetary cryptocurrency trading losses in the amount to be proven at trial.
             2
                         345.      The aforesaid amount constitutes a certain and concrete financial loss of the
             3
                 Plaintiff BMA factually (directly) and legally (proximately) caused by Count VII Defendants’,
             4
                 and each of them, unlawful conduct.
             5
                                                                          COUNT VIII
             6                                                              (Fraud)
             7           346.      Plaintiff BMA incorporates the allegations set forth in Paragraphs 1-345 above as
             8   if fully set forth herein.
             9           347.      This Count is against Defendants HDR, ABS, Hayes, Delo and Reed (the “Count
           10    VIII Defendants”).
           11            348.      Pursuant to California law, “fraud may arise from conduct that is designed to
           12    mislead, and not only from verbal or written statements.” Tenet Healthsystem Desert, Inc. v. Blue
           13    Cross of California (2016) 245 Cal.App.4th 821, 839 [199 Cal.Rptr.3d 901].
           14            349.      Allegations of specific acts constituting fraud set forth in Paragraphs 236-249
           15    above are incorporated as if fully set forth herein.
           16            350.      Count VIII Defendants’, and each of them, market manipulation including, without
           17    limitation, pumps and dumps, Barts and spoofing, were the conduct that was specifically designed
           18    to mislead traders like Plaintiff BMA. For example, as alleged hereinabove, pumps and dumps,
           19    Barts and spoofing were perpetrated by Count VIII Defendants, and each of them, with the
           20    specific purpose of deceiving other market participants as to market-based forces of supply and
           21    demand for an asset and enticing unsuspecting traders, or other trading algorithms, to follow the
           22    trade and place orders that they would not have otherwise placed. Moreover, pumps and dumps,
           23    Barts and spoofing were intended by Count VIII Defendants, and each of them, to trick other
           24    market participants into reacting to an apparent change and imbalance of supply and demand by
           25    buying and selling bitcoin futures at times, prices and quantities that they otherwise would likely
           26    not have traded.
           27            351.      Thus, pumps and dumps, Barts and spoofing were examples of the conduct that
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 96 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 97 of 106



             1
                 was specifically designed by Count VIII Defendants, and each of them, to mislead Plaintiff BMA
             2
                 as well as other traders.
             3
                        352.       Plaintiff BMA as well as other traders were in fact mislead by Count VIII
             4
                 Defendants’, and each of them, manipulative and fraudulent acts intended to mislead and defraud,
             5
                 including, without limitation, by pumps and dumps, Barts and spoofing perpetrated by Count VIII
             6
                 Defendants, and each of them, and placed orders that they would not have otherwise placed.
             7
                        353.       Plaintiff BMA, at the time of the alleged manipulative and fraudulent acts intended
             8
                 to mislead and defraud, which were perpetrated by Count VIII Defendants, and each of them, and
             9
                 at the time Plaintiff BMA took the trades herein alleged, was ignorant of the manipulative and
           10
                 fraudulent nature of conduct of the Count VIII Defendants, and each of them, and believed that
           11
                 the market conditions were in fact dictated by market forces of supply and demand.
           12
                        354.       Plaintiff BMA, at the time the alleged manipulative and fraudulent acts intended to
           13
                 mislead and defraud were made by Count VIII Defendants, and each of them, and at the time
           14
                 Plaintiff BMA took the actions herein alleged, was ignorant of secret intentions of Count VIII
           15
                 Defendants, and each of them, to mislead and defraud Plaintiff BMA and other traders and
           16
                 Plaintiff BMA could not, in the exercise of reasonable diligence, have discovered the secret
           17
                 intentions of Count VIII Defendants, and each of them.
           18
                        355.       Had Plaintiff BMA known the actual facts, Plaintiff BMA would not have taken
           19
                 such alleged actions.
           20
                        356.       If Plaintiff BMA had known of the actual intention of Count VIII Defendants, and
           21
                 each of them, Plaintiff BMA would not have taken the alleged trades. Plaintiff’s BMA reliance
           22
                 on fraudulent and manipulative conduct of Count VIII Defendants, and each of them, was
           23
                 justified because Plaintiff BMA rightfully assumed that the market conditions of spot bitcoin and
           24
                 bitcoin derivatives markets were due to the actual market forces of supply and demand.
           25
                        357.       As a proximate result of fraud and deceit perpetrated by Count VIII Defendants,
           26
                 and each of them, and based on the facts herein alleged, Plaintiff BMA has been damaged in the
           27
                 amount to be proven at trial.
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 97 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 98 of 106



             1
                         358.      In doing the wrongful acts herein alleged, Count VIII Defendants, and each of
             2
                 them, acted with oppression, fraud, and malice, and Plaintiff BMA is entitled to punitive damages
             3
                 in the amount to be proven at trial pursuant to Cal. Civ. Code § 3294.
             4
                                                                          COUNT IX
             5                                                         (Civil Conspiracy)
             6           359.      Plaintiff BMA incorporates the allegations set forth in Paragraphs 1-358 above as
             7   if fully set forth herein.
             8           360.      This Count is against Defendants HDR, ABS, Hayes, Delo and Reed (the “Count
             9   IX Defendants”).
           10            361.      At some time point during the Relevant Period, Count IX Defendants, and each of
           11    them, knowingly and willfully conspired and agreed among themselves to defraud traders by
           12    perpetrating a manipulative, fraudulent and deceptive scheme to manipulate the prices of certain
           13    cryptocurrency derivatives, including, without limitation, bitcoin future contracts, bitcoin swaps,
           14    as well as the cash prices of cryptocurrencies, including, without limitation, cash bitcoin.
           15            362.      Count IX Defendants, and each of them, did the acts and things hereinabove
           16    alleged pursuant to, and in furtherance of, the conspiracy and hereinabove alleged agreement.
           17            363.      Count IX Defendants, and each of them, furthered the alleged conspiracy by
           18    cooperation with, or by lending aid and encouragement to, or ratification and adoption of the acts
           19    of other Count IX Defendants, and each of them.
           20            364.      Count IX Defendants, and each of them, were fully aware that the other
           21    Defendants, and each of them, planned to perpetrate fraud and deceit upon Plaintiff BMA and
           22    other traders.
           23            365.      Count IX Defendants, and each of them, agreed with the other Count IX
           24    Defendants, and each of them, and intended that the alleged fraud and deceit be committed upon
           25    Plaintiff BMA and other traders.
           26            366.      As a proximate result of the fraud and deceit perpetrated by Count IX Defendants,
           27    and each of them, and according to the facts herein alleged, Plaintiff BMA has been damaged in
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 98 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                  Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 99 of 106



             1
                 the amount to be proven at trial.
             2
                         367.      In doing the wrongful acts herein alleged, Count IX Defendants, and each of them,
             3
                 acted with oppression, fraud, and malice, and Plaintiff BMA is entitled to punitive damages in the
             4
                 amount to be proven at trial pursuant to Cal. Civ. Code § 3294.
             5
                                                          COUNT X
             6         (Unfair Business Practices In Violation Of Cal. Bus. & Prof. Code § 17200 et seq.)
             7           368.      Plaintiff BMA incorporates the allegations set forth in Paragraphs 1-367 above as
             8   if fully set forth herein.
             9           369.      This Count is against Defendants HDR, ABS, Hayes, Delo and Reed (the “Count
           10    X Defendants”).
           11            370.      By reason of Count X Defendants’, and each of them, fraudulent, deceptive,
           12    unfair, and other wrongful conduct as herein alleged, said Count X Defendants, and each of them,
           13    have violated Cal. Bus. & Prof. Code § 17200 et seq. by consummating an unlawful, unfair, and
           14    fraudulent business practice, designed to deprive Plaintiff BMA of its bitcoin holdings.
           15            371.      “The ‘unlawful’ practices prohibited by Cal. Bus. & Prof. Code § 17200 et seq. are
           16    any practices forbidden by law, be it civil or criminal, federal, state, or municipal, statutory,
           17    regulatory, or court-made. Watson Labs., Inc. v. Rhone-Poulenc Rorer, Inc., (C.D. Cal 2001) 178
           18    F.Supp.2d 1099, 1120; People v. McKale, (1979) 25 Cal.3d 626.
           19            372.      Count X Defendants’, and each of them, unlawful practices for purposes of Cal.
           20    Bus. & Prof. Code § 17200 et seq. include, without limitation, the hereinabove-alleged unlawful
           21    acts perpetrated by Defendants, and each of them, which violate the following criminal statutes:
           22            a.        18 U.S.C. § 1343 (wire fraud);
           23            b.        18 U.S.C. § 1956(a) (money laundering);
           24            c.        18 U.S.C. § 1957(a) (engaging in monetary transactions in property derived from
           25    specified unlawful activity);
           26            d.        18 U.S.C. § 1960(a) (conducting, controlling, managing, supervising, directing, or
           27    owning all or part of an unlicensed money transmitting business);
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 99 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                 Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 100 of 106



             1
                         e.        18 U.S.C. § 2314 (interstate transportation of stolen property);
             2
                         f.        18 U.S.C. § 1962(c) (conducting or participating, directly or indirectly, in the
             3
                 conduct of enterprise’s affairs through a pattern of racketeering activity);
             4
                         g.        18 U.S.C. § 1962(d) (conspiracy to conduct or participate, directly or indirectly, in
             5
                 the conduct of enterprise’s affairs through a pattern of racketeering activity); and
             6
                         h.        Cal. Fin. Code § 2152(b) (engaging in unlicensed money transmission business in
             7
                 California).
             8
                         373.      Count X Defendants’, and each of them, ‘unlawful’ practices for purposes of Cal.
             9
                 Bus. & Prof. Code § 17200 et seq. further include, without limitation, the hereinabove-alleged
           10
                 unlawful acts perpetrated by Count X Defendants, and each of them, that violate the following
           11
                 civil statutes:
           12
                         i.        7 U.S.C. § 9(1) (using a manipulative or deceptive device or contrivance in
           13
                 connection with bitcoin futures and cash bitcoin);
           14
                         j.        7 U.S.C. § 9(3) (manipulation and attempted manipulation of bitcoin futures and
           15
                 cash bitcoin); and
           16
                         k.        7 U.S.C. § 13(a)(2) (manipulation and attempted manipulation of bitcoin futures
           17
                 and cash bitcoin).
           18
                         374.      Allegations of specific acts constituting fraud set forth in Paragraphs 236-249
           19
                 above are incorporated as if fully set forth herein. These acts constitute “fraudulent, deceptive,
           20
                 unfair” acts for purposes of Cal. Bus. & Prof. Code § 17200 et seq.
           21
                         375.      Thus, by reason of the foregoing, Count X Defendants have violated. Bus. & Prof.
           22
                 Code § 17200 et seq. by consummating an unlawful, unfair, deceptive and fraudulent business
           23
                 practice, designed to deprive Plaintiff BMA of its bitcoin holdings.
           24
                         376.      By reason of the foregoing and as a proximate result of Count X Defendants’, and
           25
                 each of them, violation of Cal. Bus. & Prof. Code § 17200 et seq. as herein alleged, Plaintiff
           26
                 BMA has been damaged in the amount to be proven at trial.
           27
                         377.      Therefore, Plaintiff BMA is entitled to restitution from Count X Defendants, and
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 100 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                 Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 101 of 106



             1
                 each of them, in the amount to be proven at trial.
             2
                                                                    COUNT XI
             3                                            (Unjust Enrichment (Restitution))
             4           378.      Plaintiff BMA incorporates the allegations set forth in Paragraphs 1-377 above as
             5   if fully set forth herein.
             6           379.      This Count is against Defendants HDR, ABS, Hayes, Delo and Reed (the “Count
             7   XI Defendants”).
             8           380.      As a result of the unlawful actions of c set forth hereinabove, Count XI
             9   Defendants, and each of them, have received a financial benefit at the expense of Plaintiff BMA.
           10            381.      Count XI Defendants, and each of them, had knowledge of the alleged benefit.
           11            382.      Count XI Defendants, and each of them, voluntarily accepted and retained the
           12    benefit obtained.
           13            383.      The circumstances render Count XI Defendants’ retention of the benefit
           14    inequitable unless Count XI Defendants, and each of them, pay to Plaintiff BMA the value of the
           15    benefit.
           16            384.      Count XI Defendants, and each of them, have been unjustly enriched at the
           17    expense of Plaintiff BMA.
           18            385.      Plaintiff BMA is entitled to damages as a result of Count XI Defendants’, and each
           19    of them, unjust enrichment, including the disgorgement of all benefits unlawfully obtained by
           20    Count XI Defendants, and each of them, from Plaintiff BMA.
           21            386.      As a result of the actions of Count XI Defendants, and each of them, set forth
           22    hereinabove, Defendants, and each of them, because unjustly enriched, and as a result thereof,
           23    Plaintiff BMA entitled to damages in the amount to be proven at trial, which constitutes a certain
           24    and concrete financial loss of the Plaintiff BMA factually (directly) and legally (proximately)
           25    caused by Count XI Defendants’, and each of them, unlawful conduct.
           26
                                                                        COUNT XII
           27                                                        (Constructive Trust)

           28            387.      Plaintiff BMA incorporates the allegations set forth in Paragraphs 1-386 above as
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 101 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                 Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 102 of 106



             1
                 if fully set forth herein.
             2
                         388.      This Count is against Defendants HDR, ABS, Hayes, Delo and Reed (the “Count
             3
                 XII Defendants”).
             4
                         389.      By reason of the fraudulent and otherwise wrongful manner in which the Count
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                 XII Defendants, or any of them, obtained their alleged right, claim or interest in and to the
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                 property of Plaintiff BMA, Count XII Defendants and each of them, have no legal or equitable
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                 right, claim or interest therein, but, instead, Count XII Defendants, and each of them are
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                 involuntary trustees holding said property and profits therefrom in constructive trust for Plaintiff
             9
                 BMA with the duty to convey the same to Plaintiff BMA forthwith.
           10
                                                                          COUNT XIII
           11                                                             (Accounting)
           12            390.      Plaintiff BMA incorporates the allegations set forth in Paragraphs 1-389 above as
           13    if fully set forth herein.
           14            391.      This Count is against Defendants HDR, ABS, Hayes, Delo and Reed (the “Count
           15    XIII Defendants”).
           16            392.      As a result of the actions of Count XIII Defendants, and each of them, set forth
           17    hereinabove, Count XIII Defendants, and each of them, have received money, which is due to
           18    Plaintiff BMA from Count XIII Defendants, and each of them, as previously alleged.
           19            393.      The amount of money due from Count XIII Defendants to Plaintiff BMA is
           20    unknown to Plaintiff BMA and cannot be ascertained without an accounting of the receipts and
           21    disbursements of Count XIII Defendants, and each of them, in connection with the alleged
           22    unlawful market manipulation by Count XIII Defendants.
           23            394.      Plaintiff BMA has demanded an accounting of the aforementioned receipts and
           24    disbursements of Count XIII Defendants, and each of them, in connection with the alleged
           25    unlawful market manipulation and payment of the amount found due, but Count XIII Defendants,
           26    and each of them, have failed and refused, and continue to fail and refuse, to render such an
           27    accounting and to pay such sum.
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 102 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                 Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 103 of 106



             1                                                               PRAYER
             2          By reason of the foregoing, Plaintiff BMA respectfully requests that this Court:

             3          (a)        enter a judgment that Defendants, and each of them, conducted or participated in

             4   the conduct of enterprise’s affairs through a pattern of racketeering activity in violation of 18

             5   U.S.C. § 1962(c);

             6          (b)        enter a judgment that Defendants, and each of them, conspired to conduct or

             7   participate in the conduct of enterprise’s affairs through a pattern of racketeering activity in

             8   violation of 18 U.S.C. § 1962(d);

             9          (c)        enter a judgment that Defendants, and each of them, have used deceptive or

           10    manipulative device in connection with cryptocurrencies futures contracts, cryptocurrencies

           11    swaps and cash cryptocurrencies in violation of 7 U.S.C. §§ 9(1);

           12           (d)        enter a judgment that Defendants, and each of them, have manipulated prices of

           13    cryptocurrencies futures contracts, cryptocurrencies swaps and cash cryptocurrencies in violation

           14    of 7 U.S.C. §§ 9(3) and 13(a)(2);

           15           (e)        enter a judgment that Defendants, and each of them, have aided and abetted

           16    manipulation of prices of cryptocurrencies futures contracts, cryptocurrencies swaps and cash

           17    cryptocurrencies by the other Defendants and third persons;

           18           (f)        enter a judgment that Defendants, and each of them, have acted negligently;

           19           (g)        enter a judgment that Defendants, and each of them, have perpetrated fraud upon

           20    Plaintiff BMA;

           21           (h)        enter a judgment that Defendants, and each of them, have conspired to perpetrate

           22    fraud upon Plaintiff BMA;

           23           (i)        enter a judgment that Defendants, and each of them, have engaged in unfair

           24    business practices in violation of Cal. Bus. & Prof. Code § 17200 et seq.;

           25           (j)        preliminarily and permanently enjoin Defendants, and each of them, their officers,

           26    subsidiaries, affiliates distributors, agents, servants, employees, attorneys, and all persons in

           27    active concert with them, from any further violation of Federal and California laws;

           28           (k)        enter a judgment that Defendants, and each of them, because unjustly enriched at
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 103 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                 Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 104 of 106



             1
                 the expense of Plaintiff BMA;
             2
                        (l)        impose a constructive trust over Defendants, and each of them, for the benefit of
             3
                 Plaintiff BMA;
             4
                        (m)        order an accounting of the alleged receipts and disbursements of Defendants, and
             5
                 each of them, in connection with the alleged unlawful market manipulation and payment of the
             6
                 amount found due to Plaintiff BMA;
             7
                        (n)        enter judgment that Defendants, and each of them, acted with malice, fraud and
             8
                 oppression;
             9
                        (o)        award compensatory damages to Plaintiff BMA and against all Defendants, and
           10
                 each of them, jointly and severally, in the amount to be proven at trial.
           11
                        (p)        award treble damages to Plaintiff BMA and against all Defendants, and each of
           12
                 them, jointly and severally, in the amount to be proven at trial pursuant to 18 U.S.C. § 1964(c);
           13
                        (q)        award reasonable attorney fees, costs and prejudgment interest to Plaintiff BMA
           14
                 and against all Defendants, and each of them, jointly and severally;
           15
                        (r)        award Plaintiff BMA exemplary and punitive damages, pursuant to Cal. Civ. Code
           16
                 § 3294, against all Defendants, and each of them, jointly and severally, in the amount to be
           17
                 proven at trial; and
           18
                        (s)        award Plaintiff BMA such other relief as this Court deems just and proper.
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CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 104 -   BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                 Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 105 of 106



             1

             2   Dated: May 16, 2020                                                      Respectfully submitted,

             3                                                                            By:        /s/ Pavel I. Pogodin
                                                                                                     Pavel I. Pogodin
             4
                                                                                          CONSENSUS LAW
             5                                                                            Pavel I. Pogodin, Ph.D., Esq.
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             6
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             7                                                                            Carolina, PR 00979
                                                                                          United States of America
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                                                                                          Facsimile: (650) 472-8961
             9                                                                            Email: pp@consensuslaw.io
                                                                                          Attorneys for Plaintiff
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                                                                                          BMA LLC
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CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS           COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 105 -         BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
                 Case 3:20-cv-03345-WHO Document 1 Filed 05/16/20 Page 106 of 106



             1                                               DEMAND FOR JURY TRIAL
             2
             3   Pursuant to Fed. R. Civ. P. 38, Plaintiff BMA demands trial by jury of all issues triable to a jury.
             4
                 Dated: May 16, 2020                                                       Respectfully submitted,
             5
                                                                                           By:        /s/ Pavel I. Pogodin
             6                                                                                        Pavel I. Pogodin
             7                                                                             CONSENSUS LAW
             8                                                                             Pavel I. Pogodin, Ph.D., Esq.
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           13                                                                              BMA LLC

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CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 106 -         BMA LLC V. HDR GLOBAL TRADING LIMITED ET AL.   CASE NO. 3:20-CV-3345
